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                            Exhibit A
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         I QUANTUM
            GLOBAL ADVISORS




                         Bell Aquaculture,
                         Bell Aquaculture, LLC
                                           LLC

   Expert
   Expert Report
          Report of
                 of Matt
                    Matt Larson
                         Larson Regarding
                                Regarding Lost
                                          Lost Profits
                                               Profits
             and  Certain Property
             and Certain  Property Damages
                                   Damages

                                  May 17, 2018
                                  May 17, 2018




                                    445 North
                                        North LaSalle
                                              LaSalleStreet | Chicago, IL
                                                      StreetIChicago,  IL 60654 | T 312.467.91111F
                                                                          60654 IT  312.467.9111 | F 312.467.9012
                                                                                                     312.467.9012
                                                                                 www.quantumglobaladvisors.com
                                                                                 www.  quantumglobaladvisors. corn
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                 I QUANTUM
                    GLOBAL ADVISORS LLC



   I have been asked to prepare an expert report relating to the property damages, business personal
   property damages,
   property  damages, and      business interruption
                         and business     interruption damages
                                                       damages suffered
                                                                  suffered by Bell
                                                                                Bell Aquaculture,
                                                                                      Aquaculture, LLC
                                                                                                    LLC
   (“Bell”) as a direct result of the transfer switch failure the
   ("Bell")                                                   the (“Incident”)
                                                                  ("Incident") on July 22,
                                                                                       22, 2015
                                                                                           2015 at
                                                                                                at Bell’s
                                                                                                   Bell's
                                    1
   Albany, IN fish
                fish farm
                     farm facility.
                          facility.'



   I.      Summary of Opinions

   The   following opinions
   The following    opinions are
                              are submitted
                                   submitted concerning
                                              concerning the
                                                           the property
                                                                 property damage,
                                                                           damage, business
                                                                                       business personal
                                                                                                   personal
   property damage,
   property   damage, and
                       and business
                            business interruption
                                      interruptiondamages
                                                     damagesBell
                                                              Bellsuffered
                                                                     sufferedasasaa direct
                                                                                     direct result
                                                                                              result of
                                                                                                     of the
   Incident.
   Incident. The
              The basis
                   basis and reasons for
                         and reasons      these opinions,
                                      for these opinions, and
                                                           and the             other information
                                                                the data and other     information that
                                                                                                      that I
   considered in forming these opinions, are identified in this report. The opinions expressed herein
   are based on work performed to date. TheThe attached
                                               attached damages
                                                         damages schedules
                                                                   schedules are intended to supersede
   prior claim
   prior  claim submittals.
                 submittals. My opinion
                                   opinion may
                                            may bebe appropriately
                                                      appropriately modified
                                                                      modified ifif additional
                                                                                     additional pertinent
                                                                                                   pertinent
   information comes
   information   comesto to my
                            my attention.   The opinions
                                attention. The  opinions that
                                                          that follow
                                                                follow are
                                                                        are expressed
                                                                             expressed to to aa reasonable
                                                                                                 reasonable
   degree of professional certainty.

           1)
           1)       As aa result
                           result of
                                   of the
                                       theIncident,
                                           Incident, Bell
                                                      Bellsuffered
                                                           suffered property
                                                                     property damages,
                                                                               damages, business
                                                                                         business personal
                                                                                                  personal
                                                                                              2
                    property damages, and business interruption damages of $29,761,858.
                                                                                 $29,761,858.2

           2)       The  total property
                    The total  property damages
                                        damages Bell
                                                  Bell suffered
                                                       suffered as
                                                                as aa direct
                                                                      direct result
                                                                             result of the Incident
                                                                                           Incident are
                    $19,824,272 and consist of the following four (4) categories of damage: (a)
                    $19,824,272   and  consist of the following  four  (4) categories  of damage:
                    emergency services & debris removal, (b) building reconstruction, (c) Bell labor,
                    and (d) members’
                            members' equity.

                    a.
                    a.       Bell incurred emergency services
                                                       services and debris removal damages
                                                                                    damages as a direct
                             result of
                             result of the
                                        the Incident.
                                             Incident. The
                                                        Theemergency
                                                             emergency services
                                                                         services and
                                                                                   and debris
                                                                                        debris removal
                                                                                                removal
                             damages are $380,534.

                    b.       Bell incurred
                             Bell incurred building
                                            building reconstruction
                                                     reconstructiondamages
                                                                     damagesasasaa direct
                                                                                   direct result
                                                                                          result of
                                                                                                 of the
                             Incident. The
                                       The building
                                           building reconstruction
                                                    reconstruction damages are $470,290.

                    c.
                    c.            incurred labor
                             Bell incurred labor damages
                                                 damages as
                                                         as aa direct
                                                               direct result
                                                                      result of
                                                                             of the
                                                                                 the Incident. The labor
                                                                                     Incident. The labor
                             damages are $300,909.


   1
   1 The damages amounts   referenced within the body of this report do not take into account any payments made by or
   on behalf of Westfield Insurance Company as a result of the Incident.
   2
   2 All damages amounts are rounded to the
                                         the nearest
                                             nearest dollar
                                                     dollar amount.
                                                            amount. Variances are due to rounding.


                                                           1
                                                           1
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                     d.             direct result
                             As a direct    result of
                                                   of the
                                                       the Incident
                                                            Incident Bell
                                                                      Bell was
                                                                            was foreclosed
                                                                                  foreclosed upon
                                                                                             upon and
                                                                                                   and ceased
                                                                                                        ceased
                             operations in August
                                             August 2016.     Prior to the Incident, Bell valued its members’
                                                      2016. Prior                                    members'
                                                                                3
                             equity at $18,672,539 per its balance
                                                                balance sheet3
                                                                          sheet as as of
                                                                                      of June
                                                                                         June 30,
                                                                                              30, 2015.
                                                                                                  2015. As a
                             result of the Incident,
                             result          Incident, Bell
                                                        Bell suffered
                                                              suffered aa loss
                                                                           loss of $18,672,539 in members'
                                                                                                     members’
                             equity as a result of foreclosure.

            3)       The total business
                                business personal
                                           personal property
                                                    property damages
                                                              damages Bell
                                                                         Bell suffered
                                                                              suffered as
                                                                                       as aa direct
                                                                                             direct result
                                                                                                    result of
                     the Incident are $1,594,161 and consist
                                                         consist of
                                                                 of two
                                                                     two (2) categories
                                                                              categories of
                                                                                          of damages:
                                                                                             damages: TheThe
                     loss of the (a) fish inventory stock, and (b) feed ingredient inventory stock.

                     a.
                     a.     Bell incurred
                            Bell incurred aa loss      fish inventory
                                              loss of fish   inventory stock
                                                                       stock as
                                                                             as a direct
                                                                                  direct result
                                                                                         result of the
                                                                                                   the
                            Incident. The
                                      The fish
                                          fish inventory
                                                inventory stock damages are $1,496,755.

                     b.     Bell incurred a loss of feed ingredient inventory stock due to spoilage as a
                            direct result of the Incident. The
                                                           The feed
                                                                feed ingredient
                                                                      ingredient inventory
                                                                                 inventory stock damages
                            are $97,406.

            4)       The total business interruption
                                          interruption damages
                                                       damages suffered
                                                                  suffered by
                                                                           by Bell
                                                                              Bell as
                                                                                   as a direct result of this
                     Incident are $8,343,426 through     April 2017.
                                                through April  2017. However,
                                                                       However, the
                                                                                  the business
                                                                                      business interruption
                                                                                                 interruption
                     policy limit in Bell's
                                     Bell’s insurance
                                             insurance policy at the time of the Incident was $3,514,000.
                           result, Bell's
                     As a result,  Bell’s recovery
                                           recovery of
                                                     ofbusiness
                                                        business interruption
                                                                   interruption damages
                                                                                 damages arising
                                                                                           arising from the
                     Incident
                     Incident may
                               may be
                                    be limited
                                        limited by
                                                 by the
                                                    the policy
                                                        policy limit
                                                                limit in
                                                                      in Bell’s Insurance policy
                                                                         Bell's Insurance   policy as of the
                     time of Incident.

            5)       Bell’s property
                     Bell's  property damages,
                                       damages, business
                                                 business personal
                                                            personal property
                                                                       property damages,
                                                                                 damages, and
                                                                                            and business
                                                                                                 business
                     interruption damages
                     interruption  damages recoverable
                                             recoverable under          Westfield Insurance
                                                           under the Westfield      Insurance Company
                                                                                                Company
                     (“Westfield”) insurance
                     ("Westfield")  insurance policy
                                              policy in
                                                     in effect
                                                        effect at the time of the Incident (the "Policy")
                                                                                                “Policy”)
                     total $6,249,893.

   The opinions listed above are summarized in Exhibit A.


   II. Qualifications
   II.  Qualifications
   I have over ten (10) years of experience measuring property damages, business personal property
   damages, and
   damages,  and business
                   business interruption
                             interruptiondamages.         qualifications are
                                           damages. My qualifications        summarized in
                                                                         are summarized    in my
                                                                                              my CV
   attached as
   attached as Exhibit
                Exhibit B.
                         B. IIhave
                               havenot
                                    notauthored
                                         authored publications
                                                   publications within
                                                                within the last ten years,
                                                                       the last     years, nor have I
                                                                                           nor have



   3
       BELL0002326


                                                        2
                                                        2
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                  I     UA NT U M
                         GLOBAL ADVISORS LLC



   testified at trial or been deposed
                              deposed as
                                      as an
                                         an expert
                                            expert in
                                                   in the
                                                      the last
                                                          last four
                                                               four years.
                                                                    years. My employer is compensated
   at a rate of $225 per hour for my services.


         Dataand
   III. Data  andOther
                 OtherInformation
                       Information Considered
                                   Considered
   Shortly
   Shortly after                   Quantum Global
            after the Incident, Quantum       Global Advisors
                                                     Advisors (“Quantum”)
                                                              ("Quantum") was  was retained
                                                                                    retained to assist Bell
   with the preparation
   with      preparation of of its
                               its insurance
                                   insurance claim.    As experts
                                                claim. As experts in
                                                                  in the
                                                                      the field
                                                                           field of
                                                                                 of property
                                                                                     property damage
                                                                                              damage and
   business interruption claims, we were asked to assist in the quantification and documentation of
   Bell’s damages
   Bell's damages asas aa direct result of the Incident.

   I worked
     worked with
              with Bell personnel
                        personnel both
                                   both remotely
                                         remotely and
                                                   and on
                                                        on site
                                                            site at      Albany, IN
                                                                 at the Albany,    IN fish farm and the
   Redkey, IN
   Redkey,        processing facility
              IN processing   facility to  assist Bell
                                       to assist  Bell ininthe
                                                             theidentification,
                                                                    identification, quantification,
                                                                                     quantification, and
                                                                                                      and
   documentation of
   documentation        property damages,
                     of property damages, business
                                             business personal
                                                       personal property
                                                                     property damages,
                                                                                damages, and
                                                                                           and business
                                                                                                 business
   interruption damages.

   I prepared analyses and spreadsheets
                              spreadsheets that
                                            that measure
                                                 measure and
                                                          and document
                                                               document Bell’s
                                                                           Bell's property damages, and
   business interruption
   business   interruption damages.    These analyses
                            damages. These     analyses and spreadsheets
                                                             spreadsheets represent
                                                                             represent the
                                                                                        the basis
                                                                                            basis for
                                                                                                   for my
   opinions and the measurement of the property damages, business personal property damages, and
   business interruption
   business   interruptiondamages
                             damagesthat
                                       thatBell
                                             Bellsuffered
                                                  sufferedasasa adirect
                                                                  directresult
                                                                         resultofofthe
                                                                                    theIncident.
                                                                                        Incident. In thethe
   preparation of this expert report I quantified and documented Bell’s      property damages, business
                                                                      Bell's property
   personal property damages, business interruption
                                           interruption damages,
                                                         damages, and
                                                                    and foreclosure
                                                                        foreclosure damages
                                                                                     damages as a direct
   result of the Incident to a reasonable degree of professional certainty as set forth in this report.

   To  reach the opinions
   To reach       opinions that    are the subject
                             that are      subject of this
                                                       this report,
                                                             report, II considered
                                                                         considered the data
                                                                                        data and
                                                                                             and other
                                                                                                 other
   information listed
               listed on
                      on the
                         the attached
                              attached Exhibit
                                        Exhibit C. Certain documents
                                                C. Certain documents I relied upon in the preparation
   of my analyses and schedules that form the basis of this report include, but are not limited to, the
   following:

         ••   Invoices
              Invoices –—I Ireceived
                             receivedand
                                       andreviewed
                                           reviewedinvoices
                                                     invoicesfrom
                                                               from third
                                                                     third parties
                                                                            parties which
                                                                                    which were
                                                                                           were the primary
              basis for measuring property damages and feed costs.
         ••   Bell's Bioplan 4 and Tank data reports5
              Bell’s Bioplan4                  reports 5 —
                                                         – These
                                                            Thesereports
                                                                  reportscontain
                                                                           contain the
                                                                                    the operational
                                                                                        operational data Bell
              used to both record actual fish growth
                                               growth and
                                                        and project
                                                            project future
                                                                    future fish
                                                                            fish growth.
                                                                                 growth. These files served
                     primary basis for
              as the primary         for measuring
                                         measuring fish production
                                                          production volumes
                                                                      volumes and fish stock damaged or
              lost due to the Incident.



   4
   4   BELL0002643
   5
   5   BELL0001973, BELL0002103, BELL0003312, BELL0003318,BELL0003325, BELL0003355 (etc.)


                                                        3
                                                        3
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       ••   Bell’s Sales
            Bell's         reports 6 —
                   Sales reports6    – These
                                         Thesesales
                                                salesreports
                                                       reportsfrequently
                                                                 frequentlyincluded
                                                                             included customer
                                                                                       customer names,
                                                                                                  names, quantities
            sold, and sales revenue. II worked
                                            worked with
                                                     with Bell
                                                            Bell personnel
                                                                  personnel toto understand
                                                                                 understand these reports and the
            different units of measure used in accounting for revenues.
       ••   Urner Barry Salmon Index7Index 7 —– Urner
                                                  UrnerBarry
                                                         Barryisisaamarket
                                                                       market tracking
                                                                               tracking service
                                                                                         service that
                                                                                                 that specializes in
            tracking commodity
                      commodity market
                                     market prices
                                               prices for protein based food ingredients, and their Salmon
            index tracks
                   tracks a variety
                              variety of Salmon
                                           Salmon prices
                                                    prices by by region.    Seafood prices
                                                                  region. Seafood    prices vary by region based
            on what fisherman catch, or do not catch. catch. I utilized the Salmon index in conjunction with
                                                                I utilized the Salmon
            Bell’s sales
            Bell's sales reports
                          reports to
                                   to measure
                                       measure selling prices on a monthly basis.
       ••   Canadian Aquaculture Systems Report8  Report 8 ("CAS
                                                             (“CAS Report")
                                                                       Report”)— – The
                                                                                    The CAS
                                                                                        CAS Report
                                                                                               Report was
                                                                                                       was prepared
            as part of a potential investor’s           diligence study.
                                      investor's due diligence               This report
                                                                     study. This   report provided
                                                                                          provided a neutral third
            party’s operational
            party's  operational and profitability
                                        profitability estimates
                                                        estimates forfor Bell’s
                                                                         Bell's operations.   This report
                                                                                operations. This   report provided
            benchmark comparisons for the business interruption damages measurement.
       ••   Bell’s yield
            Bell's  yield reports
                            reports and
                                     and third
                                           third party
                                                  partyprocessing
                                                         processing datadata —– To estimate
                                                                                     estimate processing
                                                                                                processing yield,
                                                                                                            yield, I
            relied on the three yield reports from Bell's
            relied                                         Bell’s historical
                                                                    historical records that were prepared at the
                                        9
                        management , Bell Fish Company
            request of management9,                   Company’ss personnel statements on yields from third
                   processors, the
            party processors,    the CAS
                                       CAS Report,
                                              Report, and
                                                        and publically
                                                              publically available
                                                                           available yield
                                                                                       yield estimates
                                                                                             estimateslike
                                                                                                        like Chef’s
                                                                                                              Chefs
                       10
            Resourcesto.
            Resources
       ••   Bell’s Income
            Bell's            Statements 11—
                    Income Statements"         – Income
                                                 Income statements
                                                            statements were
                                                                          were prepared
                                                                                 prepared monthly
                                                                                           monthly andand I worked
            with Bell personnel
            with        personnel to understand
                                          understand Bell's
                                                        Bell’s accounting
                                                                  accounting methods
                                                                                methods used
                                                                                          used for recording
                                                                                                     recording and
            reporting revenues
            reporting  revenues and and expenses.
                                         expenses. These
                                                      These income
                                                               income statements
                                                                         statements served
                                                                                      served as
                                                                                              as the primary basis
            for measuring Bell’s
                              Bell's expenses.
       ••   Bell’s Balance
            Bell's             Sheet 12 —
                    Balance Sheet12      – Balance
                                             Balance Sheets
                                                       Sheets werewere updated
                                                                        updated regularly
                                                                                  regularly prior
                                                                                             prior to the Incident.
                                                                                                           Incident.
            The June 30, 2015 Balance sheet   sheet served
                                                     served as as the basis for measuring
                                                                                  measuring the
                                                                                              the amount
                                                                                                  amount ofof Bell’s
                                                                                                              Bell's
            members’ equity
            members'    equity lost as a result of the Incident

   The documents listed above and additional documents
                                               documents included
                                                             included in Exhibit
                                                                         Exhibit C served as the basis
   for the schedules and analyses that underpin this report.




   6
   6 BELL0001600, BELL0001531, BELL0001533,         BELL0003381
   7
   7 BELL0000008
   8
   8 QGA0006701-QGA0006724
   9
   9 QGA0003358, QGA0003359, QGA0003560
   10
   19 Salmon Seafood Yields - Chefs Resources.pdf
   11
   11 BELL0002345, BELL0003297
   12
   12 BELL0002326




                                                          4
                                                          4
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   IV. Executive
        ExecutiveSummary
                 Summary
   Bell suffered
   Bell  suffered $29,761,858 in propertyproperty damages,
                                                       damages, business
                                                                    business personal
                                                                                personal property
                                                                                           property damages,
                                                                                                     damages, and
   business interruption
   business  interruption damages
                            damagesas    as aa direct
                                                direct result
                                                        result of
                                                               of the
                                                                   the Incident.   Bell’s counsel
                                                                         Incident. Bell's   counsel has
                                                                                                    has determined
                                                                                                         determined
   that of these damages, $6,259,893 is directly compensable
                                                           compensable under under the
                                                                                    the Policy.  After the Incident,
                                                                                        Policy. After      Incident,
         attempted to continue operations
   Bell attempted                    operations and      mitigate the damages
                                                    and mitigate          damages to itsits property
                                                                                             property and
                                                                                                      and business.
                                                                                                           business.
   Westfield, Bell’s
   Westfield,           insurance carrier,
                Bell's insurance      carrier, disputed
                                                 disputed Bell’s
                                                            Bell's insurance
                                                                      insurance claim
                                                                                  claim seven
                                                                                          seven (7)  days after the
                                                                                                 (7) days        the
   Incident.  With its
   Incident. With   its stock
                         stock destroyed,
                                destroyed, BellBell was
                                                      was unable
                                                           unable to to procure
                                                                        procure interim
                                                                                 interim funding
                                                                                           funding from its lenders
   or third party investors to continue
                                 continue operations.
                                              operations. AsAs aa result
                                                                    result of the Incident and its dispute with its
   insurer, Bell
   insurer,  Bell was    unable to
                  was unable           meet its
                                   to meet     its financial
                                                    financial obligations
                                                               obligations and and in   August of
                                                                                     in August      2016 Bell
                                                                                                 of 2016   Bell was
                                                                                                                was
   foreclosed
   foreclosed upon,
               upon, lost
                      lost all
                            all of
                                of its
                                    its members’
                                        members' equity,
                                                      equity, and
                                                               and ceased
                                                                     ceased operations.
                                                                              operations. As a result of this chain
   of events which was caused by the Incident,  Incident, Bell will never recover from the Incident and the
   negative impact the Incident had upon its business.



   Quantum prepared
   Quantum   prepared analyses
                        analyses and   spreadsheets that
                                  and spreadsheets        measure Bell's
                                                     that measure Bell’s property
                                                                         property damage,
                                                                                   damage, business
                                                                                              business
   personal property damage,
                      damage, and
                               and business
                                    business interruption
                                              interruption damages
                                                           damages as
                                                                   as a direct result of the Incident.
                                                                                             Incident.
   The results of these analyses are summarized below:



                                                                         Claim Amount
                                         Category
                       Preliminary Claim Category                 Measured             Westfield
                                                                  Damages              Coverage
               Emergency Services & Debris
                                      Debris Removal
                                             Removal          $        380,534    $         380,534
               Building Reconstruction                                 470,290              470,290
               Bell Labor                                              300,909              300,909
               Members Equity                                       18,672,539                   -

               Subtotal Property Damage                             19,824,272              1,151,732

               BPP -- Fish
                      Fish Inventory
                            Inventory                                 1,496,755             1,496,755
               BPP -- Feed
                      Feed Ingredient
                             Ingredient Inventory
                                         Inventory                       97,406                97,406

                                 Personal Property
               Subtotal Business Personal                             1,594,161             1,594,161

               Business Income Loss                       1          8,343,426              3,514,000   I
               Subtotal Time Element                                 8,343,426              3,514,000

               Total                                          $     29,761,858              6,259,893




                                                          5
                                                          5
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   As a direct result of the Incident, Bell suffered $29,761,858 in damages.
                                                                      damages. Bell's
                                                                                  Bell’s counsel
                                                                                         counsel advised
                                                                                                 advised
                  damages are not fully compensable
   me that these damages                 compensable under
                                                        under the
                                                               the terms
                                                                    terms of
                                                                          of the
                                                                              the Westfield
                                                                                  Westfield Policy.
                                                                                             Policy. The
   damages measurement totaling $6,259,893 reflects the scope of damage that counsel has advised
   me are directly compensable under the terms of the Westfield Policy.

   V.      Pre-Incident Background

                                                                                                 IN. 13
   Bell was founded around 2005 and initially raised Yellow Perch at their facility in Albany IN.13
              years, Bell
   Over the years,   Bell grew
                          grew bybyadding
                                     addingcomplementary
                                             complementary and
                                                            and environmentally
                                                                 environmentally friendly
                                                                                 friendly operations.
                                                                                          operations.
   Throughout
   Throughout mostmost of  its history
                       of its   history Bell's
                                         Bell’soperations
                                                operationsemphasized
                                                           emphasized environmental
                                                                        environmental benefits
                                                                                        benefits over
                                                                                                  over
   profitability.

   In 2013-2014,
      2013-2014, Bell
                    Bell made
                         made several
                                several major
                                         major strategic
                                                 strategicshifts.
                                                             shifts. The first waswas toto make
                                                                                            make aa significant
                                                                                                      significant
   investment toto build
   investment       build aa fish
                             fish feed
                                   feed mill
                                         mill that
                                               that had
                                                     hada aprojected
                                                               projectedannual
                                                                            annual production
                                                                                     production capacity
                                                                                                    capacity of
                                                feed. 14 This
   approximately 26,000,000 pounds of fish feed.14         Thisfacility
                                                                 facilitywas
                                                                          was designed
                                                                                designed not
                                                                                           not only
                                                                                                only to
                                                                                                      to provide
                                                                                                         provide
   for the approximately 3,000,000 pounds of feed Bell used per year, but primarily to produce and
   sell feed to outside customers.   Bell also
                        customers. Bell   also made
                                                made the
                                                       the strategic
                                                            strategic shift
                                                                       shift to
                                                                             to move
                                                                                move from
                                                                                        from producing
                                                                                               producing Perch
      producing Coho Salmon and Steelhead
   to producing                                   Trout. 15 During
                                      Steelhead Trout.15       Duringthisthistransition
                                                                              transition period,
                                                                                           period, there
                                                                                                    there was
                                                                                                           was a
                                             16
                                     growth. This
   startup period required for fish growth.16    Thisstartup
                                                        startupperiod
                                                                 period contained
                                                                          contained minimal
                                                                                      minimal fish
                                                                                                 fish sales.
                                                                                                      sales. The
   lack of revenue during this startup period
                                        period was
                                                was exacerbated
                                                     exacerbated by  by losses
                                                                         losses from
                                                                                 from the
                                                                                       the feed
                                                                                            feed mill
                                                                                                  milloperation.
                                                                                                       o eration.
   Furthermore, in October of 2014, Bell’s
                                       Bell's controller stepped down.
                          .

   In January 2015, Bell's
                       Bell’s shareholders
                               shareholders partnered
                                             partnered with Robert
                                                               Robert Davis
                                                                        Davis to
                                                                               to improve
                                                                                   improve performance
                                                                                             performance at
   Bell and serve as anan additional
                           additional conduit
                                       conduit to
                                                to outside
                                                    outside investors
                                                            investors in an
                                                                          an effort
                                                                              effort to
                                                                                      to reduce
                                                                                          reduce operational
                                                                                                   operational
                                                                 17
   losses       bring in
   losses and bring    in additional
                           additional funding
                                       funding totogrow
                                                     growBe11.17
                                                           Bell. Mr.  Mr.Davis
                                                                          Davisworked
                                                                                    worked to to reorient
                                                                                                  reorient the
                                                                                                            the
   organization’s operations
   organization's  operations to to focus
                                    focus on profitability
                                              profitability while
                                                             while searching
                                                                    searching for
                                                                                for new    investors to fund
                                                                                     new investors
   Bell’s growth
   Bell's growth plans.
                    plans. To Toimprove
                                   improveBell's
                                             Bell’soperating
                                                      operatingperformance
                                                                  performance Mr.Mr. Davis
                                                                                       Davis closed
                                                                                                closed down
                                                                                                         down
   unprofitable divisions
   unprofitable  divisions and
                            and the
                                 the team members
                                          members for those groups were either let go or       or reassigned.
                                                                                                   reassigned.
   Notable closures
   Notable  closures included
                        included eliminating
                                   eliminatingthe theresearch
                                                      researchteam
                                                                 teamandand closing
                                                                            closing down
                                                                                       down the     feed mill
                                                                                               the feed   mill
   operations. Mr.
   operations.   Mr. Davis
                      Davis worked
                              worked with
                                       with the
                                            the ooperations   team to
                                                    erations team    to make
                                                                        make significant
                                                                               significant changes
                                                                                             changes in fish
                                                                                                           fish
               18
   production.
    roduction.18




   13
   13 QGA0006727- QGA0006750
   14
      Bell Aquaculture to Open New Mill in Albany, Indiana, in Spring of 2014.pdf
   15
      BELL0000865 -- BELL0000932
   13 BELL0000865    BELL0000932
   16
   16
      BELL0000487
      BELL0000487 -- BELL0000496
                     BELL0000496
   17
      30(b)(6) Deposition
   17 30(b)(6) Deposition of
                          of Robert
                             Robert Davis
                                    Davis March
                                          March 15,
                                                15, 2018
                                                    2018
   18
   18
      BELL0005347  - BELL0005358
      BELL0005347 - BELL0005358



                                                           6
                                                           6
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                     19



        July of
   By July   of 2015,
                 2015, Bell
                        Bell was
                               wasmeeting
                                    meeting with
                                             withpotential
                                                   potential investors
                                                              investors that
                                                                         that were
                                                                              were considering
                                                                                    considering providing
                                                                                                providing
   additional capital,
   additional   capital, the
                          the transition
                              transition period
                                          period from
                                                 from Perch
                                                        Perch to  Trout was almost
                                                               to Trout        almost complete,
                                                                                       complete, and Mr.
                                                                                                      Mr.
   Davis’s immediate
   Davis's  immediate operational
                         operational changes at the fish
                                                      fish farm
                                                           farm were
                                                                 were resulting
                                                                       resulting in
                                                                                 in notable
                                                                                    notable improvements
                                                                                            improvements
   to fish production times in Bell’s
                                  Bell's Tank data reports.

        Incidentand
   VI. Incident  andImmediate
                     Immediate Impact
                               Impact
   During the early morning on July 22, 2015 the transfer switch that supplied       supplied electricity
                                                                                               electricity to
                                                                                                            to Bell’s
                                                                                                                Bell's
   row 3 building suffered an electrical event which caused power to be lost to the row 3 production
   facilities. The
                The recirculating
                     recirculating tanks
                                     tanks in
                                            in the
                                                the row
                                                    row 33 production
                                                           production facilities
                                                                        facilities used gravity to transfer water
   from the tanks to the filter system, from which the water was pumped into a cascading waterfall
   system which added oxygen oxygen and
                                      and then
                                           then returned
                                                  returned the
                                                            the oxygenated
                                                                oxygenated filtered
                                                                               filteredwater
                                                                                         waterto
                                                                                               tothe
                                                                                                  thetanks.
                                                                                                       tanks. When
   power was
   power          lost, the tanks drained
            was lost,               drained to the gravity
                                                       gravity equilibrium
                                                                 equilibrium butbut the
                                                                                      the pumps
                                                                                          pumps did     not pull the
                                                                                                   did not
   filtered
   filtered water
             water upup to
                         to the
                            the waterfall
                                 waterfallsystem
                                             systemand andsend
                                                            sendititback
                                                                     backtotothe
                                                                               thetanks.
                                                                                    tanks. This
                                                                                            This left
                                                                                                  left the
                                                                                                       the fish
                                                                                                            fish in a
   condensed space with less water, no filtration of fecal waste, and without their primary source of
   oxygen. Power was not restored to the pumps for the recirculating tanks for approximately seven
        hours. 20 As
   (7) hours.2°    Asaadirect
                         directresult
                                resultof
                                       ofthe
                                          the Incident
                                                Incident and
                                                         and the
                                                              the seven
                                                                   seven (7)
                                                                          (7) hours
                                                                              hours without adequate oxygen, a
   large portion
   large   portion of         fish stock
                     of the fish    stock suffocated.
                                            suffocated. The
                                                          The surviving
                                                                surviving fish      stock spent
                                                                             fish stock    spent hours
                                                                                                  hours in overly
                                                                                                               overly
   contaminated water
   contaminated     water and
                            and suffered
                                 suffered permanent
                                            permanentdamage.                                     Incident, the vast
                                                         damage. As a direct result of the Incident,
   majority of the fish stock in row 3 was lost, either through immediate death or through becoming
   commercially unviable.

   Seven (7) days later, on July 29, 2015 Westfield sent Bell a letter stating that payments under the
   Policy would
   Policy  would not be forthcoming,
                            forthcoming, that Westfield
                                               Westfield was
                                                           was reserving
                                                               reserving its rights, and that
                                                                                           that Westfield
                                                                                                 Westfield
                                                                21
   would not pay for the fish stock lost due to thethe Incident.21
                                                       Incident. Around
                                                                   Aroundthis
                                                                            thistime,
                                                                                 time, investors
                                                                                        investors that had
   been in active
   been     active discussion
                   discussion with
                                 with Bell withdrew
                                           withdrew from
                                                       from those
                                                            those discussions.    Without funding
                                                                   discussions. Without     funding from
                                                                                                     from
         investors, sales
   these investors,  sales from maturing
                                  maturing stock,
                                            stock, and
                                                   and the funds Bell had expected to be  be forthcoming
                                                                                              forthcoming
   from its insurer,
            insurer, Bell’s
                      Bell's financial position deteriorated. Bell responded
                                                deteriorated. Bell responded to these events by letting
   go a substantial number of personnel, among other things.

   Bell’s remaining
   Bell's remaining personnel worked
                               worked to
                                       to recover
                                          recover from
                                                   from the
                                                         theIncident.
                                                             Incident. Bell
                                                                       Bell was
                                                                            was able
                                                                                able to
                                                                                     to restore partial
                                                                                        restorepartial
   operations
   o erations of
              of the
                 the row
                     row 33 tanks
                            tanks in
                                   in April of 2016
                                      Aril of  2016,

                             . InInAugust
                                    Augustofof2016,
                                               2016,Bell
                                                     Bellwas
                                                         was foreclosed
                                                              foreclosed upon,
                                                                         upon, and the value
                                                                                       value of Bell's
                                                                                                Bell’s


   19
   19 QGA0006375- QGA0006602
      QGA0006375-    QGA0006602
   20
   20 1548. 30(b)(6)
      1548. 30(b)(6) Deposition
                     Deposition of
                                of Steven
                                   Steven Smith,
                                          Smith, Vol.
                                                 Vol. II March
                                                         March 07,
                                                               07, 2018
                                                                   2018
   21
      QGA0004167-    QGA0004170
   21 QGA0004167- QGA0004170




                                                             77
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  members’ equity
  members'    equity was eliminated. This
                     was eliminated.   This foreclosure
                                             foreclosure was aa direct
                                                                direct result
                                                                        result of
                                                                               of the
                                                                                   the severe
                                                                                        severe financial
                                                                                                financial
  deterioration caused by the Incident.

      Damages Overview
 VII. Damages Overview and
                       and Employed
                           Employed Valuation Methods

 Bell suffered
 Bell  suffered $29,761,858 in property
                                    property damages,
                                                damages, business
                                                            business personal
                                                                      personal property
                                                                               property damages,
                                                                                           damages, and
 business interruption
           interruption damages
                        damages as as aa direct
                                         direct result
                                                result of the Incident. (Exhibit A) I worked with Bell
 and my
 and  my colleagues
           colleagues at
                       at Quantum
                           Quantum to  to prepare
                                           prepare analyses
                                                     analyses and
                                                                and spreadsheets
                                                                     spreadsheets that
                                                                                   that documented
                                                                                         documented the
                                                                                                      the
 damages suffered
 damages    sufferedbyby Bell
                          Bell as
                               as aa direct
                                     direct result
                                             result of       Incident. To
                                                     of the Incident.    Toprepare
                                                                            prepare these
                                                                                     these analyses,
                                                                                            analyses, we
                                                                                                      we
 identified, measured, and allocated the damages suffered into three categories: property, business
 personal property,
           property, and
                     and business
                          business interruption.
                                    interruption. InIn the
                                                       the sections
                                                           sections below, I will describe each of these
 categories of damages in greater detail, as well as the basis for the methodology employed.

      a. Property

 To prepare
     prepare the property
                  property damages
                            damages measurement
                                      measurement in   in the amount of $19,824,272 (Exhibit
                                                          the amount                      (Exhibit A)
                                                                                                    A) I
 worked with Bell personnel
 worked              personnel to gather
                                   gather the
                                           the supporting
                                                supporting documentation
                                                            documentation for thethe property
                                                                                      property damage
                                                                                                damage
 costs that Bell had submitted up to and within the January 2016 proof of loss, and to update the
 property damage
 property   damage measurement
                    measurementtotoinclude
                                        includecosts
                                                 coststhat
                                                        thatwere
                                                             were incurred
                                                                   incurredasas aa direct
                                                                                   direct result
                                                                                           result of the
                                                                                                     the
 Incident
 Incident but
           but were
               were not
                     not included
                         included inin the
                                       the January
                                            January 2016
                                                      2016 proof
                                                             proof of
                                                                   of loss
                                                                      loss submission.     Costs in the
                                                                           submission. Costs         the
           category were subdivided
 property category        subdivided into four sections:
                                                  sections: emergency
                                                            emergency services and debris
                                                                                       debris removal,
                                                                                               removal,
 building reconstruction, labor, and
                                 and members’
                                     members' equity.
                                                 equity

  I measured
    measured emergency
                 emergency services
                             services and  debris removal
                                      and debris   removal costs
                                                            costs at $380,534. (Exhibit
                                                                                 (Exhibit D)     The
                                                                                             D) The
  emergency services and debris removal costs primarily consist of fuel costs to operate generators
              equipment, equipment
  and other equipment,    equipment rental
                                     rental costs,
                                            costs, and other miscellaneous
                                                             miscellaneous costs
                                                                           costs arising
                                                                                  arising as
                                                                                          as a direct
  result of the Incident.

  I measured
     measured thethe building
                      building reconstruction
                                 reconstruction costscosts atat $470,290. (Exhibit
                                                                             (Exhibit D)D) The The building
                                                                                                     building
  reconstruction costs
  reconstruction   costs are
                         are the costs to repair, replace, or recommission
                                                                   recommission the building and building
  systems that
  systems  that were
                were damaged
                      damaged as as aa direct
                                       direct result
                                               result of
                                                       of the Incident.  The repairs
                                                               Incident. The  repairs and
                                                                                      and recommissioning
                                                                                            recommissioning
  were not complete
  were       complete in   August 2016
                        in August   2016 atat the time of  of foreclosure.
                                                               foreclosure. Therefore,
                                                                             Therefore, II reviewed
                                                                                            reviewed checks
                                                                                                      checks
  supporting the reconstruction
  supporting       reconstruction scopes
                                   scopes ofof work
                                                work for which Bell paid vendors and quantified
                                                                                             quantified those
  expenses. IIalso
               also measured
                     measured the
                               the amount
                                   amount for for the
                                                   the unpaid
                                                       unpaid reconstruction
                                                                reconstruction work which was included in
  the foreclosure process.

  I measured the Bell labor costs at $300,909. These costs consist of the Bell labor costs expended
  on recovery efforts as a direct result of the Incident that were documented
                                                                   documented in
                                                                              in Bell’s
                                                                                 Bell's proof of loss
  submission in January 2016.




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  In June of 2015, Bell recorded members’
                                    members' equity valued at $18,672,539 (Exhibit E) on its Balance
          Asaadirect
  sheet. As    directresult
                      result of
                              ofthe
                                 theforeclosure
                                     foreclosure caused
                                                 caused by
                                                        by the
                                                            the Incident,
                                                                 Incident, Bell
                                                                           Bell suffered
                                                                                suffered a complete loss
  of its members’
         members' equity value.

  The total property
  The total property damages
                     damages Bell
                             Bell suffered
                                  suffered as
                                           as aa direct
                                                 direct result
                                                        result of the
                                                                  the Incident
                                                                       Incident are
                                                                                are $19,824,272.
  (Exhibit A)

      b. Business Personal Property
  Quantum measured
  Quantum     measured business
                         business personal
                                   personal property
                                              property damages
                                                         damages of $1,594,161 (Exhibit
                                                                                   (Exhibit A)
                                                                                            A) as a direct
                                                                                                    direct
  result of the Incident. For
                           For ease
                                ease of
                                     of reference,
                                         reference, II divided
                                                       divided this
                                                                this measurement
                                                                     measurement into two (2) categories:
  The lost fish stock contained in the Row 3 building was measured at $1,496,755, (Exhibit F) and
            stock of
  the lost stock  of feed
                      feed mill
                           mill raw
                                 raw ingredients
                                       ingredients contained
                                                     contained in       silos and
                                                                 in the silos and feed
                                                                                  feed mill
                                                                                       mill building
                                                                                             building was
                                                                                                      was
  measured at $97,406. (Exhibit G)

  At the time of the Incident, Bell had
                                    had fish
                                         fish stock
                                              stock in
                                                     in the
                                                        the recirculating
                                                            recirculating tanks
                                                                           tanks in
                                                                                  in Row
                                                                                     Row 3.3. The volume
                     recorded in the Tank
  of fish stock was recorded          Tank Data
                                             Data reports.   Quantum valued
                                                   reports. Quantum     valued that fish
                                                                                      fish stock
                                                                                           stock at actual
                                                                                                    actual
  cash value.
  cash          This was
        value. This  was done
                          done by
                                bycalculating
                                    calculating the
                                                 the kilograms
                                                      kilograms of lost stock
                                                                          stock and the cash
                                                                                           cash value
                                                                                                value per
  kilogram. Multiplying
  kilogram.    Multiplying these
                            these factors
                                  factors together
                                            together resulted
                                                       resulted in the
                                                                    the measured
                                                                         measured damage
                                                                                      damage amount
                                                                                               amount of
  $1,496,755. (Exhibit F)

                     Incident, Bell had raw materials for the production of feed stored in the feed
  At the time of the Incident,
       building. After
  mill building.  After the
                         the Incident,
                              Incident, Bell
                                        Bell did
                                             did not
                                                 not use
                                                      use these
                                                           these raw
                                                                  raw materials
                                                                       materials to produce
                                                                                    produce feed, and the
  raw materials
  raw  materials spoiled
                 spoiled and
                           and were
                                 were disposed
                                       disposedofof or
                                                    or salvaged.
                                                       salvaged. II valued
                                                                      valued these
                                                                              these lost
                                                                                     lost raw
                                                                                          raw materials
                                                                                               materials at
  replacement cost
  replacement   cost based
                     based on     invoice support,
                               on invoice  support, offset
                                                     offset by        salvage revenue
                                                             by the salvage    revenue received
                                                                                         received and
                                                                                                  and the
                                                                                                        the
  disposal costs
  disposal costs paid
                 paid to dispose
                          dispose of these
                                       these raw materials.    The measured
                                                  materials. The    measured amount
                                                                               amount ofof damages
                                                                                            damages under
  this methodology was $97,406. (Exhibit G)

  In total
     total II measured
              measured $1,594,161(Exhibit
                        $1,594,161(Exhibit A)
                                           A) of      business personal
                                              of lost business personal property
                                                                        property based
                                                                                 based on
                                                                                       on the
  outlined claim categories above.

      c. Business Income

       direct result
  As a direct  result of
                      of the
                          theIncident,
                              Incident, Bell
                                        Bell suffered
                                              suffered business
                                                        business interruption
                                                                  interruption damages
                                                                               damages of $8,343,426
  (Exhibit H) through April
                        April 2017.  This amount
                              2017. This  amount is calculated based on lost revenue of $24,085,532
  (Exhibit H)
  (Exhibit          non-continuing cost
           H) less non-continuing     cost of
                                           of sales
                                               sales of $5,290,747, (Exhibit
                                                                      (Exhibit H) less
                                                                                   less non-continuing
                                                                                        non-continuing
  overhead expense
  overhead  expense of $10,150,451(Exhibit
                         $10,150,451(Exhibit H) H) and less a Labor
                                                               Labor adjustment
                                                                       adjustment of
                                                                                  of $300,909(Exhibit
                                                                                      $300,909(Exhibit
  H).

  As Bell will never recover from the Incident due to the foreclosure, counsel instructed me to use
  a theoretical period of indemnity that includes the period of restoration and the extended period
     indemnity. At
  of indemnity    Atthe
                     thedirection
                         directionofofcounsel,
                                       counsel,IImeasured
                                                 measured Bell's
                                                          Bell’sbusiness
                                                                 business interruption
                                                                           interruption losses
                                                                                        losses during

                                                     9
                                                     9
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 the period of restoration of July 2015 through
                                           through December
                                                   December 2016.
                                                               2016. This period consists of the time it
 took Bell to restore the initial Row 3 tanks (April 2016), followed by the eight (8) month growth
 period Bell
 period  Bell required
              required toto restore
                            restore its
                                     its fish
                                         fish stock
                                               stock levels
                                                     levels to
                                                             to pre-Incident
                                                                pre-Incidentstate
                                                                             stateofofmaturity.     also
                                                                                      maturity. I also
 measured Bell’s   business interruption
            Bell's business  interruption losses during January 2017 through April 2017, the period
 determined by counsel to be the 120 day extended period of indemnity.
                                                                  indemnity

 Lost Revenue
 Lost  Revenue - I calculated
                       calculated the lost revenue
                                            revenue amount
                                                      amount of $24,085,532 (Exhibit
                                                                                 (Exhibit I)I) based
                                                                                                based on
                                                                                                      on
 expected fish product and fish byproduct sales multiplied by the expected market prices for fish
 products per the appropriate Urner
                                 Urner Barry Index
                                               Index and Bell’s   historical prices
                                                          Bell's historical  prices for
                                                                                    for fish
                                                                                         fish byproducts.
                                                                                              byproducts.
 To calculate
     calculate the
               the fish
                   fish production
                         production volume,
                                     volume,II used
                                                 usedBell’s
                                                       Bell's July
                                                               July 2015
                                                                    2015 Bioplan.
                                                                          Bioplan. II then
                                                                                       then worked
                                                                                             worked with
 Bell personnel to verify that the volumes and growth rates from the Bioplan were consistent with
 and substantiated
 and  substantiated byby the
                          the volumes
                              volumes and
                                       and growth
                                             growthrates
                                                      ratesinin Bell’s
                                                                Bell's tank
                                                                       tank data
                                                                            data reports.    The Bioplan
                                                                                  reports. The   Bioplan
 provided the
 provided  the baseline
                baseline for
                          for kilograms
                              kilograms of
                                         of fish
                                            fish sent
                                                 sent to the purge tanks, and thereby the volume of
 fish processed
      processed asas well         feed and
                     well as the feed  and oxygen
                                             oxygen volumes
                                                      volumes needed
                                                                 needed to produce
                                                                            produce the volume
                                                                                           volume of the
 kilograms of fish projected.

  To calculate
     calculate post
               post processing
                     processing volumes
                                  volumesof  ofsalable
                                                salablefish
                                                        fishand
                                                             andbyproducts,
                                                                 b products I relied on the three yield
  reports from Bell's
  reports       Bell’s historical
                       historical records,
                                  records,                                                     the CAS
                                                                                             , the CAS
  Report and
  Report  and actual
              actual yields
                      yieldsfrom
                             fromthird
                                    thirdparty
                                          part processors.  Basedon
                                               rocessors. Based    onthis
                                                                      thisinformation
                                                                           informationand
                                                                                       and discussions
                                                                                           discussions
                          determined that
  with Bell personnel, I determined                                        reasonable estimate and the
                                                                   was a reasonable
  most likely operational
              operational outcome.
                           outcome. (Exhibit J)

  To calculate sales prices for fish, I benchmarked
                                        benchmarked Bell’s     historical sales prices against the Urner
                                                        Bell's historical
  Barry Salmon index. After
                         After determining
                                determining Bell's
                                             Bell’s historical
                                                    historical price
                                                                price performance
                                                                      performance relative to that index
  for the period prior to the Incident, I applied that ratio to the Urner Barry index for the period of
                            Additionally, II measured
  time after the Incident. Additionally,     measured the
                                                        the ancillary
                                                            ancillary revenue
                                                                       revenue from shipping
                                                                                      shipping and offal
  revenue based on historical records for those products.

  Based on these factors, I measured $24,085,532 (Exhibit I) in lost revenue through April 2017.

  Non-continuing cost of sales - I measured $5,290,747 (Exhibit I) in non-continuing cost of sales
  through April
  through April of
                 of 2017. Bell’scost
                    2017. Bell's  cost of
                                        ofsales
                                            sales section
                                                   section in
                                                            in its
                                                                its income
                                                                     income statement
                                                                             statement is made
                                                                                           made up of items
  Bell labeled
  Bell labeled standard
                standard costs, direct
                                 direct labor,
                                          labor, direct
                                                   direct labor
                                                           labor benefits,
                                                                    benefits, freight
                                                                               freight expenses,
                                                                                        expenses, packaging
                                                                                                   packaging
  expenses, and
  expenses,  and applied
                  applied costs.   Themethodologies
                          costs. The      methodologies II used  used for
                                                                        formeasuring
                                                                            measuring thethenon-continuing
                                                                                             non-continuing
  expenses in this category are based on a review of Bell's
  expenses                                                  Bell’s accounting
                                                                      accounting records
                                                                                  records and
                                                                                           and conversations
                                                                                               conversations
  with Bell personnel.

  I based my calculation of the non-continuing costs on a historical analysis of the actual incurred
  costs identified
  costs identified inin the relevant accounts
                        the relevant   accounts in
                                                 in Bell’s income statements.
                                                    Bell's income             As historically
                                                                  statements. As  historically Bell's
                                                                                               Bell’s
  management had based standard costs and applied costs on forward looking estimates rather than
  actual costs, I treated costs in these accounts as fixed costs.




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                                                     10
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  I measured $2,290,812 in non-continuing
                              non-continuing packaging
                                              packagingcosts
                                                          coststhrough
                                                                throughApril
                                                                         Aprilofof2017.
                                                                                   2017. I based my
  calculations for this category on the packaging costs percentage of sales for the second quarter of
  2015.

 I measured $1,573,760 in non-continuing
                               non-continuing direct
                                                 direct labor
                                                        labor and
                                                              and benefits
                                                                   benefits through
                                                                             through April
                                                                                       Aprilofof 2017.
                                                                                                 2017. Prior
 to the Incident, Mr. Davis had been making operational changes that included letting staff go and
 transferring staff
 transferring  staff between
                      between departments.                 Incident, Bell let go
                                departments. After the Incident,               go direct
                                                                                  direct labor
                                                                                           labor employees.
                                                                                                  employees.
 To account
     account for these staffing
                          staffing changes,
                                   changes, I used a historical
                                                         historical monthly average
                                                                               average from
                                                                                         from the three (3)
 months prior to the Incident to calculate
                                    calculate non-continuing
                                               non-continuing labor
                                                                labor expenses
                                                                      expenses for
                                                                                 for all
                                                                                     all personnel.
                                                                                         personnel. I tested
        historical monthly
 these historical             average labor
                    monthly average     labor cost
                                              cost projections
                                                    projectionsagainst
                                                                  againstthe
                                                                          theCAS
                                                                               CASreport.     Based on this
                                                                                     report. Based
 comparison,
 com   • arison II concluded
                   concluded mym •projected   costs were
                                   ro'ected costs   were reasonable
                                                           reasonable or
                                                                       or conservative.
                                                                           conservative.
                                                                              , while the monthly average
 I measured
   measured reflects
               reflects aa cost
                           cost of
                                of thirty
                                   thirty one
                                           one (31)
                                                (31) cents
                                                     cents per
                                                             per pound.   This supports
                                                                 pound. This    supports the fact that the
 projected processing labor was more than sufficient to process the projected production volumes.

 I measured $1,426,174 in non-continuing           freight expenses
                                non-continuing freight      expenses through
                                                                        throughApril
                                                                                 Aprilof
                                                                                       of2017.
                                                                                           2017. For July and
 August 2015 I calculated these freight costs based on the freight expenses percentage of sales for
 the second
 the  second quarter
                quarter of
                         of 2015.
                             2015. IIselected
                                         selected this
                                                   this period
                                                         period as
                                                                 as I Iexpected
                                                                        expected low
                                                                                  low volume
                                                                                        volume shipments
                                                                                                  shipments to
 continue through
 continue  through August
                       August 2015.
                                2015. ForFor September
                                              September 2015
                                                           2015 forward,
                                                                  forward, II calculated
                                                                               calculated the
                                                                                           the non-continuing
                                                                                                non-continuing
 freight expenses
         expenses costs
                      costs based
                            based onon the
                                        the freight
                                            freight expenses
                                                     expenses percentage
                                                                percentageof ofsales
                                                                                salesin
                                                                                      in2014.
                                                                                         2014. I selected this
 period as itit reflected
 period          reflected the
                            the full
                                 full production
                                       production freight
                                                    freight costs
                                                             costs Bell
                                                                   Bell had
                                                                          had previously
                                                                               previously experienced
                                                                                            experienced while
                                                                                                         while
 operating at full production volumes.

                                                   non-continuing cost
  Based on these factors, I measured $5,290,747 in non-continuing cost of sales through April of
  2017.

  Non-continuing overhead
  Non-continuing      overhead expenses
                                  expenses - I measured
                                                  measured non-continuing
                                                              non-continuing overhead
                                                                               overhead expenses
                                                                                           expenses of
  $10,150,451 (Exhibit
                (Exhibit I)
                          I) through
                             through April
                                      April of
                                            of 2017. Bell’soverhead
                                               2017. Bell's   overhead expenses
                                                                        expenses section
                                                                                  section in its
                                                                                             its income
                                                                                                 income
  statement captures
  statement   captures the
                       the costs for feed, aquatic supplies, indirect and salaried labor and benefits,
                                                                                                benefits,
  utilities, processing
  utilities, processing supplies,
                         supplies,and
                                    and administrative
                                         administrativeexpenses.
                                                          expenses. The     methodologies II used
                                                                      The methodologies        used for
                                                                                                     for
  measuring the non-continuing overhead expenses
                                             expenses in
                                                      in this
                                                         this category
                                                               category are
                                                                        are based
                                                                            based on
                                                                                  on aa review
                                                                                        review of
                                                                                                of Bell’s
                                                                                                   Bell's
  accounting records and conversations with Bell personnel.

 I measured
   measured $3,558,804 in non-continuing
                              non-continuing feed
                                               feedcosts
                                                     coststhrough
                                                           throughApril
                                                                    Aprilofof2017.   As feed
                                                                              2017. As   feed prices
                                                                                              prices
 fluctuate
 fluctuate due to agricultural commodity   price changes,  I used
                               commodity price changes, I used    actual feed prices during the loss
 period to
 period     calculate non-continuing
         to calculate non-continuingfeedfeedcosts.
                                              costs. I based
                                                       based the volume
                                                                  volume of feed
                                                                              feed required
                                                                                    required on the
                                                                                                 the
 Bioplan.

  I measured $1,700,029 in non-continuing
                            non-continuing aquatic
                                             aquatic supply
                                                     supply costs
                                                            costs through
                                                                   throughApril
                                                                            Aprilof
                                                                                 of 2017. Aquatic
                                                                                    2017. Aquatic
  supply costs primarily consist
                         consist of
                                 of Oxygen.
                                    Oxygen. II measured
                                               measured these
                                                        these costs using the budgeted costs in the
  Bioplan.

  I measured $1,608,682 in non-continuing
                              non-continuing indirect
                                             indirect salaried
                                                      salaried labor
                                                               labor and
                                                                     and benefits
                                                                          benefits through
                                                                                   through April
                                                                                           April of
        Priorto
  2017. Prior tothe
                 theIncident
                     Incident Mr.
                              Mr. Davis
                                  Davis had
                                        had been
                                            been making
                                                  making operational
                                                           operational changes that included letting

                                                      11
                                                      11
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              transferring staff
 staff go and transferring staff between
                                 between departments.
                                            departments. After the Incident, Bell let go salaried and
 indirect employees.
 indirect employees. ToTo account
                           account for
                                    for these
                                         these staffing
                                               staffing changes,
                                                        changes, II used
                                                                    used aa historical
                                                                            historical monthly
                                                                                       monthly average
                                                                                               average
 from the three (3) months prior to the Incident to calculate non-continuing labor expenses for all
 personnel.

  I measured
    measured $1,460,897 in non-continuing
                              non-continuing utilities
                                                utilities through
                                                           throughApril
                                                                  April2017.     To capture
                                                                          2017. To   capture seasonal
                                                                                              seasonal
  factors, I measured these costs primarily based on prior year utilities costs.

  I measured $1,151,906 in non-continuing
                             non-continuing processing
                                             processing supplies
                                                         suppliesthrough
                                                                   throughApril
                                                                            April2017.    measured
                                                                                  2017. I measured
  these costs based on the supplies expense percentage of sales during the second quarter of 2015.

  I measured $668,563 in non-continuing Administrative
                                           Administrative expenses.
                                                            expenses. This category is a catch all for
      remaining accounts
  the remaining   accounts Bell
                            Bell included
                                 included inin overhead
                                               overhead expenses.
                                                          expenses. TheThe major
                                                                           major components
                                                                                  components of this
  category are routine maintenance,
                       maintenance, insurance,
                                     insurance, office
                                                 office supplies,
                                                        supplies, postage,
                                                                  postage, and
                                                                           and marketing.
                                                                                marketing. I measured
  most of these
  most     these costs
                 costs based
                       based on
                              on monthly
                                  monthly averages.
                                            averages. The
                                                       The bulk
                                                            bulk of
                                                                  of non-continuing
                                                                      non-continuing expenses
                                                                                     expenses in this
  category occurred after the foreclosure in August 2016.

  Based on these factors, I measured
  Based                     measured $10,150,451 in non-continuing overhead expenses through
  April of 2017.

  Labor Adjustment
  Labor   Adjustment - I measured
                             measured a labor
                                           labor adjustment
                                                  adjustment of $300,909, reducing         business
                                                                            reducing lost business
  interruption. After
  interruption.   Afterthe
                        theIncident,
                            Incident, Bell
                                      Bell claimed
                                            claimed labor
                                                     labor costs
                                                           costs under
                                                                 under the
                                                                       the property
                                                                           property claim.      the
                                                                                     claim. As the
  claimed amount
  claimed   amount was
                    was not deducted
                             deducted from the income
                                                 income statements
                                                          statements Bell provided,
                                                                          provided, I deducted
                                                                                      deducted this
  labor cost to avoid duplication between the property and business interruption claim amounts.

  Through
  Through the    process outlined
            the process   outlined above,
                                   above, II calculated
                                              calculated that
                                                          that Bell
                                                                Bell suffered
                                                                      suffered business
                                                                                business interruption
                                                                                          interruption
  damages of $8,343,426 (Exhibit
  damages                  (Exhibit H)
                                    H) through
                                       through April
                                                April 2017.    This amount
                                                       2017. This   amount is calculated
                                                                                calculated based
                                                                                           based on a
  calculated lost revenue
  calculated      revenue amount
                           amount of $24,085,532 (Exhibit
                                                   (Exhibit H) less non-continuing
                                                                      non-continuing cost
                                                                                       cost of
                                                                                            of sales
                                                                                               sales of
  $5,290,747, less non-continuing overhead
                                   overhead expense
                                              expense of $10,150,451 (Exhibit H) and less a Labor
  adjustment of $300,909. (Exhibit H)



 VIII. Conclusion
  In my
     my opinion
         opinion Bell
                 Bell suffered
                       suffered $29,761,858 (Exhibit
                                            (Exhibit A)
                                                     A) in damages as
                                                        in damages as a direct
                                                                        direct result
                                                                               result of the
                                                                                         the
  Incident.

  In my opinion,
         opinion, the total property
                            property damages
                                     damages Bell
                                             Bell suffered
                                                  suffered as
                                                            as a direct
                                                                 direct result
                                                                        result of the Incident
                                                                                      Incident are
  $19,824,272. These      damages are
                  These damages         documented by
                                    are documented       the spreadsheets,
                                                     by the   spreadsheets, analyses,
                                                                             analyses, and
                                                                                        and other
                                                                                             other
  underlying documentation
  underlying documentation provided.
                              provided. Counsel has informed me that $1,141,732 is the property
                                                                                          property
  damages compensable under the Westfield Policy after consideration of the deductible amount of
  $10,000.


                                                   12
                                                   12
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  In my opinion, Bell suffered business personal property damages as a direct result of the
  Incident. The total Business Personal Property damages Bell suffered as a direct result of the
  Incident were $1,594,161. These damages are documented by the spreadsheets, analyses, and
  other underlying documentation provided. Counsel has informed me that $1,594,161 is the
  business personal property damages compensable under the Westfield Policy.

  In my opinion, Bell suffered business interruption damages as a direct result of the Incident. The
  total business interruption damages suffered by Bell as a direct result of this Incident are
  $8,343,426 through April 2017. As a result of the foreclosure Bell has suffered, and will
  continue to suffer, business interruption damages beyond April 2017. These damages are
  documented by the spreadsheets, analyses, and underlying documentation provided. Counsel has
  informed me that $3,514,000 is the business interruption damages compensable under the
  Westfield Policy.

  In my opinion, Bell's property damage, business personal property damages, and business
  interruption damages total $29,761,858. Counsel has informed me that $6,249,893 is
  compensable under the Westfield Policy.

 These conclusions are based on work performed to date. My conclusions may be appropriately
 modified if additional pertinent information comes to my attention and any such modifications
 would supersede this report. These conclusions are expressed to a reasonable degree of
 professional certainty.



                                                              Prepared by:



                                                              Matt Larson


                                                                 5-- /7              Ot
                                                              Date




                                                 13
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Bell Aquaculture, LLC
Expert Report of Matt Larson Regarding Lost Profits and Certain Property
Damages

Date of Loss: July 22, 2015

Index of Exhibits

                                                                    Exhibit

      Summary of Measured Damages                                     A

      CV of Matt Larson                                               B

      Data and Other Information Considered                           C

      Detailed Invoices Damages                                       D

      Bell Aquaculture, LLC Balance Sheet                             E

      Fish Inventory                                                  F

      Feed Ingredient Inventory                                       G

      Business Income Monthly Summary                                 H

      Business Income Detailed Calculation                            I

      Yield Comparison                                                J




                                                                       Page 11 of
                                                                       Page    of 1
                             Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 17 of 90 PageID #:
                                                                 7289
                                                                                                                                                Claim Summary
  Bell Aquacu
  Bell Aquaculture
               ltu re
  11550  E Gregory   Rd,
Date of Loss: July 22,   Albany IN
                       2015
  Date of Loss: July 21, 2015

  Summary of Damages as of May 17, 2018

                              A                        B                C                         D                      E                       F
                                                           Claim Amount
   Item           Preliminary Claim Category        Measured         Westfield                Westfield              Difference            Comments
    No.                                             Damages          Coverage                Measurement                [C-D1
                                                                                                                        [C-D]
     1    Emergency Services & Debris Removal   $        380,534 $        380,534          $         67,413      $          313,121 Exhibit D
     2    Building Reconstruction                        470,290          470,290                     6,526                 463,763 Exhibit D
     3    Bell Labor                                     300,909          300,909                   300,909                     -
     4    Members Equity                              18,672,539               -                        -                       -   Exhibit E

          Subtotal Property Damage                    19,824,272            1,151,732                 374,848                776,885

    5     BPP - Fish Inventory                         1,496,755            1,496,755                     -              1,496,755 Exhibit F
    6     BPP - Feed Ingredient Inventory                 97,406               97,406                     -                 97,406 Exhibit G

          Subtotal Business Personal Property          1,594,161            1,594,161                     -              1,594,161

    7     'Business
           Business Income Loss                        8,343,426 I
                                                       8,343,426            3,514,000
                                                                            3,514,000 I                   -              3,514,000
                                                                                                                         3,514,000 'Exhibit
                                                                                                                                    Exhibit H

          Subtotal Time Element                        8,343,426            3,514,000                     -              3,514,000

          Total                                 $     29,761,858            6,259,893                 374,848    $       5,885,046

          Deductible                                                            (10,000)              (10,000)

          Net Claim Total                                                   6,249,893                 364,848

          Partial Payments                                                 (1,000,000)           (1,000,000)

          Net Claim Amount Outstanding                               $      5,249,893      $       (635,152)




 Preliminary
 Subject to Amendment                                                    I QUANTUM                                                                   Page 1 of 1
                                                                           GLOBAL AD,
                                                                                    C.5
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                                     7290                                Exhibit B




                                 MATTHEW S.
                                 MATTHEW S. LARSON
                                            LARSON

                                 Manager
                                 Quantum Global Advisors LLC

                                 445 N. LaSalle Street
                                 Chicago, IL 60654
                            4
                                 (312) 467.9111 ext. 216
                                 mlarson@quantumglobaladvisors.com


EXPERIENCE:
EXPERIENCE:

    0 Matt
      MattLarson
           Larsonspecializes
                  specializes ininmanaging
                                   managing claims
                                             claims preparation
                                                     preparation and
                                                                 and litigation
                                                                      litigation support
                                                                                  support for
                                                                                          for complex
                                                                                               complex and/or
                                                                                                       and/or
         contentious property damage
                                  damage and business interruption/extra
                                                       interruption/extra expense
                                                                          expense claims.
                                                                                  claims. He
                                                                                          He has assisted clients in
         many industries,
         many     industries, including:
                                including: aquaculture,
                                           aquaculture, explosives,
                                                         explosives, food
                                                                      food processing,
                                                                            processing, hospitality,
                                                                                        hospitality, human
                                                                                                     human tissue
                                                                                                              tissue
         processing, insulation, injection molding,
         processing,                         molding, legal, lens manufacturing, marine, petroleum storage, paper,
         rail, real estate, research, seafood, warehousing and logistics, & wood products.

Insurance
Insurance Claims
          Claims &
                 & Litigation
                   Litigation Support
                              Support Consulting:
                                      Consulting:

               Larsonhas
         Matt Larson
         Matt         hasassisted
                          assistedmany
                                  many clients
                                       clients with
                                               with claim
                                                    claim preparation
                                                          preparation and litigation support, including
             following:
         the following:

American Realty Advisors                 Amsted Industries Incorporated              Austin Powder Company
Bell Aquaculture, LCC                    BFN Operations LLC                          Blackstone Real Estate
Conagra                                  Denenburg Tuffley LLC
                                         Denenberg                                   Evan's
                                                                                     Evan’s Trailers
Filtration Group Corporation             GIC Private Limited                         Glatfelter
Global Logistics Properties              Global Materials Technologies               Goldberg & Goldberg
Gordon Laboratories, Inc.                Grecian Delight Foods LLC                   Jupiter Aluminum Corporation
LXR Luxury Resorts                       Mazzetta Company, LLC                       Metal Exchange Corporation
Musculoskeletal Transplant Fdn           North American Management Co.               Otto Environmental Systems
PMC Biogenix                             Rhoads Industries, Inc.                     SemLogistics
Smithfield Foods                         Sun Communities, Inc.                       The Boulders Resort & Golden Door Spa
The Greenbrier Companies                 University of Notre Dame                    Ventana Resorts
Vision Ease                              Walton Street Capital                       Wayne Farms/ContiGroup

         Matt Larson co-authored a damages report for the University of Notre Dame.

EDUCATION:
EDUCATION:

         Masters in Business Administration, University of Bath, Bath U.K.
         Bachelor of Arts in History, Ripon College
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         I QUANTUM
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                                                                                       Exhibit C



Bell Aquaculture, LLC
Expert Report of Matt Larson Regarding Lost Profits and Certain Property
Damages

Date of Loss: July 22, 2015


Data and Other Information Considered

   1.   Expert Report
            1. Exhibit A Summary of Measured Damages
            1.
            2. Exhibit B CV of Matt Larson
            3. Exhibit C Data and Other Information Considered
            3.
            4. Exhibit D Detailed Invoices Damages
                          2018_05_17Bell
                      i. 2018_05_17    BellAquaculture_Damages
                                            Aquaculture_Damages Schedule
                                                                  Schedule
            5. Exhibit E Bell Aquaculture Balance Sheet
            5.
            6.
            6. Exhibit F Fish Inventory
                          2018_05_17Stock
                      i. 2018_05_17    Stock Claim
                                             Claim
            7.
            7. Exhibit G Feed Ingredient Inventory
                      i. 2017_02_28
                          2017_02_28Bell
                                       BellAquaculture_Feed
                                            Aquaculture_Feed Ingredient
                                                              Ingredient Inventory
            8. Exhibit H Business Income Monthly Summary
            8.
            9. Exhibit I Business Income Detailed Calculation
            9.
                          2018_05_17Bell
                      i. 2018_05_17    BellAquaculture
                                            Aquaculture BI
                                                        BI Claim.pdf
            10. Exhibit J Yield Comparison
            10.
   2.   Data and Other Information Reviewed and Considered
            1.
            1. BELL0000001 - BELL0000006, Mink Farm Invoices.pdf
            2. BELL0000007, salmonIndexHistory.xls
            3. BELL0000008, Urnerbarry Historical Salmon Quotes.xlsx
            3.
            4. BELL0000009 - BELL0000018, Bell PLs from Sage 1.2015 to 8.2016.pdf
            5.
            5. BELL0000019 - BELL0000021, Bonahoom & Bobilya.pdf
            6. BELL0000022, Bell PLs from Sage 1.2015 to 8.2016.xlsx
            6.
            7.
            7. BELL0000023 - BELL0000025, 2016_01_14 Stock Claim.pdf
            8.
            8. BELL0000026 - BELL0000028, 2016_01_14 Stock Claim.pdf
            9.
            9. BELL0000029 - BELL0000034, 2017_02_28 Bell Aquaculture_Feed Ingredient Inventory.pdf
            10. BELL0000035, 2016_01_14 Stock Claim.xlsx
            10.
            11. BELL0000036 - BELL0000039, Urnerbarry Historical Salmon Quotes.pdf
            11.
            12.
            12. BELL0000040 - BELL0000105, 2016 01 02 Bell Aquaculture LLC Insurance Claim - Expense
                Reconciliation Schedule.pdf
            13.
            13. BELL0000106 - BELL0000260, 16 Production Tank Data.pdf
            14.
            14. BELL0000261 - BELL0000460, 16 Hatchery Tank Data.pdf
            15.
            15. BELL0000461, EG Email 2016 06 15 - 4 Customer ID Cheat Sheet.pdf
            16.
            16. BELL0000462, 2017_02_28 Bell Aquaculture_Damages Schedule.xlsx
            17.
            17. BELL0000463 - BELL0000466, 2017_02_28 Bell Aquaculture_Damages Schedule.pdf
            18.
            18. BELL0000467 - BELL0000486, 2017_02_28 Bell Aquaculture_Damages Summaries.pdf
            19.
            19. BELL0000487 - BELL0000496, EG Email 2016 06 15 - 1 Bell rainbow trout bioplan Dec 10 2014.pdf
            20. BELL0000497 - BELL0000503, 2017_02_28 Bell Aquaculture BI Claim.pdf
            21. BELL0000504 - BELL0000516, Bell Aquaculture_Feed Ingredient_Cost per Pound Support.pdf
            22. BELL0000517 - BELL0000525, Bell Aquaculture_Feed Ingredient_Credit and Disposal Support.pdf

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       I QUANTUM
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                                                                                      Exhibit C



         23. BELL0000526 - BELL0000542, EG Letter 2016 05 12 - 1 Culls August 2015.pdf
         24. BELL0000543 - BELL0000655, 17 Tank Data.pdf
         25. BELL0000656 - BELL0000685, EG Letter 2016 05 12 - 1 Culls July 2015.pdf
         26. BELL0000686 - BELL0000691, salmonIndexHistory.pdf
         27. BELL0000692 - BELL0000693, 2015 12 31 Payroll Journal 20151231.pdf
         28. BELL0000694 - BELL0000697, 2015 11 25 Payroll Journal 20151123 1.pdf
         29. BELL0000698 - BELL0000701,
                              BELL0000701, 2015
                                           2015 11
                                                11 12
                                                   12 Payroll
                                                      PayrollJournal
                                                              Journal 20151110 1.pdf
         30. BELL0000702 - BELL0000707, 2015 10 15 Payroll Journal 20151014 1.pdf
         30.
         31. BELL0000708 - BELL0000711, 2015 12 24 Payroll Journal 20151221 1.pdf
         31.
         32. BELL0000712 - BELL0000720, 2015 08 20 Payroll Journal 20150819 1.pdf
         32.
         33. BELL0000721 - BELL0000728, 2015 09 03 Payroll Journal 20150902 1.pdf
         33.
         34. BELL0000729 - BELL0000740, 2015 08 06 Payroll Journal 20150806 20150805 1.pdf
         34.
         35. BELL0000741 - BELL0000744, 2015 10 29 Payroll Journal 20151027 1.pdf
         36. BELL0000745 - BELL0000747, 2015 12 10 Payroll Journal 20151208 1.pdf
         37. BELL0000748 - BELL0000753, 2015 09 18 Payroll Journal 20150917 1.pdf
         38. BELL0000754 - BELL0000758, 2015 10 01 Payroll Journal 20150929 1.pdf
         39. BELL0000759 - BELL0000767, 2015 07 23 Payroll Journal 20150723 1.pdf
         40. BELL0000768 - BELL0000778, 2015 05 28 Payroll Journal 20150527 1.pdf
         41. BELL0000779, 16 Production Tank Data.xlsx
         42. BELL0000780 - BELL0000790, 2015 05 14 Payroll Journal 20150513 1.pdf
         43. BELL0000791 - BELL0000811, 2015 06 25 Payroll Journal 20150623 1.pdf
         44. BELL0000812 - BELL0000822, 2015 02 05 Payroll Journal 20150204 1.pdf
         45. BELL0000823 - BELL0000833, 2015 03 31 Payroll Journal 20150331 1.pdf
         46. BELL0000834 - BELL0000843, 2015 04 16 Payroll Journal 20150415 1.pdf
         47. BELL0000844 - BELL0000853, 2015 04 30 Payroll Journal 20150429 1.pdf
         48. BELL0000854 - BELL0000864, 2015 03 19 Payroll Journal 20150317 1.pdf
         49. BELL0000865 - BELL0000932, EG Letter 2016 05 12 - 3 Bell Aquaculture Investor Presentation -
             Fall of 2015.pdf
         50.
         50. BELL0000933 - BELL0000942, 2015 03 05 Payroll Journal 20150304 1.pdf
         51. BELL0000943 - BELL0000953, 2015 02 19 Payroll Journal 20150218 1.pdf
         51.
         52. BELL0000954, 2015 01 22B Payroll Journal 20150121 1.pdf
         52.
         53.
         53. BELL0000955 - BELL0000967, 2015 01 08 Payroll Journal 20150106 1.pdf
         54. BELL0000968 - BELL0000980, 2015 01 22 Payroll Journal 20150120 1.pdf
         54.
         55.
         55. BELL0000981 - BELL0000990, 2015 07 09 Payroll Journal 20150709 1.pdf
         56. BELL0000991, 17 Tank Data.xlsx
         56.
         57. BELL0000992, EG Email 2016 06 15 - 2 Rainbow trout growth data compared to freshwater data
         57.
             (v2.2 br 7-15-2014).xlsx
         58.
         58. BELL0000993, 03-15-2016 ($2435.09).pdf
         59.
         59. BELL0000994 - BELL0000995, 01-11-2016 ($81,546.10).pdf
         60.
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         72. BELL0001013, 03-16-2016 ($80.44).pdf


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         75. BELL0001016 - BELL0001017, 02-23-2016 ($74.44).pdf
         76. BELL0001018, 02-24-2016 ($1,540.79).pdf
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         78. BELL0001021 - BELL0001022, 01-26-2016 ($44,712.78).pdf
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         98. BELL0001055 - BELL0001058, 02-05-2016 ($10,134.95).pdf
         99. BELL0001059 - BELL0001062, 02-05-2016 ($15,000.00).pdf
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         152. BELL0001604 - BELL0001613, JJ McDonnell 6265.pdf
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         160. BELL0001635, April 2015 Fish Count Draft.xlsx
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         165. BELL0001654, Letter for Layoff R Dollar.pdf
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         166. BELL0001655 - BELL0001664, 2015 03 Processing       Records.pdf
         167. BELL0001665 - BELL0001672, 2014 12 Processing Records.pdf
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         168. BELL0001673 - BELL0001680, 2015 02 Processing Records.pdf
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         169. BELL0001681, Fish Count 2014 06.xlsx
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         170. BELL0001682, Fish Count 2014 05.xlsx
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         171. BELL0001683 - BELL0001690, 2015 01 Processing Records.pdf
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         173. BELL0001692, BA-VA-907 PLU Codes (2.6 mb 03-10-2015).pdf
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         175. BELL0001694 - BELL0001700, 2014 09 Processing Records.pdf
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         178. BELL0001728 - BELL0001734, 2014 10 Processing Records.pdf
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         181. BELL0001744, December 2014 Fish Count.xlsx
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         182. BELL0001745 - BELL0001752, 2014 08 Processing Records.pdf
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         183. BELL0001753 - BELL0001776, 1908_001.pdf
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         184. BELL0001777, Completed March 2015 Fish Count.xlsx
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         185. BELL0001778, Fingerling April(2014).xls
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         187. BELL0001787, Row 2 April 2014.xls
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         192. BELL0001798, Row 3 April(2014) Data.xls
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         193. BELL0001799, Row 3 February(2014) Data.xls
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         197. BELL0001803, Fingerling December (2013).xls
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         198. BELL0001804, Row 2 March 2014.xls
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         199. BELL0001805, Row 2 January 2014.xls
         199.
         200. BELL0001806, January Row 2 East Layout 2014.xlsx
         201. BELL0001807, March Row 2 West Layout 2014.xlsx
         202. BELL0001808, Row 2 December 2013.xls
         203. BELL0001809, January Row 2 West Layout 2014.xlsx
         204. BELL0001810, Row 3 January(2014) Data.xls
         205. BELL0001811, Row 2 November 2013.xls
         206. BELL0001812, Fingerling October (2013).xls
         207. BELL0001813, Row 3 October (2013) Data.xls
         208. BELL0001814, Row 2 February 2014.xls
         209. BELL0001815, Row 2 October 2013.xls
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         210. BELL0001816, Row 3 September (2013) Data.xls
         211. BELL0001817, Row 3 December (2013) Data.xls
         212. BELL0001818, December Row 2 West Layout 2013.xls
         213. BELL0001819, February Row 2 West Layout 2014.xlsx
         214. BELL0001820, Fingerling September (2013).xls
         215. BELL0001821, Fingerling August (2013).xls
         216. BELL0001822, Row 22 August  2013 Data compatible.xls
                                   August 2013
         217. BELL0001823, September East Layout 2013.xlsx
         218. BELL0001824, November Row 2 East Layout 2013.xlsx
         219. BELL0001825, Row 3 August (2013) Data.xls
         220. BELL0001826, December Row 2 East Layout 2013.xlsx
         221. BELL0001827, Fingerling November (2013).xls
         222. BELL0001828, September 15 Hatchery Tank Data.xlsx
         223. BELL0001829, Fingerling March(2014).xls
         224. BELL0001830, January Row 3 Layout 2014.xlsx
         225. BELL0001831 - BELL0001832, FINGERLING Mortality Feb-15.pdf
         226. BELL0001833 - BELL0001834, FINGERLING Mortality Apr-15.pdf
         227. BELL0001835 - BELL0001842, PRODUCTION Mortality May-15.pdf
                            Row 22 September
         228. BELL0001843, Row     September 2013.xls


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         230. BELL0001846 - BELL0001853, PRODUCTION Mortality June-15.pdf
         231. BELL0001854 - BELL0001861, Mortality Mar-15.pdf
         232. BELL0001862 - BELL0001873, EGGS Water Quality Apr-15.pdf
         233. BELL0001874 - BELL0001889, FRY Water Quality Apr-15.pdf
         234. BELL0001890, COHO Mortality Jan-15.pdf
         235. BELL0001891 - BELL0001892, COHO Mortality Apr-15.pdf
         236. BELL0001893, Bell Cohort Growth.xlsx
         237. BELL0001894, Adjustments Records 09252015.XLS
         238. BELL0001895 - BELL0001900, EGGS Stocking and Mortality Mar-15.pdf
         239. BELL0001901 - BELL0001906, COHO Water Quality Feb-15.pdf
         240. BELL0001907 - BELL0001912, COHO Water Quality Jan-15.pdf
         241. BELL0001913 - BELL0001914, Bell pod schematic.msg
         242. BELL0001915, image003.jpg
         243. BELL0001916, February Row 3 Layout 2014.xlsx
         244. BELL0001917 - BELL0001922, EGGS Stocking and Mortality Apr-15.pdf
         245. BELL0001923 - BELL0001934, EGGS Water Quality June-15.pdf
         246. BELL0001935 - BELL0001958, FRY Water Quality May-15.pdf
         247. BELL0001959, August East Layout 2013 compatible.xlsx
         248. BELL0001960 - BELL0001972, FINGERLING Water Quality Jan-15.pdf
         249. BELL0001973, 15 Production Tank Data.xlsx
         250. BELL0001974 - BELL0002008, TROUT Water Quality Apr-15.pdf
         251. BELL0002009, Production Tank Data Sep 2015.xlsx
         252. BELL0002010 - BELL0002011, FINGERLING Mortality Mar-15.pdf
         253. BELL0002012 - BELL0002043, FRY Water Quality June-15.pdf
         254. BELL0002044 - BELL0002087, PRODUCTION Water Quality May-15.pdf
         255. BELL0002088, April Row 2 West Layout 2014.xlsx
         256. BELL0002089, October Row 2 East Layout 2013 revised.xlsx
         257. BELL0002090, September West Layout 2013.xls
         258. BELL0002091 - BELL0002102, FINGERLING Water Quality Apr-15.pdf
         259. BELL0002103, 15 Hatchery Tank Data.xlsx
         260. BELL0002104, 2- Fish Sales Journal as of February 1, 2014.xls
         261. BELL0002105, 3- Fish Sales Journal as of March 01, 2014.xls
         262. BELL0002106 - BELL0002107, FINGERLING Mortality May-15.pdf
         263. BELL0002108, 12 - December 2014 Production, Sales, Promo, Spoilage GL Entries.xlsx
         264. BELL0002109, 12 - December 2014 Mortalities GL Entries.xlsx
         265. BELL0002110 - BELL0002111, General Journal Ledger Applied Costs.pdf
         266. BELL0002112 - BELL0002114, General Journal Ledger WIP and Finished Goods.pdf
         267. BELL0002115, September Row 3 Layout (March 2013-present).xls
         268. BELL0002116 - BELL0002127, COHO Water Quality Apr-15.pdf
         269. BELL0002128 - BELL0002135, Mortality Feb-15.pdf
         270. BELL0002136, 6- Fish Sales Journal as of June 01,2014.xls
         271. BELL0002137, 11 - November 2014 Production, Sales, Promo, Spoilage GL Entries.xlsx
         272. BELL0002138 - BELL0002143, TROUT Mortality Apr-15.pdf
         273. BELL0002144, 06 - June 2015 Production, Sales, Promo, Spoilage GL Entries.xlsx
         274. BELL0002145, 04 - April 2015 Production, Sales, Promo, Spoilage GL Entries.xlsx
         275. BELL0002146, 2015 Items Sold   to Customers
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         276. BELL0002147, 4- Fish Sales Journal as of April 01, 2014.xls
         277. BELL0002148 - BELL0002153, EGGS Stocking and Mortality May-15.pdf
         278. BELL0002154 - BELL0002201, Water Quality Mar-15.pdf
         279. BELL0002202, September Row 3 Layout 2013.xls
         280. BELL0002203, 07 - July 2015 Production, Sales, Promo, Spoilage GL Entries.xlsx


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         282. BELL0002205, 5- Fish Sales Journal as of May 01,2014.xls
         283. BELL0002206, 03 - March 2015 Production, Sales, Promo, Spoilage GL Entries.xlsx
         284. BELL0002207, 10 - October 2014 Production, Sales, Promo, Spoilage GL Entries.xlsx
         285. BELL0002208, August West Layout 2013.xls
         286. BELL0002209, Bluegill Sold - 2014.xlsx
         287. BELL0002210, 10- Fish Sales Journal
                                           Journal as
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                                                          October 01,2014 - Copy.xls
         288. BELL0002211, 09 - September 2015 Production, Sales, Promo, Spoilage GL Entries.xlsx
         289. BELL0002212, 10 - October 2014 Mortalities GL Entries.xlsx
         290. BELL0002213, 01 - January 2015 Production, Sales, Promo, Spoilage GL Entries.xlsx
         291. BELL0002214, Row 3 November (2013) Data.xls
         292. BELL0002215, Copy of 15 Production Tank Data - 2nd Qtr 2015.xlsx
         293. BELL0002216 - BELL0002227, FINGERLING Water Quality Feb-15.pdf
         294. BELL0002228, Bell Fish Production Standard Costs -per Bob Davis 3-26-15.xlsx
         295. BELL0002229, Samples out to Customers by month 2014 - Fish (2).xlsx
         296. BELL0002230, 11 - November 2014 Mortalities GL Entries.xlsx
         297. BELL0002231, 02 - February 2015 Production, Sales, Promo, Spoilage GL Entries.xlsx
         298. BELL0002232, Chart of Accounts Payroll Items.xlsx
         299. BELL0002233, 2013 Monthly P & L.xlsx
         300. BELL0002234, Bell Aquacutlure LLC - Financial Statements Fiscal year 2012 through June 30
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         301. BELL0002235 - BELL0002245, FINGERLING Water Quality May-15.pdf
         302. BELL0002246, 2013 08 - 2015 07 Monthly P & L.xlsx
         302.
         303. BELL0002247, Row 3 March(2014) Data.xls
         304. BELL0002248, 08 - August 2015 Production, Sales, Promo, Spoilage GL Entries.xlsx
         305. BELL0002249, Transfer Switch Quote.pdf
         306. BELL0002250, 11- Fish Sales
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                                           Journal as
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                                                       of November
                                                          November 01,2014.xls
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         308. BELL0002263 - BELL0002264, Disposal.pdf
         309. BELL0002265 - BELL0002266, Gas.pdf
         310. BELL0002267 - BELL0002325, 2014 Partnership Tax Return V2.pdf
         311. BELL0002326, Balance Sheets Monthly 2015.xlsx
         312. BELL0002327, Copy of 15 Production Tank Data - 3rd Qtr 2015.xlsx
         313. BELL0002328, J & J Electric.pdf
         314. BELL0002329 - BELL0002330, Bell - 1400 Metric Ton Budgeted Income Statement 07-2015
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         316. BELL0002332, Bell P & L Oct 15-Apr 16.xlsx
         317. BELL0002333, 2015 12 31 P and L.xlsx
         318. BELL0002334 - BELL0002340, Electric.pdf
         319. BELL0002341, 8- Fish Sales
                                   Sales Journal
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                                                  as of
                                                     of August
                                                         August 01,2014.xls
         320. BELL0002342, 7- Fish Sales
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                                                         July 01,2014.xls
         321. BELL0002343, 2013 08 - 2015 08 Monthly P & L closed through March 2015.xlsx
         322. BELL0002344, October Row 3 Layout 2013 (March 2013-present).xlsx
         323. BELL0002345, 2015 12 31
                                    31 PP and
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                                                as of May 2016.xlsx
         324. BELL0002346, April Row 3 Layout 2014.xlsx
         325. BELL0002347, 2013 08 - 2015 09 Monthly P & L closed through Sept 2015.xlsx
         326. BELL0002348 - BELL0002349, Equipment Rental.pdf
         327. BELL0002350 - BELL0002358, Maintenance.pdf
         328. BELL0002359, 12- Fish Sales
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                                                       of December
                                                          December 01,2014.xls
         329. BELL0002360, Bell Aquaculture LLC Insurance Claim - Expense Reconciliation Schedule as of
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         331. BELL0002373, October Row 2 West Layout 2013 revised.xls
         332. BELL0002374 - BELL0002424, Diesel Receipts.pdf
         333. BELL0002425, Copy of 15 Production
                                       Production Tank
                                                    Tank Data
                                                          Data - 1st Qtr 2015.xlsx
         334. BELL0002426, 2015 10 03 Bell Aquaculture LLC Insurance Claim - Expense Reconciliation
             Schedule.xlsx
         335. BELL0002427 - BELL0002438, EGGS Water Quality May-15.pdf
         336. BELL0002439 - BELL0002449, Clean Up Supplies.pdf
         337. BELL0002450, 1- Fish Sales Journal as of January 1, 2014.xls
         338. BELL0002451 - BELL0002456, EGGS Stocking and Mortality June-15.pdf
         339. BELL0002457, 2016 01 02 Bell Aquaculture LLC Insurance Claim - Expense Reconciliation
             Schedule.xlsx
         340. BELL0002458, December Row 3 Layout 2013 (March 2013-present).xlsx
         341. BELL0002459, May Row 3 Layout 2014.xlsx
         342. BELL0002460, 9- Fish Sales
                                   Sales Journal
                                         Journal as
                                                 as of
                                                     of September
                                                        September 01,2014.xls
         343. BELL0002461, November Row 2 West Layout 2013.xls
         344. BELL0002462 - BELL0002470, Oxygen-Linde.pdf
         345. BELL0002471 - BELL0002556, 2016_01_14 BI Claim (through Dec 2015).pdf
         346. BELL0002557 - BELL0002593, Diesel.pdf
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         348. BELL0002595 - BELL0002642, PRODUCTION Water Quality June-15.pdf
         349. BELL0002643, Bell 2015 07 09 Projection Timer (1400 metric tonnes).xlsx
         350. BELL0002644, 2016_05_13 Bell Aquaculture BI Claim (through April 2016).xlsx
         351. BELL0002645 - BELL0002705,
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                                                  Partnership Tax
                                                               TaxReturn
                                                                    ReturnV1.pdf
                                                                            Vl.pdf
         352. BELL0002706, March Row 3 Layout 2014 (Repaired).xlsx
         353. BELL0002707 - BELL0002746, TROUT Water Quality Feb-15.pdf
         353.
         354. BELL0002747, August Row 3 Layout 2013.xls
         355. BELL0002748, August Row 3 Layout 2013 Revised.xls
         356. BELL0002749, March Row 3 Layout 2014.xlsx
         357. BELL0002750 - BELL0002789, TROUT Water Quality Jan-15.pdf
         358. BELL0002790 - BELL0002893, 2016_05_13 Bell Aquaculture BI Claim (through April 2016).pdf
         359. BELL0002894, September Row 3 Layout 2013 (March 2013-present) Revised.xlsx
         360. BELL0002895, November Row 3 Layout 2013 (March 2013-present).xlsx
         361. BELL0003217, 07 - Deposits General Ledger.pdf
         362. BELL0003218 - BELL0003220, 03 - Vectren Purchase Journal.pdf
         363. BELL0003221, 01 - Vectren Vendor Ledger.pdf
         364. BELL0003222 - BELL0003230, 05 - Utilities Expense General Ledger.pdf
         365. BELL0003231, 04 - Vectren Cash Disbursements Journal.pdf
         366. BELL0003232 - BELL0003234, 02 - Vectren Transaction History.pdf
         367. BELL0003235 - BELL0003238, 06 - Vendor Finance Charges General Ledger.pdf
         368. BELL0003239, 08-05-2015 ($58,517.33).pdf
         369. BELL0003240, 07-30-2015 ($8,583.06).pdf
         370. BELL0003241, 06-24-2015 ($18,791.08).pdf
         371. BELL0003242, 08-13-2015 ($282.07).pdf
         372. BELL0003243 - BELL0003250, 04 - IMP-AEP Cash Disbursements Journal.pdf
         373. BELL0003251 - BELL0003254, 06 - Vendor Finance Charges General Ledger.pdf
         374. BELL0003255 - BELL0003259, 03 - IMP-AEP Purchase Journal.pdf
         375. BELL0003260, 07 - Deposits General Ledger.pdf
         376. BELL0003261 - BELL0003262, 01 - IMP-AEP Vendor Ledger.pdf
         377. BELL0003263, Invoices Spreadsheet.xlsx
         378. BELL0003264 - BELL0003268, 02 - IMP-AEP Transaction History.pdf
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         381. BELL0003283 - BELL0003287, Leslie's Pool Invoices_001.pdf
         382. BELL0003288, A Rental Statement.pdf
         383. BELL0003289, Feed Ingredient Inventory 2016 01 15.xlsx
         384. BELL0003290 - BELL0003293, Aqua Blast Invoice_001.pdf
         385. BELL0003294, salmonIndexHistory.xls
         386. BELL0003295, Prepaid Expenses - Bob Davis.xlsx
         387. BELL0003296, Urnerbarry Historical Salmon Quotes.xlsx
         388. BELL0003297, 2016 07 31 P and L.xlsx
         389. BELL0003298, 16 Production Tank Data.xlsx
         390. BELL0003299 - BELL0003302, Payroll Journal 20160121 20160120 1.pdf
         391. BELL0003303 - BELL0003307, Payroll Journal 20160107 20160107 1.pdf
         392. BELL0003308, Bell PLs from Sage 1.2015 to 8.2016.xlsx
         393. BELL0003309, 2017 01 - Electric & Gas Bill Analysis.xlsx
         394. BELL0003310, Fingerling March(2014).xls
         395. BELL0003311, Fingerling February(2014).xls
         396. BELL0003312, 16 Production Tank Data.xlsx
         397. BELL0003313 - BELL0003315, A Rental Invoice.pdf
         398. BELL0003316, 2017_02_17 Bell Aquaculture_Feed Ingredient Inventory.xlsx
         399. BELL0003317, 17 Tank Data.xlsx
         400. BELL0003318, 17 Tank Data.xlsx
         401. BELL0003319, Fingerling May(2014).xls
         402. BELL0003320, Bell PLU Codes.pdf
         403. BELL0003321, Production Tank Data Sep 2015.xlsx
         404. BELL0003322, Fingerling August (2013).xls
         405. BELL0003323, Fish Count 2014 05 (2).xlsx
         406. BELL0003324, Row 3 August (2013) Data.xls
         407. BELL0003325, 15 Hatchery Tank Data.xlsx
         408. BELL0003326 - BELL0003353, National Oil Invoices _001.pdf
         409. BELL0003354, 2017_02_17 Bell Aquaculture BI Claim.xlsx
         410. BELL0003355, 16 Hatchery Tank Data.xlsx
         411. BELL0003356, Hatchery Tank Data Sep-Dec 2015.xlsx
         412. BELL0002896, IMG_5681.JPG
         413. BELL0002897, IMG_5680.JPG
         414. BELL0002898, IMG_5684.JPG
         415. BELL0002899, IMG_5679.JPG
         416. BELL0002900, IMG_5817.JPG
         417. BELL0002901, IMG_5685.JPG
         418. BELL0002902, IMG_5827.JPG
         419. BELL0002903, IMG_5678.JPG
         420. BELL0002904, IMG_5826.JPG
         421. BELL0002905, IMG_5828.JPG
         422. BELL0002906, IMG_5812.JPG
         423. BELL0002907, IMG_5814.JPG
         424. BELL0002908, IMG_5815.JPG
         425. BELL0002909, IMG_5677.JPG
         426. BELL0002910, IMG_5813.JPG
         427. BELL0002911, IMG_5833.JPG
         428. BELL0002912, IMG_5830.JPG
         429. BELL0002913, IMG_5832.JPG
         430. BELL0002914, IMG_5831.JPG
         431. BELL0002915, IMG_5811.JPG


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         432. BELL0002916, IMG_5809.JPG
         433. BELL0002917, IMG_5810.JPG
         434. BELL0002918, IMG_5683.JPG
         435. BELL0002919, IMG_5808.JPG
         436. BELL0002920, IMG_5807.JPG
         437. BELL0002921, IMG_5816.JPG
         438. BELL0002922, IMG_5824.JPG
         439. BELL0002923, IMG_5825.JPG
         440. BELL0002924, IMG_582  LJPG
                           IMG_5821.JPG
         441. BELL0002925, IMG_5823.JPG
         442. BELL0002926, IMG_5838.JPG
         443. BELL0002927, IMG_5835.JPG
         444. BELL0002928, IMG_5836.JPG
         445. BELL0002929, IMG_5834.JPG
         446. BELL0002930, IMG_5820.JPG
         447. BELL0002931, IMG_5851.JPG
         448. BELL0002932, IMG_5843.JPG
         449. BELL0002933, IMG_5837.JPG
         450. BELL0002934, IMG_5845.JPG
         451. BELL0002935, IMG_5850.JPG
         452. BELL0002936, IMG_5844.JPG
         453. BELL0002937, IMG_5846.JPG
         454. BELL0002938, IMG_5840.JPG
         455. BELL0002939, IMG_5849.JPG
         456. BELL0002940, IMG_5829.JPG
         457. BELL0002941, IMG_5841.JPG
         458. BELL0002942, IMG_5847.JPG
         459. BELL0002943, IMG_5876.JPG
         460. BELL0003357, 16 Hatchery Tank Data.xlsx
         461. BELL0002944, IMG_5875.JPG
         462. BELL0002945, IMG_5819.JPG
         463. BELL0002946, IMG_5883.JPG
         464. BELL0002947, IMG_5842.JPG
         465. BELL0002948, IMG_5884.JPG
         466. BELL0002949, IMG_5880.JPG
         467. BELL0002950, IMG_5878.JPG
         468. BELL0002951, IMG_5874.JPG
         469. BELL0002952, IMG_5879.JPG
         470. BELL0002953, IMG_5848.JPG
         471. BELL0002954, IMG_5839.JPG
         472. BELL0002955, IMG_5806.JPG
         473. BELL0002956, IMG_5818.JPG
         474. BELL0002957, IMG_5822.JPG
         475. BELL0002958, IMG_5877.JPG
         476. BELL0002959, IMG_5882.JPG
         477. BELL0002960, IMG_5787.JPG
         478. BELL0002961, IMG_5792.JPG
         479. BELL0002962, IMG_5788.JPG
         480. BELL0002963, IMG_5786.JPG
         481. BELL0002964, IMG_5785.JPG
         482. BELL0002965, IMG_5784.JPG
         483. BELL0002966, IMG_5783.JPG


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         484. BELL0002967, IMG_5790.JPG
         485. BELL0002968, IMG_5793.JPG
         486. BELL0002969, IMG_5881.JPG
         487. BELL0002970, IMG_5781.JPG
         488. BELL0002971, IMG_5791.JPG
         489. BELL0002972, IMG_5780.JPG
         490. BELL0002973, IMG_5782.JPG
         491. BELL0002974, IMG_5778.JPG
         492. BELL0002975, IMG_5779.JPG
         493. BELL0002976, IMG_5777.JPG
         494. BELL0002977, IMG_5772.JPG
         495. BELL0002978, IMG_5776.JPG
         496. BELL0002979, IMG_5774.JPG
         497. BELL0002980, IMG_5768.JPG
         498. BELL0002981, IMG_5767.JPG
         499. BELL0002982, IMG_5770.JPG
         500.
         500. BELL0002983, IMG_5769.JPG
         501. BELL0002984, IMG_5775.JPG
         501.
         502. BELL0002985, IMG_5771.JPG
         502.
         503.
         503. BELL0002986, IMG_5773.JPG
         504. BELL0002987, IMG_5766.JPG
         504.
         505.
         505. BELL0002988, IMG_5762.JPG
         506.
         506. BELL0002989, IMG_5763.JPG
         507.
         507. BELL0002990, IMG_5789.JPG
         508.
         508. BELL0002991, IMG_5757.JPG
         509.
         509. BELL0002992, IMG_5759.JPG
         510. BELL0002993, IMG_5754.JPG
         510.
         511. BELL0002994, IMG_5756.JPG
         511.
         512. BELL0002995, IMG_5764.JPG
         512.
         513. BELL0002996, IMG_5761.JPG
         513.
         514. BELL0002997, IMG_5765.JPG
         514.
         515. BELL0002998, IMG_5755.JPG
         515.
         516. BELL0002999, IMG_5758.JPG
         516.
         517. BELL0003000, IMG_5760.JPG
         517.
         518. BELL0003001, IMG_5753.JPG
         518.
         519. BELL0003002, IMG_5752.JPG
         519.
         520. BELL0003003, IMG_5750.JPG
         520.
         521. BELL0003004, IMG_5745.JPG
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         522. BELL0003005, IMG_5743.JPG
         523.
         523. BELL0003006, IMG_5747.JPG
         524.
         524. BELL0003007, IMG_5744.JPG
         525.
         525. BELL0003008, IMG_5748.JPG
         526.
         526. BELL0003009, IMG_5740.JPG
         527. BELL0003010, IMG_5742.JPG
         527.
         528. BELL0003011, IMG_5746.JPG
         528.
         529. BELL0003012, IMG_5751.JPG
         529.
         530.
         530. BELL0003013, IMG_5749.JPG
         531. BELL0003014, IMG_5739.JPG
         531.
         532. BELL0003015, IMG_5738.JPG
         532.
         533.
         533. BELL0003016, IMG_5737.JPG
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         534. BELL0003017, IMG_5732.JPG
         535.
         535. BELL0003018, IMG_5735.JPG


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            GLOBAL ADVISORS
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         536.
         536. BELL0003019, IMG_5733.JPG
         537.
         537. BELL0003020, IMG_5731.JPG
         538.
         538. BELL0003021, IMG_5730.JPG
         539.
         539. BELL0003022, IMG_5728.JPG
         540. BELL0003023, IMG_5729.JPG
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         541. BELL0003024, IMG_5736.JPG
         541.
         542. BELL0003025, IMG_5741.JPG
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         543. BELL0003026, IMG_5726.JPG
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         544. BELL0003027, IMG_5725.JPG
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         545. BELL0003028, IMG_5727.JPG
         546.
         546. BELL0003029, IMG_5722.JPG
         547.
         547. BELL0003030, IMG_5715.JPG
         548.
         548. BELL0003031, IMG_5686.JPG
         549.
         549. BELL0003032, IMG_5716.JPG
         550.
         550. BELL0003033, IMG_5724.JPG
         551. BELL0003034, IMG_5717.JPG
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         552. BELL0003035, IMG_5718.JPG
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         553. BELL0003036, IMG_5713.JPG
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         554. BELL0003037, IMG_5714.JPG
         555.
         555. BELL0003038, IMG_5711.JPG
         556.
         556. BELL0003039, IMG_5710.JPG
         557.
         557. BELL0003040, IMG_5712.JPG
         558.
         558. BELL0003041, IMG_5707.JPG
         559.
         559. BELL0003042, IMG_5709.JPG
         560.
         560. BELL0003043, IMG_5706.JPG
         561.
         561. BELL0003044, IMG_5708.JPG
         562. BELL0003045, IMG_5705.JPG
         562.
         563.
         563. BELL0003046, IMG_5734.JPG
         564. BELL0003047, IMG_5704.JPG
         564.
         565.
         565. BELL0003048, IMG_5703.JPG
         566.
         566. BELL0003049, IMG_5801.JPG
         567.
         567. BELL0003050, IMG_5803.JPG
         568.
         568. BELL0003051, IMG_5796.JPG
         569.
         569. BELL0003052, IMG_5797.JPG
         570.
         570. BELL0003053, IMG_5795.JPG
         571. BELL0003054, IMG_5794.JPG
         571.
         572.
         572. BELL0003055, IMG_5702.JPG
         573.
         573. BELL0003056, IMG_5701.JPG
         574.
         574. BELL0003057, IMG_5694.JPG
         575.
         575. BELL0003058, IMG_5700.JPG
         576.
         576. BELL0003059, IMG_5699.JPG
         577.
         577. BELL0003060, IMG_5697.JPG
         578.
         578. BELL0003061, IMG_5698.JPG
         579.
         579. BELL0003062, IMG_5695.JPG
         580.
         580. BELL0003063, IMG_5696.JPG
         581. BELL0003064, IMG_5693.JPG
         581.
         582. BELL0003065, IMG_5688.JPG
         582.
         583.
         583. BELL0003066, IMG_5691.JPG
         584.
         584. BELL0003067, IMG_5692.JPG
         585.
         585. BELL0003068, IMG_5689.JPG
         586.
         586. BELL0003069, IMG_5690.JPG
         587.
         587. BELL0003070, IMG_5805.JPG


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         588.
         588. BELL0003071, IMG_5681.JPG
         589.
         589. BELL0003072, IMG_5685.JPG
         590.
         590. BELL0003073, IMG_5804.JPG
         591. BELL0003074, IMG_5679.JPG
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         592. BELL0003075, IMG_5868.JPG
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         593.
         593. BELL0003076, IMG_5866.JPG
         594.
         594. BELL0003077, IMG_5871.JPG
         595.
         595. BELL0003078, IMG_5863.JPG
         596.
         596. BELL0003079, IMG_5865.JPG
         597.
         597. BELL0003080, IMG_5680.JPG
         598.
         598. BELL0003081, IMG_5870.JPG
         599.
         599. BELL0003082, IMG_5864.JPG
         600. BELL0003083, IMG_5869.JPG
         601. BELL0003084, IMG_5867.JPG
         602. BELL0003085, IMG_5659.JPG
         603. BELL0003086, IMG_5657.JPG
         604. BELL0003087, IMG_5660.JPG
         605. BELL0003088, IMG_5647.JPG
         606. BELL0003089, IMG_5654.JPG
         607. BELL0003090, IMG_5602.JPG
         608. BELL0003091, IMG_5645.JPG
         609. BELL0003092, IMG_5658.JPG
         610. BELL0003093, IMG_5649.JPG
         611. BELL0003094, IMG_5650.JPG
         612. BELL0003095, IMG_5648.JPG
         613. BELL0003096, IMG_5646.JPG
         614. BELL0003097, IMG_5643.JPG
         615. BELL0003098, IMG_5599.JPG
         616. BELL0003099, IMG_5597.JPG
         617. BELL0003100, IMG_5644.JPG
         618. BELL0003101, IMG_5590.JPG
         619. BELL0003102, IMG_5592.JPG
         620. BELL0003103, IMG_5601.JPG
         621. BELL0003104, IMG_5594.JPG
         622. BELL0003105, IMG_5600.JPG
         623. BELL0003106, IMG_5593.JPG
         624. BELL0003107, IMG_5598.JPG
         625. BELL0003108, IMG_5596.JPG
         626. BELL0003109, IMG_5656.JPG
         627. BELL0003110, IMG_5595.JPG
         628. BELL0003111, IMG_5548.JPG
         629. BELL0003112, IMG_5546.JPG
         630. BELL0003113, IMG_5545.JPG
         631. BELL0003114, IMG_5544.JPG
         632. BELL0003115, IMG_5547.JPG
         633. BELL0003116, IMG_5540.JPG
         634. BELL0003117, IMG_5541.JPG
         635. BELL0003118, IMG_5543.JPG
         636. BELL0003119, IMG_5539.JPG
         637. BELL0003120, IMG_5538.JPG
         638. BELL0003121, IMG_5535.JPG
         639. BELL0003122, IMG_5537.JPG


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         640. BELL0003123, IMG_5536.JPG
         641. BELL0003124, IMG_5638.JPG
         642. BELL0003125, IMG_5641.JPG
         643. BELL0003126, IMG_5642.JPG
         644. BELL0003127, IMG_5635.JPG
         645. BELL0003128, IMG_5639.JPG
         646. BELL0003129, IMG_5640.JPG
         647. BELL0003130, IMG_5631.JPG
         648. BELL0003131, IMG_5623.JPG
         649. BELL0003132, IMG_5637.JPG
         650. BELL0003133, IMG_5624.JPG
         651. BELL0003134, IMG_5622.JPG
         652. BELL0003135, IMG_5629.JPG
         653. BELL0003136, IMG_5627.JPG
         654. BELL0003137, IMG_5625.JPG
         655. BELL0003138, IMG_5621.JPG
         656. BELL0003139, IMG_5630.JPG
         657. BELL0003140, IMG_5626.JPG
         658. BELL0003141, IMG_5628.JPG
         659. BELL0003142, IMG_5557.JPG
         660. BELL0003143, IMG_5562.JPG
         661. BELL0003144, IMG_5561.JPG
         662. BELL0003145, IMG_5563.JPG
         663. BELL0003146, IMG_5556.JPG
         664. BELL0003147, IMG_5560.JPG
         665. BELL0003148, IMG_5558.JPG
         666. BELL0003149, IMG_5559.JPG
         667. BELL0003150, IMG_5570.JPG
         668. BELL0003151, IMG_5571.JPG
         669. BELL0003152, IMG_5569.JPG
         670. BELL0003153, IMG_5568.JPG
         671. BELL0003154, IMG_5576.JPG
         672. BELL0003155, IMG_5572.JPG
         673. BELL0003156, IMG_5566.JPG
         674. BELL0003157, IMG_5567.JPG
         675. BELL0003158, IMG_5564.JPG
         676. BELL0003159, IMG_5565.JPG
         677. BELL0003358, 2016 01 01 Year Projections.xlsm
         678. BELL0003160, IMG_5673.JPG
         679. BELL0003161, IMG_5675.JPG
         680. BELL0003162, IMG_5676.JPG
         681. BELL0003163, IMG_5672.JPG
         682. BELL0003164, IMG_5674.JPG
         683. BELL0003165, IMG_5671.JPG
         684. BELL0003166, IMG_5665.JPG
         685. BELL0003167, IMG_5668.JPG
         686. BELL0003168, IMG_5669.JPG
         687. BELL0003169, IMG_5661.JPG
         688. BELL0003170, IMG_5670.JPG
         689. BELL0003171, IMG_5667.JPG
         690. BELL0003172, IMG_5589.JPG
         691. BELL0003173, IMG_5585.JPG


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         692. BELL0003174, IMG_5584.JPG
         693. BELL0003175, IMG_5582.JPG
         694. BELL0003176, IMG_5588.JPG
         695. BELL0003177, IMG_5579.JPG
         696. BELL0003178, IMG_5586.JPG
         697. BELL0003179, IMG_5587.JPG
         698. BELL0003180, IMG_5581.JPG
         699. BELL0003181, IMG_5583.JPG
         700. BELL0003182, IMG_5578.JPG
         701. BELL0003183, IMG_5577.JPG
         702. BELL0003359, IMG_20160815_0001_NEW.pdf
         703. BELL0003184, IMG_5580.JPG
         704. BELL0003360 - BELL0003362, 2015 11 21 Diesel Receipts.pdf
         705. BELL0003363 - BELL0003370, Maintenance Receipts.pdf
         706. BELL0003371, 1- Fish Sales Journal as of January 1, 2014.xls
         707. BELL0003372, 2015 10 24 Bell Aquaculture LLC Insurance Claim - Expense Reconciliation
             Schedule v 1.0 ljb 10-28-2015.xlsx
         708. BELL0003373, 2015 11 Balance Sheet.xlsx
         709. BELL0003374, Bell -HARVEST SELECT Inventory for Feburay and March 2015.xlsx
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             Reports'
         1111. QGA0002422 - QGA0002423, FW: Lauras Numbers 2015.xlsx
         1112. QGA0002429 - QGA0002429, Laura Baldwin has downloaded a file from the folder 'Income
             Statements'
         1113. QGA0002430 - QGA0002437, Ed Gleason has downloaded files from the folder 'Expenses'
         1114. QGA0002438 - QGA0002440, Linda Wood has downloaded files from the folder '1 - Taxes'
         1115. QGA0002441 - QGA0002442, FW: IMMEDIATE RELEASE
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             Schedule'
         1120. QGA0002453 - QGA0002453, Joe Lothschutz has downloaded files from the folder 'Property Claim
             Schedule'
         1121. QGA0002454 - QGA0002454, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1122. QGA0002455 - QGA0002455, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1123. QGA0002456 - QGA0002456, Steve Smith has downloaded files from the folder 'Utilities'
         1124. QGA0002457 - QGA0002457, Steve Smith has downloaded files from the folder 'Sales'
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             Schedule'



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             Schedule'
         1132. QGA0002466 - QGA0002466, Laura Baldwin has downloaded a file from the folder 'Reports'
         1133. QGA0002467 - QGA0002467, Laura Baldwin has downloaded a file from the folder 'Reports'
         1134. QGA0002468 - QGA0002468, Ed Gleason has downloaded a file from the folder 'Utilities'
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         1136. QGA0002470 - QGA0002470, Linda Wood has downloaded a file from the folder '8 - Monthly
             Sales by Customer'
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         1138. QGA0002472 - QGA0002472, Ed Gleason has downloaded a file from the folder 'Expenses'
         1139. QGA0002473 - QGA0002473, Steve Smith has downloaded a file from the folder 'Utilities'
         1140. QGA0002474 - QGA0002474, Steve Smith has downloaded a file from the folder 'Inventory'
         1141. QGA0002475 - QGA0002475, Steve Smith has downloaded a file from the folder 'Income
             Statements'
         1142. QGA0002476 - QGA0002476, Joe Lothschutz has downloaded a file from the folder 'Income
             Statements'
         1143. QGA0002477 - QGA0002477, Joe Lothschutz has downloaded files from the folder 'Inventory'
         1144. QGA0002478 - QGA0002478, Laura Baldwin has downloaded a file from the folder 'Income
             Statements'
         1145. QGA0002479 - QGA0002479, Joe Lothschutz has downloaded a file from the folder 'Income
             Statements'
         1146. QGA0002480 - QGA0002480, Joe Lothschutz has downloaded a file from the folder 'Income
             Statements'
         1147. QGA0002481 - QGA0002481, Joe Lothschutz has downloaded files from the folder 'Monthly
             Reports'
         1148. QGA0002482 - QGA0002482, Steve Smith has downloaded a file from the folder 'Processing'
         1149. QGA0002483 - QGA0002483, Steve Smith has downloaded a file from the folder 'Monthly Reports'
         1150. QGA0002484 - QGA0002484, Steve Smith has downloaded a file from the folder 'Monthly Reports'
         1151. QGA0002485 - QGA0002485, Steve Smith has downloaded a file from the folder 'Fish Farm'
         1152. QGA0002486 - QGA0002486, Steve Smith has downloaded a file from the folder 'Processing'
         1153. QGA0002487 - QGA0002487, Steve Smith has downloaded a file from the folder 'Inventory'
         1154. QGA0002488 - QGA0002488, Steve Smith has downloaded a file from the folder 'Inventory'
         1155. QGA0002489 - QGA0002489, Steve Smith has downloaded a file from the folder 'Inventory'
         1156. QGA0002490 - QGA0002490, Steve Smith has downloaded a file from the folder 'Inventory'
         1157. QGA0002491 - QGA0002491, Steve Smith has downloaded a file from the folder 'Fish Farm'
         1158. QGA0002492 - QGA0002492, Timothy Call has downloaded a file from the folder 'Processing'
         1159. QGA0002493 - QGA0002493, Steve Smith has downloaded a file from the folder 'Inventory'
         1160. QGA0002494 - QGA0002494, Steve Smith has downloaded a file from the folder 'Inventory'
         1161. QGA0002495 - QGA0002495, Steve Smith has downloaded a file from the folder 'Inventory'
         1162. QGA0002496 - QGA0002496, Timothy Call has downloaded a file from the folder 'Inventory'
         1163. QGA0002497 - QGA0002497, Timothy Call has downloaded a file from the folder 'Inventory'
         1164. QGA0002498 - QGA0002498, Timothy Call has downloaded a file from the folder 'Income
             Statements'
         1165. QGA0002499 - QGA0002499, Ed Gleason has downloaded a file from the folder 'Correspondence'
         1166. QGA0002500 - QGA0002500, Joe Lothschutz has downloaded a file from the folder 'Income
             Statements'
         1167. QGA0002501 - QGA0002501, Joe Lothschutz has downloaded files from the folder 'RFI
             Responses'
         1168. QGA0002502 - QGA0002502, Ed Gleason has downloaded a file from the folder 'Processing'
         1169. QGA0002503 - QGA0002503, Ed Gleason has downloaded a file from the folder 'Inventory'
         1170. QGA0002504 - QGA0002504, Ed Gleason has downloaded a file from the folder 'Inventory'


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         1171. QGA0002505 -QGA0002505,
                            QGA0002505,Ed
                                        EdGleason
                                           Gleasonhas
                                                   hasdownloaded
                                                        downloaded aa file
                                                                       file from
                                                                             from the
                                                                                    the folder
                                                                                         folder 'Inventory'
         1172. QGA0002506 -QGA0002506,
                            QGA0002506,Ed
                                        EdGleason
                                           Gleasonhas
                                                   hasdownloaded
                                                        downloaded aa file
                                                                       file from
                                                                             from the
                                                                                    the folder
                                                                                         folder 'Inventory'
         1173. QGA0002507 -QGA0002507,
                            QGA0002507,Joe
                                        JoeLothschutz
                                            Lothschutzhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder
                                                                                             folder 'Processing'
         1174. QGA0002508 -QGA0002508,
                            QGA0002508,Joe
                                        JoeLothschutz
                                            Lothschutzhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder 'Production
             Reports'
         1175. QGA0002509 -QGA0002509,
                            QGA0002509,Joe
                                        JoeLothschutz
                                            Lothschutzhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the folder 'Monthly
             Reports'
         1176. QGA0002510 -QGA0002510,
                            QGA0002510,Joe
                                        JoeLothschutz
                                            Lothschutzhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder
                                                                                             folder 'Daily Reports'
         1177. QGA0002511 -QGA0002511,
                            QGA0002511,Joe
                                        JoeLothschutz
                                            Lothschutzhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder
                                                                                             folder 'Daily Reports'
         1178. QGA0002512 -QGA0002512,
                            QGA0002512,Timothy
                                        TimothyCall
                                                 Callhas
                                                      hasdownloaded
                                                          downloaded aa file
                                                                          file from
                                                                                from the
                                                                                      the folder 'Income
             Statements'
         1179. QGA0002513 -QGA0002513,
                            QGA0002513,Timothy
                                        TimothyCall
                                                 Callhas
                                                      hasdownloaded
                                                          downloaded aa file
                                                                          file from
                                                                                from the
                                                                                      the folder 'Income
             Statements'
         1180. QGA0002514 -QGA0002514,
                            QGA0002514,Timothy
                                        TimothyCall
                                                 Callhas
                                                      hasdownloaded
                                                          downloaded aa file
                                                                          file from
                                                                                from the
                                                                                      the folder 'Expenses'
         1181. QGA0002515 -QGA0002515,
                            QGA0002515,Timothy
                                        TimothyCall
                                                 Callhas
                                                      hasdownloaded
                                                          downloaded aa file
                                                                          file from
                                                                                from the
                                                                                      the folder 'Expenses'
         1182. QGA0002516 -QGA0002516,
                            QGA0002516,Timothy
                                        TimothyCall
                                                 Callhas
                                                      hasdownloaded
                                                          downloaded aa file
                                                                          file from
                                                                                from the
                                                                                      the folder 'Expenses'
         1183. QGA0002517 -QGA0002517,
                            QGA0002517,Timothy
                                        TimothyCall
                                                 Callhas
                                                      hasdownloaded
                                                          downloaded aa file
                                                                          file from
                                                                                from the
                                                                                      the folder 'Expenses'
         1184. QGA0002518 -QGA0002518,
                            QGA0002518,Timothy
                                        TimothyCall
                                                 Callhas
                                                      hasdownloaded
                                                          downloaded aa file
                                                                          file from
                                                                                from the
                                                                                      the folder 'Expenses'
         1185. QGA0002519 -QGA0002519,
                            QGA0002519,Timothy
                                        TimothyCall
                                                 Callhas
                                                      hasdownloaded
                                                          downloaded aa file
                                                                          file from
                                                                                from the
                                                                                      the folder 'Expenses'
         1186. QGA0002520 -QGA0002520,
                            QGA0002520,Timothy
                                        TimothyCall
                                                 Callhas
                                                      hasdownloaded
                                                          downloaded aa file
                                                                          file from
                                                                                from the
                                                                                      the folder 'Expenses'
         1187. QGA0002521 -QGA0002521,
                            QGA0002521,Timothy
                                        TimothyCall
                                                 Callhas
                                                      hasdownloaded
                                                          downloaded aa file
                                                                          file from
                                                                                from the
                                                                                      the folder 'Expenses'
         1188. QGA0002522 -QGA0002522,
                            QGA0002522,Timothy
                                        TimothyCall
                                                 Callhas
                                                      hasdownloaded
                                                          downloaded aa file
                                                                          file from
                                                                                from the
                                                                                      the folder 'Expenses'
         1189. QGA0002523 -QGA0002523,
                            QGA0002523,Timothy
                                        TimothyCall
                                                 Callhas
                                                      hasdownloaded
                                                          downloaded aa file
                                                                          file from
                                                                                from the
                                                                                      the folder 'Expenses'
         1190. QGA0002524 -QGA0002524,
                            QGA0002524,Joe
                                        JoeLothschutz
                                            Lothschutzhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder 'Reports'
         1191. QGA0002525 -QGA0002525,
                            QGA0002525,Joe
                                        JoeLothschutz
                                            Lothschutzhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder 'Reports'
         1192. QGA0002526 -QGA0002526,
                            QGA0002526,Laura
                                        LauraBaldwin
                                              Baldwinhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder 'Income
             Statements'
         1193. QGA0002527 -QGA0002527,
                            QGA0002527,Laura
                                        LauraBaldwin
                                              Baldwinhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder 'Income
             Statements'
         1194. QGA0002528 -QGA0002528,
                            QGA0002528,Laura
                                        LauraBaldwin
                                              Baldwinhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder 'Income
             Statements'
         1195. QGA0002529 -QGA0002529,
                            QGA0002529,Laura
                                        LauraBaldwin
                                              Baldwinhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder 'Income
             Statements'
         1196. QGA0002530 -QGA0002530,
                            QGA0002530,Laura
                                        LauraBaldwin
                                              Baldwinhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder 'Income
             Statements'
         1197. QGA0002531 -QGA0002531,
                            QGA0002531,Laura
                                        LauraBaldwin
                                              Baldwinhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder 'Income
             Statements'
         1198. QGA0002532 -QGA0002532,
                            QGA0002532,Laura
                                        LauraBaldwin
                                              Baldwinhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder 'Income
             Statements'
         1199. QGA0002533 -QGA0002533,
                            QGA0002533,Ed
                                        EdGleason
                                           Gleasonhas
                                                   hasdownloaded
                                                        downloaded aa file
                                                                       file from
                                                                             from the
                                                                                    the folder
                                                                                         folder 'Processing'
         1200. QGA0002534 -QGA0002534,
                            QGA0002534,Ed
                                        EdGleason
                                           Gleasonhas
                                                   hasdownloaded
                                                        downloaded aa file
                                                                       file from
                                                                             from the
                                                                                    the folder
                                                                                        folder 'Fish Farm'
         1201. QGA0002535 -QGA0002535,
                            QGA0002535,Ed
                                        EdGleason
                                           Gleasonhas
                                                   hasdownloaded
                                                        downloaded aa file
                                                                       file from
                                                                             from the
                                                                                    the folder
                                                                                         folder 'Fish Farm'
         1202. QGA0002536 -QGA0002536,
                            QGA0002536,Ed
                                        EdGleason
                                           Gleasonhas
                                                   hasdownloaded
                                                        downloaded aa file
                                                                       file from
                                                                             from the
                                                                                    the folder
                                                                                         folder 'Expenses'
         1203. QGA0002537 -QGA0002537,
                            QGA0002537,Joe
                                        JoeLothschutz
                                            Lothschutzhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder 'Income
             Statements'
         1204. QGA0002538 -QGA0002538,
                            QGA0002538,Joe
                                        JoeLothschutz
                                            Lothschutzhas
                                                       hasdownloaded
                                                           downloaded aa file
                                                                            file from
                                                                                  from the
                                                                                        the folder 'Income
             Statements'
         1205. QGA0002539 -QGA0002539,
                            QGA0002539,Steve
                                        SteveSmith
                                              Smithhas
                                                    hasdownloaded
                                                         downloaded aa file
                                                                        file from
                                                                              from the
                                                                                     the folder 'Income
             Statements'
         1206. QGA0002540 - QGA0002540, Joe Lothschutz has downloaded a file from the folder 'Income
             Statements'



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         1207. QGA0002541 - QGA0002541, Steve Smith has downloaded a file from the folder 'Income
             Statements'
         1208. QGA0002542 - QGA0002542, Joe Lothschutz has downloaded a file from the folder 'Income
             Statements'
         1209. QGA0002543 - QGA0002543, Steve Smith has downloaded a file from the folder 'Reports'
         1210. QGA0002544 - QGA0002544, Steve Smith has downloaded a file from the folder 'Monthly Reports'
         1211. QGA0002545 - QGA0002545, Steve Smith has downloaded a file from the folder 'Fish Farm'
         1212. QGA0002546 - QGA0002546, Steve Smith has downloaded a file from the folder 'Income
             Statements'
         1213. QGA0002547 - QGA0002547, Steve Smith has downloaded a file from the folder 'Income
             Statements'
         1214. QGA0002548 - QGA0002549, Joe Lothschutz has downloaded files from the folder 'RFI
             Responses'
         1215. QGA0002550 - QGA0002550, Steve Smith has downloaded a file from the folder 'Income
             Statements'
         1216. QGA0002551 - QGA0002551, Steve Smith has downloaded a file from the folder 'Fish Farm'
         1217. QGA0002552 - QGA0002552, Steve Smith has downloaded a file from the folder 'Correspondence'
         1218. QGA0002553 - QGA0002553, Steve Smith has downloaded a file from the folder 'Reports'
         1219. QGA0002554 - QGA0002554, Steve Smith has downloaded a file from the folder 'Reports'
         1220. QGA0002555 - QGA0002555, Steve Smith has downloaded a file from the folder 'Utilities'
         1221. QGA0002556 - QGA0002556, Joe Lothschutz has downloaded a file from the folder 'Processing'
         1222. QGA0002606 - QGA0002606, You have a new message from WALWORTH NAYH ,6165751122.
         1223. QGA0002608 - QGA0002608, You have a new message from WALWORTH NAYH ,6165751122.
         1224. QGA0002610 - QGA0002614, RE: Bell Aquaculture - Telephone Conference
         1225. QGA0002615 - QGA0002616, RE: Bell Aquaculture - Telephone Conference
         1226. QGA0002617 - QGA0002618, Bell Aquaculture - Telephone Conference
         1227. QGA0002619 - QGA0002620, Bell Aquaculture - Outstanding Items
         1228. QGA0002621 - QGA0002623, RE: Bell Aquaculture, LLC - HSB Claim No. 000435743
         1229. QGA0002624 - QGA0002625, RE: Bell Aquaculture, LLC - HSB Claim No. 000435743
         1230. QGA0002626 - QGA0002627, Bell Aquaculture, LLC - HSB Claim No. 000435743
         1231. QGA0002733 - QGA0002734, FW: Bell - draft letter
         1232. QGA0002740 - QGA0002741, RE: Bell Aquaculture
         1233. QGA0002747 - QGA0002752, RE: Bell Aquaculture - Telephone Conference
         1234. QGA0002753 - QGA0002758, RE: Bell Aquaculture - Telephone Conference
         1235. QGA0002759 - QGA0002761, RE: Bell Aquaculture - Telephone Conference
         1236. QGA0002807 - QGA0002809, RE: Bell Aquaculture, LLC - HSB Claim No. 000435743
         1237. QGA0002810 - QGA0002811, FW: Bell Aquaculture, LLC - HSB Claim No. 000435743
         1238. QGA0002812 - QGA0002812, Bell Aquaculture, LLC - HSB Claim No. 000435743
         1239. QGA0002818 - QGA0002825, RE: Bell Aquaculture - Telephone Conference
         1240. QGA0002858 - QGA0002864, RE: Bell Aquaculture - Telephone Conference
         1241. QGA0002873 - QGA0002873, Steve Smith has downloaded a file from the folder 'BI Claim'
         1242. QGA0002874 - QGA0002874, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1243. QGA0002875 - QGA0002875, Steve Smith has downloaded a file from the folder 'BI Claim'
         1244. QGA0002876 - QGA0002876, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1245. QGA0002877 - QGA0002877, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1246. QGA0002878 - QGA0002878, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1247. QGA0002879 - QGA0002879, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1248. QGA0002880 - QGA0002880, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1249. QGA0002881 - QGA0002881, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1250. QGA0002882 - QGA0002882, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1251. QGA0002883 - QGA0002883, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1252. QGA0002884 - QGA0002884, Steve Smith has downloaded a file from the folder 'BI Claim'


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         1253. QGA0002885 - QGA0002885, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1254. QGA0002886 - QGA0002886, Steve Smith has downloaded a file from the folder 'BI Claim'
         1255. QGA0002887 - QGA0002887, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1256. QGA0002888 - QGA0002888, Timothy Call has downloaded files from the folder 'Production
             Reports'
         1257. QGA0002889 - QGA0002889, Timothy Call has downloaded a file from the folder 'Property Claim
             Schedule'
         1258. QGA0002890 - QGA0002890, Timothy Call has downloaded files from the folder 'BPP Claim'
         1259. QGA0002891 - QGA0002891, Timothy Call has downloaded a file from the folder 'Property Claim
             Schedule'
         1260. QGA0002892 - QGA0002892, Timothy Call has downloaded a file from the folder 'Income
             Statements'
         1261. QGA0002893 - QGA0002893, Timothy Call has downloaded a file from the folder 'BI Claim'
         1262. QGA0002894 - QGA0002894, Timothy Call has downloaded files from the folder 'BI Claim'
         1263. QGA0002895 - QGA0002895, Timothy Call has downloaded a file from the folder 'BI Claim'
         1264. QGA0002896 - QGA0002896, Timothy Call has downloaded a file from the folder 'BI Claim'
         1265. QGA0002897 - QGA0002897, Mark Smith has downloaded files from the folder 'BI Claim'
         1266. QGA0002898 - QGA0002898, Mark Smith has downloaded files from the folder 'BI Claim'
         1267. QGA0002899 - QGA0002899, Mark Smith has downloaded files from the folder 'BI Claim'
         1268. QGA0002900 - QGA0002900, Ed Gleason has downloaded files from the folder 'BPP Claim'
         1269. QGA0002901 - QGA0002901, Ed Gleason has downloaded files from the folder 'Production
             Reports'
         1270. QGA0002902 - QGA0002902, Ed Gleason has downloaded a file from the folder 'Property Claim
             Schedule'
         1271. QGA0002903 - QGA0002903, Ed Gleason has downloaded a file from the folder 'Property Claim
             Schedule'
         1272. QGA0002904 - QGA0002904, Ed Gleason has downloaded files from the folder 'BI Claim'
         1273. QGA0002905 - QGA0002905, Ed Gleason has downloaded a file from the folder 'Income
             Statements'
         1274. QGA0002906 - QGA0002906, Steve Smith has downloaded a file from the folder 'BI Claim'
         1275. QGA0002907 - QGA0002907, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1276. QGA0002908 - QGA0002908, Steve Smith has downloaded a file from the folder 'BI Claim'
         1277. QGA0002909 - QGA0002909, Joe Lothschutz has downloaded files from the folder 'Production
             Reports'
         1278. QGA0002910 - QGA0002910, Joe Lothschutz has downloaded a file from the folder 'Income
             Statements'
         1279. QGA0002911 - QGA0002911, Joe Lothschutz has downloaded files from the folder 'Property Claim
             Schedule'
         1280. QGA0002912 - QGA0002912, Joe Lothschutz has downloaded files from the folder 'Insurer
             Exchange'
         1281. QGA0002913 - QGA0002913, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1282. QGA0002914 - QGA0002914, Laura Baldwin has downloaded a file from the folder 'Expenses'
         1283. QGA0002915 - QGA0002915, Laura Baldwin has downloaded a file from the folder 'Expenses'
         1284. QGA0002916 - QGA0002916, Laura Baldwin has downloaded a file from the folder 'Expenses'
         1285. QGA0002917 - QGA0002917, Joe Lothschutz has downloaded a file from the folder 'Workpapers
             from Accountant'
         1286. QGA0002918 - QGA0002918, Joe Lothschutz has downloaded a file from the folder 'Financials'
         1287. QGA0002919 - QGA0002919, Steve Smith has downloaded a file from the folder 'Fish Sales
             Journal 2014'
         1288. QGA0002920 - QGA0002920, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'


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         1289. QGA0002921 - QGA0002921, Steve Smith has downloaded a file from the folder 'Workpapers
             from Accountant'
         1290. QGA0002922 - QGA0002922, Ed Gleason has downloaded a file from the folder 'Workpapers from
             Accountant'
         1291. QGA0002923 - QGA0002923, Ed Gleason has downloaded a file from the folder 'Workpapers from
             Accountant'
         1292. QGA0002924 - QGA0002924, Ed Gleason has downloaded a file from the folder 'Fish Sales Journal
             2014'
         1293. QGA0002925 - QGA0002925, Joe Lothschutz has downloaded files from the folder 'Processing'
         1294. QGA0002926 - QGA0002926, Joe Lothschutz has downloaded files from the folder 'Financials'
         1295. QGA0002927 - QGA0002927, Timothy Call has downloaded files from the folder 'Property Claim
             Schedule'
         1296. QGA0002928 - QGA0002928, Timothy Call has downloaded files from the folder 'RFI Responses'
         1297. QGA0002929 - QGA0002929, Joe Lothschutz has downloaded a file from the folder 'Processing'
         1298. QGA0002930 - QGA0002930, Timothy Call has downloaded a file from the folder 'Property Claim
             Schedule'
         1299. QGA0002931 - QGA0002931, Timothy Call has downloaded a file from the folder 'Processing'
         1300. QGA0002932 - QGA0002932, Timothy Call has downloaded a file from the folder 'Income
             Statements'
         1301. QGA0002933 - QGA0002933, Timothy Call has downloaded a file from the folder 'Property Claim
             Schedule'
         1302. QGA0002934 - QGA0002935, Linda Wood has downloaded files from the folder 'RFI - Westfield'
         1303. QGA0002936 - QGA0002936, Linda Wood has downloaded a file from the folder 'Property Claim
             Schedule'
         1304. QGA0002937 - QGA0002942, RE: Bell Aquaculture, LLC - HSB Claim No. 000435743
         1305. QGA0002943 - QGA0002943, Ed Gleason has downloaded a file from the folder 'Utilities'
         1306. QGA0002944 - QGA0002944, Ed Gleason has downloaded a file from the folder 'Utilities'
         1307. QGA0002945 - QGA0002945, Ed Gleason has downloaded a file from the folder 'Utilities'
         1308. QGA0002946 - QGA0002946, Ed Gleason has downloaded a file from the folder 'Utilities'
         1309. QGA0002947 - QGA0002947, Ed Gleason has downloaded a file from the folder 'Utilities'
         1310. QGA0002948 - QGA0002948, Ed Gleason has downloaded a file from the folder 'Expenses'
         1311. QGA0002949 - QGA0002949, Ed Gleason has downloaded a file from the folder 'Correspondence'
         1312. QGA0002950 - QGA0002950, Ed Gleason has downloaded a file from the folder 'Processing'
         1313. QGA0002951 - QGA0002951, Joe Lothschutz has downloaded a file from the folder 'Processing'
         1314. QGA0002952 - QGA0002952, Laura Baldwin has downloaded a file from the folder 'Inventory'
         1315. QGA0002953 - QGA0002953, Laura Baldwin has downloaded a file from the folder 'Inventory'
         1316. QGA0002954 - QGA0002954, Laura Baldwin has downloaded a file from the folder 'Reports'
         1317. QGA0002955 - QGA0002955, Joe Lothschutz has downloaded files from the folder 'Payroll'
         1318. QGA0002956 - QGA0002956, Joe Lothschutz has downloaded files from the folder 'Fish Farm'
         1319. QGA0002957 - QGA0002957, Joe Lothschutz has downloaded a file from the folder 'Daily Reports'
         1320. QGA0002958 - QGA0002958, Joe Lothschutz has downloaded a file from the folder 'Monthly
             Reports'
         1321. QGA0002959 - QGA0002959, Joe Lothschutz has downloaded a file from the folder 'Reports'
         1322. QGA0002960 - QGA0002960, Joe Lothschutz has downloaded files from the folder
             'Correspondence'
         1323. QGA0002961 - QGA0002961, Joe Lothschutz has downloaded a file from the folder 'Financials'
         1324. QGA0002962 - QGA0002962, Joe Lothschutz has downloaded a file from the folder 'Processing'
         1325. QGA0002963 - QGA0002963, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1326. QGA0002964 - QGA0002964, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1327. QGA0002965 - QGA0002965, Steve Smith has downloaded a file from the folder 'BPP Claim'



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         1328. QGA0002966 - QGA0002966, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1329. QGA0002967 - QGA0002967, Steve Smith has downloaded a file from the folder 'BI Claim'
         1330. QGA0002968 - QGA0002968, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1331. QGA0002969 - QGA0002969, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1332. QGA0002970 - QGA0002970, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1333. QGA0002971 - QGA0002971, Joe Lothschutz has downloaded a file from the folder 'BPP Claim'
         1334. QGA0002972 - QGA0002972, Ed Gleason has downloaded a file from the folder 'Correspondence'
         1335. QGA0002973 - QGA0002973, Joe Lothschutz has downloaded a file from the folder 'Property
             Claim Schedule'
         1336. QGA0002974 - QGA0002974, Joe Lothschutz has downloaded a file from the folder 'BPP Claim'
         1337. QGA0002975 - QGA0002975, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1338. QGA0002976 - QGA0002976, Steve Smith has downloaded a file from the folder 'BI Claim'
         1339. QGA0002977 - QGA0002977, Steve Smith has downloaded a file from the folder 'BI Claim'
         1340. QGA0002978 - QGA0002978, Steve Smith has downloaded a file from the folder 'BI Claim'
         1341. QGA0002979 - QGA0002979, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1342. QGA0002980 - QGA0002980, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1343. QGA0002981 - QGA0002981, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1344. QGA0002982 - QGA0002982, Steve Smith has downloaded a file from the folder 'Expenses'
         1345. QGA0002983 - QGA0002983, Steve Smith has downloaded a file from the folder 'Expenses'
         1346. QGA0002984 - QGA0002984, Steve Smith has downloaded a file from the folder 'Expenses'
         1347. QGA0002985 - QGA0002985, Steve Smith has downloaded a file from the folder 'Expenses'
         1348. QGA0002986 - QGA0002986, Steve Smith has downloaded a file from the folder 'Expenses'
         1349. QGA0002987 - QGA0002987, Steve Smith has downloaded a file from the folder 'Expenses'
         1350. QGA0002988 - QGA0002988, Steve Smith has downloaded a file from the folder 'Expenses'
         1351. QGA0002989 - QGA0002989, Steve Smith has downloaded a file from the folder 'Expenses'
         1352. QGA0002990 - QGA0002990, Steve Smith has downloaded a file from the folder 'Expenses'
         1353. QGA0002991 - QGA0002991, Steve Smith has downloaded a file from the folder 'Expenses'
         1354. QGA0002992 - QGA0002992, Steve Smith has downloaded a file from the folder 'Expenses'
         1355. QGA0002993 - QGA0002993, Steve Smith has downloaded a file from the folder 'Expenses'
         1356. QGA0002994 - QGA0002994, Steve Smith has downloaded a file from the folder 'Expenses'
         1357. QGA0002995 - QGA0002995, Steve Smith has downloaded a file from the folder 'Expenses'
         1358. QGA0002996 - QGA0002996, Steve Smith has downloaded a file from the folder '05 May'
         1359. QGA0002997 - QGA0002999, Steve Smith has downloaded files from the folder 'Payroll'
         1360. QGA0003000 - QGA0003000, Steve Smith has downloaded a file from the folder 'Payroll'
         1361. QGA0003001 - QGA0003001, Steve Smith has downloaded a file from the folder 'Utilities'
         1362. QGA0003002 - QGA0003002, Steve Smith has downloaded a file from the folder 'Utilities'
         1363. QGA0003003 - QGA0003003, Steve Smith has downloaded a file from the folder 'Utilities'
         1364. QGA0003004 - QGA0003004, Steve Smith has downloaded a file from the folder 'Utilities'
         1365. QGA0003005 - QGA0003005, Steve Smith has downloaded a file from the folder 'Utilities'
         1366. QGA0003006 - QGA0003006, Steve Smith has downloaded files from the folder 'Utilities'
         1367. QGA0003007 - QGA0003007, Steve Smith has downloaded a file from the folder 'Utilities'
         1368. QGA0003008 - QGA0003008, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1369. QGA0003009 - QGA0003009, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'


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         1370. QGA0003010 - QGA0003010, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1371. QGA0003011 - QGA0003011, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1372. QGA0003012 - QGA0003012, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1373. QGA0003013 - QGA0003013, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1374. QGA0003014 - QGA0003014, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1375. QGA0003015 - QGA0003015, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1376. QGA0003016 - QGA0003016, Ed Gleason has downloaded a file from the folder 'Production
             Summaries (Laura's Numbers)'
         1377. QGA0003017 - QGA0003017, Ed Gleason has downloaded a file from the folder 'Production
             Summaries (Laura's Numbers)'
         1378. QGA0003018 - QGA0003018, Ed Gleason has downloaded a file from the folder 'Production
             Summaries (Laura's Numbers)'
         1379. QGA0003019 - QGA0003019, Ed Gleason has downloaded a file from the folder 'Utilities'
         1380. QGA0003020 - QGA0003020, Ed Gleason has downloaded a file from the folder 'Reports'
         1381. QGA0003021 - QGA0003021, Ed Gleason has downloaded a file from the folder 'Reports'
         1382. QGA0003022 - QGA0003022, Ed Gleason has downloaded a file from the folder 'Correspondence'
         1383. QGA0003023 - QGA0003023, Ed Gleason has downloaded a file from the folder 'Correspondence'
         1384. QGA0003024 - QGA0003024, Ed Gleason has downloaded a file from the folder 'Correspondence'
         1385. QGA0003025 - QGA0003025, Ed Gleason has downloaded a file from the folder 'Correspondence'
         1386. QGA0003026 - QGA0003026, Ed Gleason has downloaded a file from the folder 'Processing'
         1387. QGA0003027 - QGA0003027, Ed Gleason has downloaded a file from the folder 'Production
             Summaries (Laura's Numbers)'
         1388. QGA0003028 - QGA0003028, Ed Gleason has downloaded a file from the folder 'Production
             Summaries (Laura's Numbers)'
         1389. QGA0003029 - QGA0003029, Ed Gleason has downloaded a file from the folder 'Fish Count'
         1390. QGA0003030 - QGA0003030, Ed Gleason has downloaded a file from the folder 'Fish Count'
         1391. QGA0003031 - QGA0003031, Ed Gleason has downloaded a file from the folder '08 August'
         1392. QGA0003032 - QGA0003032, Ed Gleason has downloaded a file from the folder 'Fish Farm'
         1393. QGA0003033 - QGA0003033, Ed Gleason has downloaded a file from the folder 'Fish Farm'
         1394. QGA0003034 - QGA0003034, Ed Gleason has downloaded a file from the folder 'Fish Farm'
         1395. QGA0003035 - QGA0003035, Ed Gleason has downloaded a file from the folder 'Expenses'
         1396. QGA0003036 - QGA0003036, Ed Gleason has downloaded a file from the folder 'Monthly Reports'
         1397. QGA0003037 - QGA0003037, Ed Gleason has downloaded a file from the folder 'Processing'
         1398. QGA0003038 - QGA0003038, Ed Gleason has downloaded files from the folder 'Correspondence'
         1399. QGA0003039 - QGA0003039, Joe Lothschutz has downloaded a file from the folder 'Monthly
             Reports'
         1400. QGA0003040 - QGA0003040, Joe Lothschutz has downloaded a file from the folder
             'Correspondence'
         1401. QGA0003041 - QGA0003041, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1402. QGA0003042 - QGA0003042, Joe Lothschutz has downloaded a file from the folder 'Financials'
         1403. QGA0003047 - QGA0003047, Bell Aquaculture
         1404. QGA0003048 - QGA0003051, RE: Bell Aquaculture WES: 0001576948 HSB: 000435743 My File:
             WES-1146 August 19, 2015
         1405. QGA0003053 - QGA0003056, RE: Bell Aquaculture - Albany, IN (Loss of 7/21/15
         1406. QGA0003057 - QGA0003059, RE: Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1407. QGA0003064 - QGA0003066, Fwd: Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1408. QGA0003074 - QGA0003075, RE: Bell Aquaculture - Albany, IN (Loss of 7/21/15)


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         1409. QGA0003079 - QGA0003080, Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1410. QGA0003081 - QGA0003083, Bell Aquaculture - Outstanding Items
         1411. QGA0003125 - QGA0003126, RE: Bell Aquaculture Request
         1412. QGA0003147 - QGA0003151, RE: Bell Aquaculture, LLC - HSB Claim No. 000435743
         1413. QGA0003168 - QGA0003172, FW: Bell Aquaculture, LLC - HSB Claim No. 000435743
         1414. QGA0006842 - QGA0006847, RE: Bell Aquaculture - Telephone Conference
         1415. QGA0006848 - QGA0006848, Joe Lothschutz has downloaded a file from the folder 'BI Claim'
         1416. QGA0006849 - QGA0006849, Joe Lothschutz has downloaded a file from the folder 'Processing'
         1417. QGA0006850 - QGA0006850, Joe Lothschutz has downloaded files from the folder 'BI Claim'
         1418. QGA0006851 - QGA0006851, Joe Lothschutz has downloaded files from the folder 'Utilities'
         1419. QGA0006852 - QGA0006852, Joe Lothschutz has downloaded files from the folder 'Income
             Statements'
         1420. QGA0006853 - QGA0006853, Steve Smith has downloaded a file from the folder 'BPP Claim'
         1421. QGA0006854 - QGA0006854, Steve Smith has downloaded a file from the folder 'Processing'
         1422. QGA0006855 - QGA0006855, Joe Lothschutz has downloaded a file from the folder 'Processing'
         1423. QGA0006856 - QGA0006856, FW: Bell Aquaculture - 6/1/16 Follow-up letter
         1424. QGA0006863 - QGA0006863, Steve Smith has downloaded a file from the folder 'Fish Farm'
         1425. QGA0006867 - QGA0006868, FW: Bell Aquaculture - HSB Consultant Reports
         1426. QGA0006878 - QGA0006878, Letter Attached- Bell Aquaculture
         1427. QGA0006895 - QGA0006895, Ed Gleason has downloaded files from the folder 'EG Letter'
         1428. QGA0006896 - QGA0006896, Joe Lothschutz has downloaded a file from the folder 'EG Letter'
         1429. QGA0006897 - QGA0006897, Joe Lothschutz has downloaded files from the folder 'EG Letter'
         1430. QGA0006898 - QGA0006898, Steve Smith has downloaded a file from the folder 'EG Letter'
         1431. QGA0006899 - QGA0006899, Steve Smith has downloaded a file from the folder 'EG Letter'
         1432. QGA0006900 - QGA0006900, Steve Smith has downloaded a file from the folder 'EG Letter'
         1433. QGA0006901 - QGA0006901, Ed Gleason has downloaded files from the folder 'EG Letter'
         1434. QGA0006902 - QGA0006902, Joe Lothschutz has downloaded files from the folder 'EG Letter'
         1435. QGA0006903 - QGA0006903, Joe Lothschutz has downloaded files from the folder 'EG Letter'
         1436. QGA0006904 - QGA0006905, FW: Bell Aquaculture, LLC
         1437. QGA0006907 - QGA0006907, Joe Lothschutz has downloaded a file from the folder 'Reports'
         1438. QGA0006908 - QGA0006909, FW: Bell Proof of Loss
         1439. QGA0006913 - QGA0006914, RE: Bell Proof of Loss
         1440. QGA0006915 - QGA0006915, FW: GSP cutting yields data
         1441. QGA0006919 - QGA0006920, Fwd: Foley cutting results
         1442. QGA0006921 - QGA0006921, FW: TROUT PRODUCTION REPORT 2/17/17
         1443. QGA0006923 - QGA0006923, Mark Stephanic has downloaded a file from the folder 'Damages
             Schedule Support'
         1444. QGA0006924 - QGA0006924, Joe Lothschutz has downloaded files from the folder 'Insurer
             Exchange'
         1445. QGA0006925 - QGA0006925,
                               QGA0006925, Steve
                                           Steve Smith
                                                 Smithhas
                                                       hasdownloaded
                                                           downloadedaafile
                                                                        filefrom
                                                                             fromthe
                                                                                  thefolder
                                                                                      folder'2017_02_28
                                                                                              '2017_0228
             Damages Measurement'
         1446. QGA0006926 - QGA0006926,
                               QGA0006926, Steve
                                           Steve Smith
                                                 Smithhas
                                                       hasdownloaded
                                                           downloadedaafile
                                                                        filefrom
                                                                             fromthe
                                                                                  thefolder
                                                                                      folder'2017_02_28
                                                                                              '2017_0228
             Damages Measurement'
         1447. QGA0006927 - QGA0006928,
                               QGA0006928, Steve
                                           Steve Smith
                                                 Smithhas
                                                       hasdownloaded
                                                           downloadedfiles
                                                                      filesfrom
                                                                            fromthe
                                                                                 thefolder
                                                                                     folder'2017_02_28
                                                                                             '2017_0228
             Damages Measurement'
         1448. QGA0006929 - QGA0006931, FW: [EXT] Westfield Insurance Company v. Bell Aquaculture,
             LLC, et. al.
         1449. QGA0006932 - QGA0006935, RE: [EXT] Westfield Insurance Company v. Bell Aquaculture, LLC,
             et. al.
         1450. QGA0006936 - QGA0006936, Joe Lothschutz has downloaded a file from the folder '2017_02_28
             Damages Measurement'



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         1451. QGA0006937 - QGA0006938, Joe Lothschutz has downloaded files from the folder 'BI Supporting
             Documentation'
         1452. QGA0006939 - QGA0006939, Mark Stephanic has downloaded a file from the folder 'BI
             Supporting Documentation'
         1453. QGA0006940 - QGA0006941, Steve Smith has downloaded files from the folder 'BI Supporting
             Documentation'
         1454. QGA0006942 - QGA0006943, Steve Smith has downloaded files from the folder 'BI Supporting
             Documentation'
         1455. QGA0006944 - QGA0006944, Michael Brown has downloaded files from the folder 'Insurer
             Exchange'
         1456. QGA0006945 - QGA0006947, Re: [EXT] RE: Westfield Insurance Company v. Bell Aquaculture,
             LLC, et. al.
         1457. QGA0006948 - QGA0006948, Fwd: [EXT] RE: Westfield Insurance Company v. Bell Aquaculture,
             LLC, et. al.
         1458. QGA0006952 - QGA0006953, FW: Westfield v. Bell - Quantum narrative/rebuttal
         1459. QGA0006962 - QGA0006963, RE: Westfield v. Bell - Quantum narrative/rebuttal
         1460. QGA0006964 - QGA0006965, Joe Lothschutz has downloaded files from the folder 'BI Supporting
             Documentation'
         1461. QGA0006966 - QGA0006967, RE: Matt Larson Has Created a New Item in ShareFile
         1462. QGA0006968 - QGA0006968, Joe Lothschutz has downloaded a file from the folder 'BI Supporting
             Documentation'
         1463. QGA0006969 - QGA0006971, RE: [EXT] FW: Matt Larson Has Created a New Item in ShareFile
         1464. QGA0006972 - QGA0006974, RE: [EXT] FW: Matt Larson Has Created a New Item in ShareFile
         1465. QGA0006975 - QGA0006975, Michael Brown has downloaded a file from the folder 'BI
             Supporting Documentation'
         1466. QGA0006976 - QGA0006976, Michael Brown has downloaded a file from the folder 'BI
             Supporting Documentation'
         1467. QGA0006977 - QGA0006977, Carol Hibler has shared the folder '32620.0029 Westfield V Bell
             Aqua' with you.
         1468. QGA0006978 - QGA0006978, Carol Hibler has shared the folder '32620.0029 Westfield V Bell
             Aqua' with you.
         1469. QGA0006979 - QGA0006979, Carol Hibler has shared the folder '32620.0029 Westfield V Bell
             Aqua' with you.
         1470. QGA0006980 - QGA0006980, Anne Roebel has shared the folder '32620.0029 Westfield V Bell
             Aqua' with you.
         1471. QGA0006981 - QGA0006981, Carol Hibler has shared the folder '32620.0029 Westfield V Bell
             Aqua' with you.
         1472. QGA0006982 - QGA0006982, FW: [EXT] Westfield Ins. Co. v. Bell Aquaculture, LLC, etc. - Re-
             Service of Westfield Non-Party Subpoena to Quantum
         1473. QGA0007003 - QGA0007003, Carol Hibler has shared the folder '32620.0029 Westfield V Bell
             Aqua' with you.
         1474. QGA0007004 - QGA0007004, Carol Hibler has shared the folder '32620.0029 Westfield V Bell
             Aqua' with you.
         1475. QGA0007005 - QGA0007005, Joe Lothschutz has downloaded a file from the folder 'Financials'
         1476. QGA0007006 - QGA0007006, Steve Smith has downloaded a file from the folder 'Fish Farm'
         1477. QGA0007007 - QGA0007007, Steve Smith has downloaded a file from the folder 'BI Claim'
         1478. QGA0007008 - QGA0007008, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1479. QGA0007009 - QGA0007009, Steve Smith has downloaded a file from the folder 'Property Claim
             Schedule'
         1480. QGA0007010 - QGA0007010, Steve Smith has downloaded a file from the folder 'BPP Claim'



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         1481. QGA0007011 - QGA0007011, Timothy Call has downloaded a file from the folder 'BI Supporting
             Documentation'
         1482. QGA0007012 - QGA0007012, Timothy Call has downloaded a file from the folder 'Damages
             Schedule Support'
         1483. QGA0007013 - QGA0007013, Timothy Call has downloaded a file from the folder 'Feed Ingredient
             Support'
         1484. QGA0007014 - QGA0007014, Timothy Call has downloaded a file from the folder 'Feed Ingredient
             Support'
         1485. QGA0007015 - QGA0007015, Timothy Call has downloaded a file from the folder '2017_02_28
             Damages Measurement'
         1486. QGA0007016 - QGA0007016, Timothy Call has downloaded a file from the folder '2017_02_28
             Damages Measurement'
         1487. QGA0007017 - QGA0007017, Timothy Call has downloaded a file from the folder '2017_02_28
             Damages Measurement'
         1488. QGA0007018 - QGA0007018, Timothy Call has downloaded a file from the folder '2017_02_28
             Damages Measurement'
         1489. QGA0007019 - QGA0007019, Timothy Call has downloaded a file from the folder '2017_02_28
             Damages Measurement'
         1490. QGA0007020 - QGA0007020, Timothy Call has downloaded a file from the folder '2017_02_28
             Damages Measurement'
         1491. QGA0007021 - QGA0007021, Timothy Call has downloaded a file from the folder '2017_02_28
             Damages Measurement'
         1492. QGA0007022 - QGA0007022, Joe Lothschutz has downloaded a file from the folder 'Insurer
             Exchange'
         1493. QGA0007023 - QGA0007027, RE: Bell Aquaculture, LLC - HSB Claim No. 000435743
         1494. QGA0007038 - QGA0007042, FW: Bell Aquaculture, LLC - HSB Claim No. 000435743
         1495. QGA0007050 - QGA0007053, RE: Bell Aquaculture - Albany, IN (Loss of 7/21/15
         1496. QGA0007077 - QGA0007079, Fwd: Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1497. QGA0007083 - QGA0007084, RE: Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1498. QGA0007085 - QGA0007086, Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1499. QGA0007091 - QGA0007091, Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1500. QGA0007092 - QGA0007092, FW: Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1501. QGA0007095 - QGA0007096, FW: Bell Aquaculture - 6/1/16 Follow-up letter
         1502. QGA0007103 - QGA0007103, Bell Aquaculture
         1503. QGA0007104 - QGA0007105, FW: Letter Attached- Bell Aquaculture
         1504. QGA0007120 - QGA0007121, RE: Bell Proof of Loss
         1505. QGA0007122 - QGA0007124, RE: [EXT] Westfield Insurance Company v. Bell Aquaculture, LLC,
             et. al.
         1506. QGA0007125 - QGA0007126, FW: [EXT] RE: Westfield Insurance Company v. Bell Aquaculture,
             LLC, et. al.
         1507. QGA0007130 - QGA0007131, FW: Matt Larson Has Created a New Item in ShareFile
         1508. QGA0007132 - QGA0007134, RE: [EXT] Fwd: 000435743/ Work at Bell Aquaculture, Invoice
             16LA60472
         1509. QGA0007296 - QGA0007296, Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1510. QGA0007297 - QGA0007298, Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1511. QGA0007299 - QGA0007300, Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1512. QGA0007301 - QGA0007302, Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1513. QGA0007303 - QGA0007304, RE: Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1514. QGA0007305 - QGA0007306, Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1515. QGA0007307 - QGA0007308, Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1516. QGA0007309 - QGA0007311, Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1517. QGA0007312 - QGA0007312, You have a new message from WIRELESS CALLER ,9522507771.


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         1518. QGA0007315 - QGA0007315, Re: Bell
         1519. QGA0007316 - QGA0007316, Bell Aquaculture, LLC - HSB Claim No. 000435743
         1520. QGA0007324 - QGA0007325, RE: Introduction
         1521. QGA0007329 - QGA0007329, Re: Call Please
         1522. QGA0007330 - QGA0007330, RE: Call Please
         1523. QGA0007331 - QGA0007331, Bell
         1524. QGA0007332 - QGA0007332, Bell Aqua - Sharefile update
         1525. QGA0007333 - QGA0007335, Bell Aquaculture - Outstanding Items
         1526. QGA0007354 - QGA0007356, Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1527. QGA0007613 - QGA0007613, Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1528. QGA0007614 - QGA0007615, RE: Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1529. QGA0007616 - QGA0007617, RE: Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1530. QGA0007618 - QGA0007619, RE: Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1531. QGA0007620 - QGA0007621, RE: Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1532. QGA0007622 - QGA0007623, RE: Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1533. QGA0007624 - QGA0007625, RE: Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1534. QGA0007626 - QGA0007628, RE: Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1535. QGA0007632 - QGA0007632, Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1536. QGA0007639 - QGA0007639, You have a new message from WIRELESS CALLER ,9522507771.
         1537. QGA0007647 - QGA0007647, You have a new message from WIRELESS CALLER ,9522507771.
         1538. QGA0007649 - QGA0007654, Fwd: [EXT] Westfield Insurance Company v. Bell Aquaculture,
             LLC, et. al.
         1539. QGA0007655 - QGA0007656, FW: [EXT] Fwd: 000435743/ Work at Bell Aquaculture, Invoice
             16LA60472
         1540. QGA0007663 - QGA0007665, RE: Bell Aquaculture - Albany, IN (Loss of 7/21/15)
         1541. QGA0007678 - QGA0007678, Fwd: You have a new message from WIRELESS CALLER
             ,9522507771.
         1542. QGA0007680 - QGA0007686, RE: [EXT] Westfield Insurance Company v. Bell Aquaculture, LLC,
             et. al.
         1543. QGA0007687 - QGA0007688, FW: Joe Lothschutz has downloaded files from the folder 'BI
             Supporting Documentation'
         1544. 30(b)(6) Deposition of Timothy Call, Vol. I March 14, 2018
         1545. 30(b)(6) Deposition of Timothy Call, Vol. II March 15, 2018
         1546. 30(b)(6) Deposition of Robert Davis March 15, 2018
         1547. 30(b)(6) Deposition of Robert Davis, Vol. II March 16, 2018
         1548. 30(b)(6) Deposition of Robert Davis, Vol. III March 28, 2018
         1549. 30(b)(6) Deposition of Steven Smith, Vol. I March 07, 2018
         1550. 30(b)(6) Deposition of Steven Smith, Vol. II March 09, 2018
         1551. salmon-processing-2015-low.pdf
         1552. Salmon Seafood Yields - Chefs Resources.pdf
         1553. Bell Aquaculture to Open New Mill in Albany, Indiana, in Spring of 2014.pdf




                                                                                          Page 35 of 35
                                                                                                                                                                                                                                                                                                                                                                            Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 54 of 90 PageID




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Date of Loss: July 22, 2015
                                                                                                                                                                                                                                                                                                                                                                                                                7326                    Measured Damages


Bell Aquaculture
11550 E Gregory Rd, Albany IN
Date of Loss: July 21, 2015

Measured Costs as of May 17, 2018

                                                                           A                                         B                   C                                                     D                                  E                                                                                                    F                                G                         H                              I               J                K                                              L                          M                 N            O           P                                                                                                                                                                   Q                                                                        R
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 Item                                                           Vendor                  Description                          Category                                                       Service                            Invoice                                                                                               Invoice                       Invoice                    Claim                         Emergency        Building            Total                                     Insurer       Difference                         Amount    Document        Date                                                                                                                                                                Page                                                                  Comments




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   2    Walmart                                                                   Meas cup               Clean-up                                                                           08/14/15                           08/14/15                                                                    26353953523886                                                   16.86                      16.86                              16.86                         -           16.86                             16.86                      -               N/A                                                          N/A                                                          N/A                                                              1
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   3    G&M Pet    PetGarden
                 and    andGarden Pet supplyPet supply            Clean-up                                                                                                                  08/14/15                           08/14/15                                                                        212334                                                       64.16                      64.16                              64.16                         -           64.16                             64.16                      -               N/A                                                          N/A                                                          N/A                                                              1
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                     Inc. Inc.
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   4         Acuacenter,
        Aquacenter,                  Sodium Sothiosulfate                                                                                                                                     N/A                              08/11/15                                                                         119489                                               7,287.00                  7,287.00                                                                 -        7,287.00                        7,287.00                        -               N/A                                                          N/A                                                          N/A                                                              2
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   5         Western
        Western        Chemical,
                 Chemical,  Inc. Inc.Sodium Sothiosulfate          and                                                                                                                        N/A                              09/18/15                                                                      WC-INV0019616                                          10,400.00                 10,400.00                                                                 -       10,400.00                       10,400.00                        -               N/A                                                          N/A                                                          N/A                                                              3
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             ADS Services                   Ammonia    and nitrate




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   6    ADS Services                 Ammonia     and nitrate      Clean-up                                                                                                                    N/A                              08/14/15                                                                                               1362                              545.28                        545.28                          545.28                            -         545.28                             545.28                      -               N/A                                                          N/A                                                          N/A                                                              4




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             E&S Leasing   Trucking,




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                                     Inc. Duracube




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   7    E&S Leasing   Trucking, Inc. Duracube                     Clean-up                                                                                                                    N/A                              08/05/15                                                                         92648           294.98                                                                294.98                          294.98                            -         294.98                             294.98                      -               N/A                                                          N/A                                                          N/A                                                              5




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             E&S Leasing   Trucking,
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   8    E&S Leasing   Trucking,      Inc. Solar
                                Inc. Solar                        Clean-up                                                                                                                    N/A                              08/10/15                                                                         92664           742.35                                                                742.35                          742.35                            -         742.35                             742.35                      -               N/A                                                          N/A                                                          N/A                                                              6
                              Store Sto             ble salad   oilClean-up                                                                                                                      08/19/15                                                                                                      80010600400311




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   9         Gordon
        Gordon        FoodService
                Food Service            re Vegeta
                                     Vegetable   salad  oil                                                                                                                                 08/19/15                           08/19/15                                                                    80010600400311       839.60                                                                839.60                          839.60                            -         839.60                             839.60                      -               N/A                                                          N/A                                                          N/A                                                              7
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  10    HarborHarbor
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                                               Frog kegs




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  12           McSports
        McSports                         Frog toggs   - waders- waders  Clean-up                                                                                                            07/23/15                           07/23/15                                                                                              106279                             564.90                        564.90                          564.90                            -         564.90                             564.90                      -               N/A                                                          N/A                                                          N/A                                                             10
  13    MemphisMemphis
                     Net &Net   & Twine
                            Twine        10'x10'107,10'
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        Inc. Inc.                              corners
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  14                                     Vegetable                      Clean-up                                                                                                            07/23/15                                                                                                                                33.96                                                            33.96                              33.96                           -           33.96                           33.96                        -               N/A                                                          N/A                                                          N/A                                                             12
  15    MinarsMinars                           Ckesupplies
                                         Cleaning    ning supplies Clean-up                                                                                                                      07/24/15
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               USStandard
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  16    US Standard            Products SafetySafety
                         Products                       glasses,
                                                 glasses,   latex latex Clean-up                                                                                                              N/A         07/27/15                                                                                                  NJ0000066158 1,010.74                                                         1,010.74                           1,010.74                           -        1,010.74                        1,010.74                        -               N/A                                                          N/A                                                          N/A                                                             13
                                         glovesgloves   and wipes
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               Natio      Oil&Inc.                                                                                                                                                               09/18/15 09/18/15                                                                                                                        546780
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  17    National    Oilnal
                        & Gas,  Gas, Inc.Diesel                         Diesel                                                                                                              09/18/15                                                                                                                                 546780                          1,295.12                     1,295.12                           1,295.12                           -        1,295.12                               -                   1,295.12       N/A                                                                N/A                                                          N/A                                                             14
  18           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas, Inc.Diesel                         Diesel                                                                                                                   09/19/15
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  19           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas, Inc.Diesel                         Diesel                                                                                                                   09/21/15 09/21/15
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  20           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                                   09/22/15 09/22/15
                                                                                                                                                                                            09/22/15                                                                                                                                      546803
                                                                                                                                                                                                                                                                                                                                     546803                          1,558.23                     1,558.23                           1,558.23                           -        1,558.23                               -                   1,558.23       N/A                                                                N/A                                                          N/A                                                             17
               NatioOilnalOil&Inc.
                                Gas. Inc.Diesel                                                                                                                                                  09/22/15 09/22/15                                                                                                                        546804




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  21    National        & Gas,                                          Diesel                                                                                                              09/22/15                                                                                                                                 546804                          1,389.36                     1,389.36                           1,389.36                           -        1,389.36                               -                   1,389.36       N/A                                                                N/A                                                          N/A                                                             18
  22           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                                   09/24/15 09/24/15
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               Natio      Oil&Inc.                                                                                                                                                               09/25/15 09/25/15
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  23    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              09/25/15                                                                                                                                 546818                          1,072.72                     1,072.72                           1,072.72                           -             1,072.72
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  24           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                                   09/25/15
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        VillageVillage                                         fuel fuel
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  25             PantryPantry                  Pressure
                                         Pressure   washer washer       Diesel                                                                                                              09/11/15       09/11/15                                                                                                                                                                                                                                                     -                                               -                                                                                                     N/A                                                          N/A                                                             22
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  26    VillageVillage
                 PantryPantry                  Pressure
                                         Pressure   washer     fuel fuel
                                                           washer       Diesel                                                                                                              09/10/15       09/10/15                                                                                                                                                                                                                     25.0025.00                      -           25.0025.00                          -                      25.0025.00 N/A                                                                 N/A                                                          N/A                                                             22
  27    VillageVillage
                 PantryPantry                  Pressure
                                         Pressure   washer     fuel fuel
                                                           washer       Diesel                                                                                                              09/11/15       09/11/15                                                                                                                   3811238 112                       20.0020.00                   20.0020.00                         20.0020.00                      -           20.0020.00                          -                      20.0020.00 N/A                                                                 N/A                                                          N/A                                                             22
  28           Phillips
        Phillips 66 66                   DieselDiesel                   Diesel                                                                                                              09/16/15       09/16/15                                                                                                                   2479624796                        22.0022.00                   22.0022.00                         22.0022.00                      -           22.0022.00                          -                      22.0022.00 N/A                                                                 N/A                                                          N/A                                                             23
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                                                               99 WHAM
                                                                                                                                                                                                                                                                                                                                                                               FF




                                                                                                                                                                                                                                                                                                                                                                                                              FF




                                                                                                                                                                                                                                                                                                                                                                                                                                                 FF




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           FF
                                                                                                                                                                                                                                                                                                                                                                                     82




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        82
  29    Phillips 66                      Diesel                         Diesel                                                                                                              09/15/15                                                                                                                                   N/A N/A                          10.00                        10.00                              10.00                           -           10.00                               -                      10.00       N/A                                                                N/A                                                          N/A                                                             23
  30    Phillips 66                      Diesel
                                                               99 WHAM
                                                                        Diesel                                                                                                                   09/14/15 09/14/15
                                                                                                                                                                                            09/14/15                                                                                                                                  2379623796                        10.85                        10.85                              10.85                           -           10.85                               -                      10.85       N/A                                                                N/A                                                          N/A                                                             23
               Petty Cash                                                                                                                                                                                                                                                                                                                                               23.0023.00                   23.0023.00                         23.0023.00                                  23.0023.00                                                 23.0023.00 N/A
                                                                                                                                                                                                0z




                                                               fuel fuel                                                                                                                                                                                                                                                               N/A N/A
                                                                                                                                                                                                                      V




  31    Petty Cash                             Pressure
                                         Pressure   washer washer       Diesel                                                                                                              09/18/15       09/18/15                                                                                                                                                                                                                                                     -                                               -                                                                                                     N/A                                                          N/A                                                             23
  32    VillageVillage
                 PantryPantry                  Pressure
                                         Pressure   washer     fuel fuel
                                                           washer       Diesel                                                                                                                N/A              ma
                                                                                                                                                                                                             N/A                                                                                                                      3256732567                        22.0022.00                   22.0022.00                         22.0022.00                      -           22.0022.00                          -                      22.0022.00 N/A                                                                 N/A                                                          N/A                                                             24
                                                                                                                                                                                                                                                                                                                                                                        23.0023.00                   23.0023.00                         23.0023.00                                  23.0023.00                                                 23.0023.00 N/A
                                                                                                                                                                                                                                                                                                                                                     qREERiE




        VillageVillage                                         fuel fuel                                                                                                                      N/A N/A




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        R
  33             PantryPantry                  Pressure
                                         Pressure   washer washer       Diesel                                                                                                                               N/A                                                                                                                       N/A                                                                                                                              -                                               -                                                                                                     N/A                                                          N/A                                                             24
                                                                                                                                                                                                 09/28/15                                                                                                                                                                                            18.00 18.00
                                                                                                                                                                                                                                   88888§FFFFFFFF --




        VillageVillage                                         fuel fuel                                                                                                                                                                                                                                                                                                18.00 18.00                                                     18.00 18.00                                 18.00 18.00                                                18.00 18.00 N/A
                                                                                                                                                                                                                                                                                                                                           gREEEEE
                                                                                                                                                                                                                                                                                                       FVFVFVFVFVFVFVFVFVFVFVFVFVF




  34             PantryPantry                  Pressure
                                         Pressure   washer washer       Diesel                                                                                                              09/28/15       09/28/15                                                                                                                   34350                                                                                                                             -                                               -                                                                                                     N/A                                                          N/A                                                             25
                         66                                                                                                                                                                      09/23/15                                                                                                                                                               23.0023.00                   23.0023.00                         23.0023.00                                                                                             23.0023.00 N/A




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     8g
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2"_
  35           Phillips
        Phillips 66                            Pressure
                                         Pressure   washer     fuel fuel
                                                           washer       Diesel                                                                                                              09/23/15       09/23/15                                                                                                                   28712                                                                                                                             -           23.00                               -                                                                                                     N/A                                                          N/A                                                             25
  36           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.DieselDiesel                   Diesel                                                                                                                   09/28/15
                                                                                                                                                                                            09/28/15       09/28/15                                                                                                                  546825                               1,701.94
                                                                                                                                                                                                                                                                                                                                                                     1,701.94                          1,701.94
                                                                                                                                                                                                                                                                                                                                                                                                  1,701.94                                1,701.94
                                                                                                                                                                                                                                                                                                                                                                                                                                     1,701.94                           -        1,701.94                               -                        1,701.94 N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            1,701.94                                                                          N/A                                                          N/A                                                             26
               Natio      Oil&Inc.                                                                                                                                                               09/28/15 09/28/15                                                                                                                                                          629.32                       629.32                             629.32                                      629.32                                                     629.32 N/A
                                                                                      0000000000000000000000000000




  37    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              09/28/15                                                                                                                                 546826                            629.32                       629.32                             629.32                           -          629.32                               -                     629.32                                                                          N/A                                                          N/A                                                             27
  38           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                                   09/30/15
                                                                                                                                                                                            09/30/15       09/30/15                                                                                                                  546834                               1,979.00
                                                                                                                                                                                                                                                                                                                                                                     1,979.00                          1,979.00
                                                                                                                                                                                                                                                                                                                                                                                                  1,979.00                                1,979.00
                                                                                                                                                                                                                                                                                                                                                                                                                                     1,979.00                           -             1,979.00
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1,979.00                               -                        1,979.00 N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            1,979.00                                                                          N/A                                                          N/A                                                             28
               Natio      Oil&Inc.                                                                                                                                                                              Z
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  39    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              10/01/15       10/01/15                                                                                                                  546847                          1,226.98                     1,226.98                           1,226.98                           -        1,226.98                               -                   1,226.98       N/A                                                                N/A                                                          N/A                                                             29
               Natio      Oil&Inc.                                                                                                                                                                               --




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  40    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              10/02/15       10/02/15                                                                                                                  546853                          1,226.98                     1,226.98                           1,226.98                           -        1,226.98                               -                   1,226.98       N/A                                                                N/A                                                          N/A                                                             30
  41           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              10/02/15            c-
                                                                                                                                                                                                           10/02/15                                                                                                                       546854
                                                                                                                                                                                                                                                                                                                                     546854                            524.54                       524.54                             524.54                           -          524.54                               -                     524.54       N/A                                                                N/A                                                          N/A                                                             31
               Natio      Oil                                                                                                                                                                                                                                                                                                             546857
                                                                                                                                                                                                                                                                                                                                                                                                            _




  42    National    Oilnal
                        & Gas,&Inc.
                                Gas. Inc.Diesel                         Diesel                                                                                                              10/03/15       10/03/15                                                                                                                  546857                          1,184.32                     1,184.32                           1,184.32                           -        1,184.32                               -                   1,184.32       N/A                                                                N/A                                                          N/A                                                             32
  43           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              10/05/15       10/05/15                                                                                                                       546859
                                                                                                                                                                                                                                                                                                                                     546859                               2,036.71
                                                                                                                                                                                                                                                                                                                                                                     2,036.71                          2,036.71
                                                                                                                                                                                                                                                                                                                                                                                                  2,036.71                                2,036.71
                                                                                                                                                                                                                                                                                                                                                                                                                                     2,036.71                           -             2,036.71
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 2,036.71                               -                        2,036.71 N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            2,036.71                                                                          N/A                                                          N/A                                                             33
  44               tio
               Na Oilnal
        National          Oil
                        & Gas,&Inc.
                                Gas. Inc.Diesel                         Diesel                                                                                                              10/06/15       10/06/15                                                                                                                       546875
                                                                                                                                                                                                                                                                                                                                     546875                                 877.13
                                                                                                                                                                                                                                                                                                                                                                       877.13                            877.13
                                                                                                                                                                                                                                                                                                                                                                                                    877.13                                  877.13
                                                                                                                                                                                                                                                                                                                                                                                                                                       877.13                           -               877.13
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   877.13                               -                          877.13 N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              877.13                                                                          N/A                                                          N/A                                                             34
                          Oil&Inc.                                                                                                                                                                              13
               Natio                                                                                                                                                                             10/07/15 10/07/15



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  45    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              10/07/15                                                                                                                                 546879                          1,183.53                     1,183.53                           1,183.53                           -        1,183.53                               -                   1,183.53       N/A                                                                N/A                                                          N/A                                                             35
               Natio      Oil&Inc.                                                                                                                                                               10/08/15
                                                                                                                                                                                                                                                                                                                                                                               7̀4,Egci




  46    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              10/08/15       10/08/15                                                                                                                  546887                          1,181.20                     1,181.20                           1,181.20                           -        1,181.20                               -                   1,181.20       N/A                                                                N/A                                                          N/A                                                             36
  47           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                                   10/09/15 10/09/15
                                                                                                                                                                                            10/09/15                                                                                                                                      546893
                                                                                                                                                                                                                                                                                                                                     546893                          1,287.04                     1,287.04                           1,287.04                           -        1,287.04                               -                   1,287.04       N/A                                                                N/A                                                          N/A                                                             37
  48           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                                   10/10/15
                                                                                                                                                                                            10/10/15       10/10/15                                                                                                                       546899
                                                                                                                                                                                                                                                                                                                                     546899                            573.34                       573.34                             573.34                           -          573.34                               -                     573.34       N/A                                                                N/A                                                          N/A                                                             38
               Natio      Oil&Inc.                                                                                                                                                               10/12/15 10/12/15                                                                                                                        546910
                                                                                                                                                                                                                                                                                                                                                                                     MN




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            MN
  49    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              10/12/15                                                                                                                                 546910                          3,033.23                     3,033.23                           3,033.23                           -        3,033.23                               -                   3,033.23       N/A                                                                N/A                                                          N/A                                                             39
  50           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                                   10/14/15
                                                                                                                                                                                            10/14/15       10/14/15                                                                                                                       5469 19
                                                                                                                                                                                                                                                                                                                                     546919                          2,241.02                     2,241.02                           2,241.02                           -        2,241.02                               -                   2,241.02       N/A                                                                N/A                                                          N/A                                                             40
                   tio    Oil                                                                                                                                                                       /16/15                                                                                                                                546933                          3202.13                      3202.13                            3202.13                                                                                                320
                                                                                                                                                                                                                                                    MFFFFFFF




  51           Na Oilnal
        National        & Gas,&Inc.
                                Gas. Inc.Diesel                         Diesel                                                                                                                   10
                                                                                                                                                                                            10/16/15       10/16/15                                                                                                                  546933                          3,202.13                     3,202.13                           3,202.13                           -             3,202.13
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 3,202.13                               -                   3,202.13 2.13 N/A                                                                 N/A                                                          N/A                                                             41
  52           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                                   10/17/15
                                                                                                                                                                                            10/17/15       10/17/15                                                                                                                       546937
                                                                                                                                                                                                                                                                                                                                     546937                               1,001.56
                                                                                                                                                                                                                                                                                                                                                                     1,001.56                          1,001.56
                                                                                                                                                                                                                                                                                                                                                                                                  1,001.56                                1,001.56
                                                                                                                                                                                                                                                                                                                                                                                                                                     1,001.56                           -             1,001.56
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1,001.56                               -                        1,001.56 N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            1,001.56                                                                          N/A                                                          N/A                                                             42
               Natio      Oil&Inc.
                                                                                                                                                                                                      zEI, E1, E1-e2
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  53    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              10/19/15       10/19/15                                                                                                                  546942                          2,502.34                     2,502.34                           2,502.34                           -        2,502.34                               -                   2,502.34       N/A                                                                N/A                                                          N/A                                                             43
  54           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              10/21/15       10/21/15                                                                                                                  546959                          2,768.99                     2,768.99                           2,768.99                           -        2,768.99                               -                   2,768.99       N/A                                                                N/A                                                          N/A                                                             44
  55           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              10/23/15       10/23/15                                                                                                                       546969
                                                                                                                                                                                                                                                                                                                                     546969                          2,781.79                     2,781.79                           2,781.79                           -        2,781.79                               -                   2,781.79       N/A                                                                N/A                                                          N/A                                                             45
  56           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              10/24/15       10/24/15                                                                                                                       546976
                                                                                                                                                                                                                                                                                                                                     546976                            731.11                       731.11                             731.11                           -          731.11                               -                     731.11       N/A                                                                N/A                                                          N/A                                                             46
               Natio      Oil&Inc.                                                                                                                                                                                                                                                                                                                                        2,957. 18                    2,957. 18                          2,957. 18                                   2,957.18                                                   2,957. 18 N/A
                                                                                                                                                                                                                                                                                                                                                22
                                                                                                                                                                                                                13




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  57    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              10/26/15       10/26/15                                                                                                                  546983                          2,957.18                     2,957.18                           2,957.18                           -        2,957.18                               -                   2,957.18                                                                          N/A                                                          N/A                                                             47
  58           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              10/28/15       10/28/15                                                                                                                  546988                               2,735.77
                                                                                                                                                                                                                                                                                                                                                                     2,735.77                          2,735.77
                                                                                                                                                                                                                                                                                                                                                                                                  2,735.77                                2,735.77
                                                                                                                                                                                                                                                                                                                                                                                                                                     2,735.77                           -             2,735.77
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 2,735.77                               -                        2,735.77 N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            2,735.77                                                                          N/A                                                          N/A                                                             48
  59           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              10/30/15       10/30/15                                                                                                                       546994
                                                                                                                                                                                                                                                                                                                                     546994                               2,565.45
                                                                                                                                                                                                                                                                                                                                                                     2,565.45                          2,565.45
                                                                                                                                                                                                                                                                                                                                                                                                  2,565.45                                2,565.45
                                                                                                                                                                                                                                                                                                                                                                                                                                     2,565.45                           -             2,565.45
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 2,565.45                               -                        2,565.45 N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            2,565.45                                                                          N/A                                                          N/A                                                             49
  60               tio
               Na Oilnal
        National          Oil
                        & Gas,&Inc.
                                Gas. Inc.Diesel                         Diesel                                                                                                              10/31/15       10/31/15                                                                                                                       546996
                                                                                                                                                                                                                                                                                                                                     546996                                 653.60
                                                                                                                                                                                                                                                                                                                                                                       653.60                            653.60
                                                                                                                                                                                                                                                                                                                                                                                                    653.60                                  653.60
                                                                                                                                                                                                                                                                                                                                                                                                                                       653.60                           -               653.60
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   653.60                               -                          653.60 N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              653.60                                                                          N/A                                                          N/A                                                             50
  61           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                                   11/02/15 11/02/15
                                                                                                                                                                                            11/02/15                                                                                                                                      547004
                                                                                                                                                                                                                                                                                                                                     547004                               3,444.72
                                                                                                                                                                                                                                                                                                                                                                     3,444.72                          3,444.72
                                                                                                                                                                                                                                                                                                                                                                                                  3,444.72                                3,444.72
                                                                                                                                                                                                                                                                                                                                                                                                                                     3,444.72                           -             3,444.72
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 3,444.72                               -                        3,444.72 N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            3,444.72                                                                          N/A                                                          N/A                                                             51
  62           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                                   11/04/15
                                                                                                                                                                                            11/04/15       11/04/15                                                                                                                       547019
                                                                                                                                                                                                                                                                                                                                     547019                               2,776.22
                                                                                                                                                                                                                                                                                                                                                                     2,776.22                          2,776.22
                                                                                                                                                                                                                                                                                                                                                                                                  2,776.22                                2,776.22
                                                                                                                                                                                                                                                                                                                                                                                                                                     2,776.22                           -             2,776.22
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 2,776.22                               -                        2,776.22 N/A
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            2,776.22                                                                          N/A                                                          N/A                                                             52
                                                                                                                                                                                                ::::




               Natio      Oil&Inc.                                                                                                                                                                                                                                                                                                        547020                            966.57                       966.57                             966.57                                      966.57                                                     966.57 N/A
                                                                                                                                                                                                      22
                                                                                                                                                                                                      mm




  63    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              11/05/15       11/05/15                                                                                                                  547020                            966.57                       966.57                             966.57                           -          966.57                               -                     966.57                                                                          N/A                                                          N/A                                                             53
               Natio      Oil&Inc.                                                                                                                                                                                                                                                                                                        547028                          3,69 1.89                    3,69 1.89                          3,69 1.89                                   3,69 1.89                                                  3,69 1.89 N/A
                                                                                                                                                                                                       ii.-,




  64    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                         Diesel                                                                                                              11/09/15       11/09/15                                                                                                                  547028                          3,691.89                     3,691.89                           3,691.89                           -        3,691.89                               -                   3,691.89                                                                          N/A                                                          N/A                                                             54

Preliminary
Subject to Amendment                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Page 1 of 4
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 55 of 90 PageID




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Date of Loss: July 22, 2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 7327                    Measured Damages


Bell Aquaculture
11550 E Gregory Rd, Albany IN
Date of Loss: July 21, 2015

Measured Costs as of May 17, 2018

                                                                                                          A                                                                                  B                        C                                                                    D                                                              E                                                                                                                          F                                   G                                                                                        H                                                           I               J                K                                                                                                                                    L          M                                   N            O           P                                                                                                                                                                                                                                       Q                                                                                R
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                                                                                                         NameName                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Building                                                                                                                                   Insurer




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 Item                                                                                             Vendor                 Description                                                                 Category                                                                           Service                                                        Invoice                                                                                                                     Invoice                            Invoice                                                                                    Claim                                                   Emergency        Building            Total                                                                                                                   Insurer       Difference                                   Amount    Document        Date                                                                                                                                                                                                                                    Page                                                                           Comments




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  No.                                                                                                                                                                                                                                                                                    Dates                                                           Date                                                                                                                        No.                              Amount                                                                                    Amount                                                   Services &    Reconstruction                                                                                                                                   Measurement
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Measurement        [K-L] [K-14                                              No.                                                                                                                                                                                                                                               Reference
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Debris
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                                                                                                                                                                                                                                                                                                                                                                                                                                          .VVVV.VV.VVVVVV.VVVVVVV.VVV.VVVVV.VV.V
               Natio      Oil&Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                                      547038       3,057.70                                                                                                          3,057.70                                                              3,057.70                                                                                              3,057.70                                                         3,057.70 N/A




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                    Oilnal      Gas. Inc.Diesel
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  65    National        & Gas,                                 Diesel                                                                                                                                                                                                                   11/11/15      11/11/15                                                                                                                                                                     547038       3,057.70                                                                                                          3,057.70                                                              3,057.70                                                                                          -   3,057.70                                                   -     3,057.70                                                                                                                    N/A                                                                                N/A                                                                                    55
  66           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   11/13/15      11/13/15                                                                                                                                                                          547049
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               Natio      Oil&Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                                                     847.80                                                                                                            847.80                                                                847.80                                                                                                                                                                 847.80 N/A




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  67    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   11/14/15      11/14/15                                                                                                                                                                     547051         847.80                                                                                                            847.80                                                                847.80                                                                                          -     847.80                                                   -       847.80                                                                                                                    N/A                                                                                N/A                                                                                    57
                   tio    Oil                                                                                                                                                                                                                                                                                                                                                                                                                                                                        2,626.65                                                                                                          2,626.65                                                              2,626.65                                                                                                                                                               2,626.65 N/A




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  68           Na Oilnal
        National             &Inc.
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   11/16/15      11/16/15                                                                                                                                                                     547053       2,626.65                                                                                                          2,626.65                                                              2,626.65                                                                                          -   2,626.65                                                   -     2,626.65                                                                                                                    N/A                                                                                N/A                                                                                    58
               Natio      Oil&Inc.                                                                                                                                                                                                                                                           11/18/15 11/18/15                                                                                                                                                                          547070




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  69    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   11/18/15                                                                                                                                                                                   547070       2,472.81                                                                                                          2,472.81                                                              2,472.81                                                                                          -   2,472.81                                                   -     2,472.81       N/A                                                                                                          N/A                                                                                N/A                                                                                    59
  70           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                        11/20/15
                                                                                                                                                                                                                                                                                        11/20/15      11/20/15                                                                                                                                                                          54708 1
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               Natio      Oil&Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                                      547082         779. 15                                                                                                           779. 15                                                               779. 15                                                                                               779.15                                                           779. 15 N/A




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  71    National    Oilnal
                        & Gas,  Gas, Inc.Diesel                Diesel                                                                                                                                                                                                                   11/21/15      11/21/15                                                                                                                                                                     547082         779.15                                                                                                            779.15                                                                779.15                                                                                          -     779.15                                                   -       779.15                                                                                                                    N/A                                                                                N/A                                                                                    61
  72           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas, Inc.Diesel                Diesel                                                                                                                                                                                                                   11/23/15      11/23/15                                                                                                                                                                          547085
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   547085            2,754.08
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               Natio      Oil&Inc.                                                                                                                                                                                                                                                           11/25/15 11/25/15                                                                                                                                                                                       2,500.93                                                                                                          2,500.93                                                              2,500.93                                                                                              2,500.93                                                         2,500.93 N/A




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  73    National    Oilnal
                        & Gas,  Gas, Inc.Diesel                Diesel                                                                                                                                                                                                                   11/25/15                                                                                                                                                                                   547102       2,500.93                                                                                                          2,500.93                                                              2,500.93                                                                                          -   2,500.93                                                   -     2,500.93                                                                                                                    N/A                                                                                N/A                                                                                    63
  74           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas, Inc.Diesel                Diesel                                                                                                                                                                                                                        11/27/15
                                                                                                                                                                                                                                                                                        11/27/15      11/27/15                                                                                                                                                                     547104            2,018.41
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                          Oil
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                   tio                                                                                                                                                                                                                                                                                                                                                                                                                                                                  547106




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  75           Na Oilnal
        National             &Inc.
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   11/29/15      11/29/15                                                                                                                                                                     547106       1,355.80                                                                                                          1,355.80                                                              1,355.80                                                                                          -   1,355.80                                                   -     1,355.80       N/A                                                                                                          N/A                                                                                N/A                                                                                    65
  76           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   11/30/15
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                                                                                                                                                                                                                                                                                                      11/30/15                                                                                                                                                                          547109 1,800.94
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               Natio      Oil&Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 2,660.63




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         G33333
  77    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   12/02/15      12/02/15                                                                                                                                                                     547116       2,660.63                                                                                                          2,660.63                                                              2,660.63                                                                                          -   2,660.63                                                   -     2,660.63       N/A                                                                                                          N/A                                                                                N/A                                                                                    67
               Natio      Oil&Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 2,150.37




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  78    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   12/04/15      12/04/15                                                                                                                                                                     547140       2,150.37                                                                                                          2,150.37                                                              2,150.37                                                                                          -   2,150.37                                                   -     2,150.37       N/A                                                                                                          N/A                                                                                N/A                                                                                    68
               Natio      Oil&Inc.                                                                                                                                                                                                                                                           12/05/15 12/05/15




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  79    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   12/05/15                                                                                                                                                                                   547142         624.46                                                                                                            624.46                                                                624.46                                                                                          -     624.46                                                   -       624.46       N/A                                                                                                          N/A                                                                                N/A                                                                                    69
               Natio      Oil&Inc.                                                                                                                                                                                                                                                           12/07/15




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  80    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   12/07/15      12/07/15                                                                                                                                                                     547143       1,855.35                                                                                                          1,855.35                                                              1,855.35                                                                                          -   1,855.35                                                   -     1,855.35       N/A                                                                                                          N/A                                                                                N/A                                                                                    70




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  81           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                        12/09/15 12/09/15
                                                                                                                                                                                                                                                                                        12/09/15                                                                                                                                                                                   547149       2,786.30                                                                                                          2,786.30                                                              2,786.30                                                                                          -   2,786.30                                                   -     2,786.30       N/A                                                                                                          N/A                                                                                N/A                                                                                    71
               Natio      Oil&Inc.




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  82    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                        12/11/15
                                                                                                                                                                                                                                                                                        12/11/15      12/11/15                                                                                                                                                                     547156       2,035.64                                                                                                          2,035.64                                                              2,035.64                                                                                          -   2,035.64                                                   -     2,035.64       N/A                                                                                                          N/A                                                                                N/A                                                                                    72
               Natio      Oil&Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                                      547158
                                                                                                                                                                                                                                                                                                NggrflgHlggggggggggggggggggggggggggggg
                                                                                                                                                                                                                                                                                                                                         VVVVVVVVVVV


  83    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   12/12/15      12/12/15                                                                                                                                                                     547158         505.30                                                                                                            505.30                                                                505.30                                                                                          -     505.30                                                   -       505.30       N/A                                                                                                          N/A                                                                                N/A                                                                                    73
                   tio    Oil                                                                                                                                                                                                                                                                                                                                                                                                                                                           547163 1,870.25




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                                                                                                                                                                                                                                                                                                                                                                        M".3
  84           Na Oilnal
        National             &Inc.
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   12/14/15      12/14/15                                                                                                                                                                     547163                                                                                                                         1,870.25                                                              1,870.25                                                                                          -   1,870.25                                                   -     1,870.25       N/A                                                                                                          N/A                                                                                N/A                                                                                    74
               Natio      Oil&Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                                      547167




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  85    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   12/16/15      12/16/15                                                                                                                                                                     547167       1,987.84                                                                                                          1,987.84                                                              1,987.84                                                                                          -   1,987.84                                                   -     1,987.84       N/A                                                                                                          N/A                                                                                N/A                                                                                    75
  86           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   12/18/15      12/18/15                                                                                                                                                                          547179
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   547179       1,917.92                                                                                                          1,917.92                                                              1,917.92                                                                                          -   1,917.92                                                   -     1,917.92       N/A                                                                                                          N/A                                                                                N/A                                                                                    76


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                          Oil&Inc.

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               Natio                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   56 1.14                                                                                                           56 1.14                                                               56 1.14                                                                                                                                                                56 1.14 N/A




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  87
  88
        National
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                    Oilnal
                        & Gas,
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                        & Gas,
                                Gas. Inc.Diesel
                          Oil&Inc.
                                Gas. Inc.Diesel
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     78
               Natio      Oil&Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                                      547197




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         TIEE"V‘12 1N "6 :.1D 7V
  89    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   12/24/15      12/24/15                                                                                                                                                                     547197       2,259.86                                                                                                          2,259.86                                                              2,259.86                                                                                          -   2,259.86                                                   -     2,259.86       N/A                                                                                                          N/A                                                                                N/A                                                                                    79
  90           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   12/26/15      12/26/15                                                                                                                                                                          547199 1,509.85
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   547199                                                                                                                         1,509.85                                                              1,509.85                                                                                          -   1,509.85                                                   -     1,509.85       N/A                                                                                                          N/A                                                                                N/A                                                                                    80




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               Natio      Oil
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ,,,R
  91    National    Oilnal   &Inc.
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   12/28/15      12/28/15                                                                                                                                                                     557556       1,846.36                                                                                                          1,846.36                                                              1,846.36                                                                                          -   1,846.36                                                   -     1,846.36       N/A                                                                                                          N/A                                                                                N/A                                                                                    81
  92           Natio
        National    OilnalOil&Inc.
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   12/30/15      12/30/15                                                                                                                                                                     557559       1,649.81                                                                                                          1,649.81                                                              1,649.81                                                                                          -   1,649.81                                                   -     1,649.81       N/A                                                                                                          N/A                                                                                N/A                                                                                    82
                   tio    Oil
                                                                                                                                                                                                                                                                                                                                                                              O r8 r8 r8 r8 r8 r8 r8 r8 r8 r8888888888888888888888 8 88888881,g8 --g




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  93           Na Oilnal
        National             &Inc.
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   01/01/16      01/01/16                                                                                                                                                                     557568       1,594.72                                                                                                          1,594.72                                                              1,594.72                                                                                          -   1,594.72                                                   -     1,594.72       N/A                                                                                                          N/A                                                                                N/A                                                                                    83
  94    JohnsonJohnson    OilCompany Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         07/22/15                                                                                                                                                                      83643       2,842.23                                                                                                          2,842.23                                                              2,842.23                                                                                          -   2,842.23                                              1,169.21   1,673.02       N/A                                                                                                          N/A                                                                                N/A                                                                                    84
  95    JohnsonJohnson    OilCompany Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         07/23/15                                                                                                                                                                      8365883658  3,361.26                                                                                                          3,361.26                                                              3,361.26                                                                                          -   3,361.26                                                   -     3,361.26       N/A                                                                                                          N/A                                                                                N/A                                                                                    85
  96    JohnsonJohnson    OilCompany Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         07/24/15                                                                                                                                                                      8366383663 2,970.63                                                                                                           2,970.63                                                              2,970.63                                                                                          -   2,970.63                                                   -     2,970.63       N/A                                                                                                          N/A                                                                                N/A                                                                                    86
  97    JohnsonJohnson    OilCompany Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         07/25/15                                                                                                                                                                      8379283792  3,817.14                                                                                                          3,817.14                                                              3,817.14                                                                                          -   3,817.14                                                   -     3,817.14       N/A                                                                                                          N/A                                                                                N/A                                                                                    87
  98    JohnsonJohnson    OilCompany Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         07/26/15                                                                                                                                                                      8379383793 2,566.29                                                                                                           2,566.29                                                              2,566.29                                                                                          -   2,566.29                                                   -     2,566.29       N/A                                                                                                          N/A                                                                                N/A                                                                                    88
                          OilCompany Diesel                                                                                                                                                                                                                                                                                                                                                                                                                                         836818368 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               c . 0,—.0c
  99    JohnsonJohnson
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         07/27/15                                                                                                                                                                                  2,263.03                                                                                                          2,263.03                                                              2,263.03                                                                                          -   2,263.03                                                   -     2,263.03       N/A                                                                                                          N/A                                                                                N/A                                                                                    89
                                                , SE,M1888688:22:EVF.VRNRRR ,_R ,_,_,_,_,_,




 100    JohnsonJohnson    Oil Company Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         07/28/15                                                                                                                                                                      8369383693  1,488.88                                                                                                          1,488.88                                                              1,488.88                                                                                          -   1,488.88                                                   -     1,488.88       N/A                                                                                                          N/A                                                                                N/A                                                                                    90
                          OilCompany Diesel                                                                                                                                                                                                                                                                                                                                                                                                                                         8370083700




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 101    JohnsonJohnson
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         07/29/15                                                                                                                                                                                  1,566.34                                                                                                          1,566.34                                                              1,566.34                                                                                          -   1,566.34                                                   -     1,566.34       N/A                                                                                                          N/A                                                                                N/A                                                                                    91
 102    JohnsonJohnson    OilCompany Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         07/30/15                                                                                                                                                                      8380583805 3,321.98                                                                                                           3,321.98                                                              3,321.98                                                                                          -   3,321.98                                                   -     3,321.98       N/A                                                                                                          N/A                                                                                N/A                                                                                    92
                          OilCompany Diesel                                                                                                                                                                                                                                                                                                                                                                                                                                         8371783717
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     "62



               Johnson




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 103    Johnson     Oil Company                                Diesel                                                                                                                                                                                                                     N/A         07/31/15                                                                                                                                                                                  1,154.99                                                                                                          1,154.99                                                              1,154.99                                                                                          -   1,154.99                                                   -     1,154.99       N/A                                                                                                          N/A                                                                                N/A                                                                                    93
 104    JohnsonJohnson    OilCompany Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/01/15                                                                                                                                                                      8372283722 1,936.51                                                                                                           1,936.51                                                              1,936.51                                                                                          -   1,936.51                                                   -     1,936.51       N/A                                                                                                          N/A                                                                                N/A                                                                                    94
                          OilCompany Diesel                                                                                                                                                                                                                                                                                                                                                                                                                                         8372383723



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 105    JohnsonJohnson
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/02/15                                                                                                                                                                                  1,297.61                                                                                                          1,297.61                                                              1,297.61                                                                                          -   1,297.61                                                   -     1,297.61       N/A                                                                                                          N/A                                                                                N/A                                                                                    95
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .




 106    JohnsonJohnson    OilCompany Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/03/15                                                                                                                                                                      8373683736 2,888.85                                                                                                           2,888.85                                                              2,888.85                                                                                          -   2,888.85                                                   -     2,888.85       N/A                                                                                                          N/A                                                                                N/A                                                                                    96
                          OilCompany Diesel                                                                                                                                                                                                                                                                                                                                                                                                                                         8374983749
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 107    JohnsonJohnson
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/04/15                                                                                                                                                                                  2,143.68                                                                                                          2,143.68                                                              2,143.68                                                                                          -   2,143.68                                                   -     2,143.68       N/A                                                                                                          N/A                                                                                N/A                                                                                    97
                          OilCompany Diesel                                                                                                                                                                                                                                                                                                                                                                                                                                         8387883878 1,460.38
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .. .0vr88


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 108    JohnsonJohnson
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/05/15                                                                                                                                                                                                                                                                                                    1,460.38                                                              1,460.38                                                                                          -   1,460.38                                                   -     1,460.38       N/A                                                                                                          N/A                                                                                N/A                                                                                    98
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 109    JohnsonJohnson        Company Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/06/15                                                                                                                                                                      83886       1,955.41                                                                                                          1,955.41                                                              1,955.41                                                                                          -   1,955.41                                                   -     1,955.41       N/A                                                                                                          N/A                                                                                N/A                                                                                    99
                          OilCompany Diesel
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               N
 110    JohnsonJohnson
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/07/15                                                                                                                                                                      83899       1,252.68                                                                                                          1,252.68                                                              1,252.68                                                                                          -   1,252.68                                                   -     1,252.68       N/A                                                                                                          N/A                                                                                N/A                                                                                   100
 111    JohnsonJohnson    OilCompany Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/08/15                                                                                                                                                                      83900            1,750.05
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1,750.05                                                                                                               1,750.05
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1,750.05                                                                   1,750.05
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               1,750.05                                                                                                                    N/A                                                                                N/A                                                                                   101
 112    JohnsonJohnson    OilCompany Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/09/15                                                                                                                                                                      83809            1,771.76
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1,771.76                                                                                                               1,771.76
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1,771.76                                                                   1,771.76
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               1,771.76                                                                                                                    N/A                                                                                N/A                                                                                   102
                          OilCompany Diesel




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 113    JohnsonJohnson
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/10/15                                                                                                                                                                      84004       1,969.71                                                                                                          1,969.71                                                              1,969.71                                                                                          -   1,969.71




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                          OilCompany Diesel
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     r88



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   r88


 114    JohnsonJohnson
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/11/15                                                                                                                                                                      84013       1,306.42                                                                                                          1,306.42                                                              1,306.42                                                                                          -   1,306.42                                                   -     1,306.42       N/A                                                                                                          N/A                                                                                N/A                                                                                   104
                          OilCompany Diesel
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 00.E 0gg.r""




 115    JohnsonJohnson
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/12/15                                                                                                                                                                      84032       2,014.30                                                                                                          2,014.30                                                              2,014.30                                                                                          -   2,014.30                                                   -     2,014.30       N/A                                                                                                          N/A                                                                                N/A                                                                                   105
                          Oil




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         °1 E gg
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        °C1 E g 44'''::'




 116    JohnsonJohnson        Company Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/12/15                                                                                                                                                                      84017       1,006.08                                                                                                          1,006.08                                                              1,006.08                                                                                          -   1,006.08                                                   -     1,006.08       N/A                                                                                                          N/A                                                                                N/A                                                                                   106
                          OilCompany Diesel
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        C1 E gg




 117    JohnsonJohnson
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/14/15                                                                                                                                                                      84050       2,405.25                                                                                                          2,405.25                                                              2,405.25                                                                                          -   2,405.25                                                   -     2,405.25       N/A                                                                                                          N/A                                                                                N/A                                                                                   107
 118    JohnsonJohnson    Oil Company Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/15/15                                                                                                                                                                      84051       1,508.63                                                                                                          1,508.63                                                              1,508.63                                                                                          -   1,508.63                                                   -     1,508.63       N/A                                                                                                          N/A                                                                                N/A                                                                                   108
 119    JohnsonJohnson    OilCompany Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/16/15                                                                                                                                                                      83914839 14 2,064.97                                                                                                          2,064.97                                                              2,064.97                                                                                          -   2,064.97                                                   -     2,064.97       N/A                                                                                                          N/A                                                                                N/A                                                                                   109
                          OilCompany Diesel                                                                                                                                                                                                                                                                                                                                                                                                                                         8405284052 1,424.87




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               4''''
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              44'''::'




 120    JohnsonJohnson
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/17/15                                                                                                                                                                                                                                                                                                    1,424.87                                                              1,424.87                                                                                          -   1,424.87                                                   -     1,424.87       N/A                                                                                                          N/A                                                                                N/A                                                                                   110
                          OilCompany Diesel                                                                                                                                                                                                                                                                                                                                                                                                                                         8391683916
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   " .:4 R1""



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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 "" :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           -c 0: .




 121    JohnsonJohnson
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/18/15                                                                                                                                                                                  1,745.17                                                                                                          1,745.17                                                              1,745.17                                                                                          -   1,745.17                                                   -     1,745.17       N/A                                                                                                          N/A                                                                                N/A                                                                                   111
 122    JohnsonJohnson    OilCompany Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A         08/19/15                                                                                                                                                                          884070 1,760.52
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   884070                                                                                                                         1,760.52                                                              1,760.52                                                                                          -   1,760.52                                                   -     1,760.52       N/A                                                                                                          N/A                                                                                N/A                                                                                   112
 123    JohnsonJohnson    OilCompany Diesel
                    Oil Company                                Diesel                                                                                                                                                                                                                     N/A N/A     08/20/15                                                                                                                                                                      840818408 1 2,222.96                                                                                                          2,222.96                                                              2,222.96                                                                                          -   2,222.96                                                   -     2,222.96       N/A                                                                                                          N/A                                                                                N/A                                                                                   113
 124    NorrickNorrick   Petroleum
                 Petroleum               Diesel                Diesel                                                                                                                                                                                                                        08/24/15 08/24/15
                                                                                                                                                                                                                                                                                        08/24/15                                                                                                                                                                                        1678 15
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   167815       1,882.34                                                                                                          1,882.34                                                              1,882.34                                                                                          -   1,882.34                                                   -     1,882.34       N/A                                                                                                          N/A                                                                                N/A                                                                                   114
               Products,
        Products,    Inc. Inc.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .:
                                                                                                                                                                                                                                                                                            1,g
                                                                                                 6
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        167817
                                                                                                 8$




                                                                                                                                                                                                                                                                                                                                         V



                                                                                                                                                                                                                                                                                                                                                                                                                                          V VVVVVVV.




 125    Norrick Petroleum                Diesel                Diesel                                                                                                                                                                                                                   08/25/15                                                       08/25/15                                                                                                                    167817                               4,470.57                                                                                  4,470.57                                                              4,470.57                                                                                          -   4,470.57                                                   -     4,470.57                                 N/A                                                                                N/A                                                                                N/A                                                                                   115
                                                                                                                   E




        Products, Inc.
               Natio      Oil&Inc.                                                                                                                                                                                                                                                           08/27/15 08/27/15                                                                                                                                                                          546667
                                                                                                                                                                                                                                                                                                                                                                                                                                     CMECCVCr‘I' 71




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      R18




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            RN71M.Tr::




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         V7:18
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         N71M.Tr::




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         NCIM.Tr::
                                                                                RM,DRR7,P,RXRR




                                                                                                                                                                                      iiii




 126    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   08/27/15                                                                                                                                                                                   546667                               2,300.00                                                                                  2,300.00                                                              2,300.00                                                                                          -   2,300.00                                                   -     2,300.00                                 N/A                                                                                N/A                                                                                N/A                                                                                   116
               Natio      Oil&Inc.                                                                                                                                                                                                                                                           08/28/15                                                                                                                                                                                   546670
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               4 1""R "




 127    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   08/28/15      08/28/15                                                                                                                                                                     546670                               3,147.88                                                                                  3,147.88                                                              3,147.88                                                                                          -   3,147.88                                                   -     3,147.88                                 N/A                                                                                N/A                                                                                N/A                                                                                   117
               Natio      Oil&Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                                      546669
                                                                                                                                                                                                                                                                                            irg
                                                                                                                                                                                                                                                                                                                                         VV
                                                                                                                                                                                                                                                                                                RR




 128    National    Oilnal
                        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   08/28/15      08/28/15                                                                                                                                                                     546669                               3,509.76                                                                                  3,509.76                                                              3,509.76                                                                                          -   3,509.76                                                   -     3,509.76                                 N/A                                                                                N/A                                                                                N/A                                                                                   118
                   tio    Oil&Inc.                                                                                                                                                                                                                                                                                                                                                                                                                                                      546672
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         0.




 129           Na Oilnal
        National        & Gas,  Gas. Inc.Diesel                Diesel                                                                                                                                                                                                                   08/30/15      08/30/15                                                                                                                                                                     546672                               4,085.91                                                                                  4,085.91                                                              4,085.91                                                                                          -   4,085.91                                                   -     4,085.91                                 N/A                                                                                N/A                                                                                N/A                                                                                   119
               Natio      Oil&Inc.                                                                                                                                                                                                                                                           08/31/15 08/31/15                                                                                                                                                                          546680
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ""R "




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ""R "
 130    National    Oilnal
                        & Gas,  Gas. Inc.DieselDiesel          Diesel                                                                                                                                                                                                                   08/31/15                                                                                                                                                                                   546680                               3,993.35                                                                                  3,993.35                                                              3,993.35                                                                                          -   3,993.35                                                   -     3,993.35                                 N/A                                                                                N/A                                                                                N/A                                                                                   120
 131    VillageVillage
                 PantryPantry                  Pressure
                                         Pressure washer fuel fuel
                                                        washer Diesel                                                                                                                                                                                                                        08/27/15 08/27/15
                                                                                                                                                                                                                                                                                        08/27/15                                                                                                                                                                                    7402374023                             66.26                                                                                     66.26                                                                 66.26                                                                                          -      66.26                                                   -        66.26                                 N/A                                                                                N/A                                                                                N/A                                                                                   121
 132    VillageVillage
                 PantryPantry                  Pressure
                                         Pressure washer fuel fuel
                                                        washer Diesel                                                                                                                                                                                                                        08/21/15
                                                                                                                                                                                                                                                                                        08/21/15      08/21/15                                                                                                                                                                      2502025020                             27.81                                                                                     27.81                                                                 27.81                                                                                          -      27.81                                                   -        27.81                                 N/A                                                                                N/A                                                                                N/A                                                                                   121
 133    VillageVillage
                 PantryPantry                  Pressure
                                         Pressure washer fuel fuel
                                                        washer Diesel                                                                                                                                                                                                                        08/19/15
                                                                                                                                                                                                                                                                                        08/19/15      08/19/15                                                                                                                                                                       7028 7028                             29.51                                                                                     29.51                                                                 29.51                                                                                          -      29.51                                                   -        29.51                                 N/A                                                                                N/A                                                                                N/A                                                                                   122
                 66 66
               Phillips                                  fuel fuel                                                                                                                                                                                                                           08/24/15 08/24/15                                                                                                                                                                      7590475904                                                                                                                                                                                                                                                                                                   26.7226.72
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   R"




 134    Phillips                               Pressure
                                         Pressure washerwasher Diesel                                                                                                                                                                                                                   08/24/15                                                                                                                                                                                                                           26.72                                                                                     26.72                                                                 26.72                                                                                          -                                                              -        26.72                                 N/A                                                                                N/A                                                                                N/A                                                                                   122
 135    VillageVillage
                 PantryPantry                  Pressure
                                         Pressure washer fuel fuel
                                                        washer Diesel                                                                                                                                                                                                                        08/17/15 08/17/15
                                                                                                                                                                                                                                                                                        08/17/15                                                                                                                                                                                    9400294002                             29.51                                                                                     29.51                                                                 29.51                                                                                          -      29.5129.51                                              -        29.51                                 N/A                                                                                N/A                                                                                N/A                                                                                   122
 136    VillageVillage
                 PantryPantry                  Pressure
                                         Pressure washer fuel fuel
                                                        washer Diesel                                                                                                                                                                                                                        08/14/15 08/14/15
                                                                                                                                                                                                                                                                                        08/14/15                                                                                                                                                                                    69017690 17                            15.54                                                                                     15.54                                                                 15.54                                                                                          -      15.54 15.54                                             -        15.54                                 N/A                                                                                N/A                                                                                N/A                                                                                   123
                                    tl
                                                                                                 ZE




Preliminary
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Page 2 of 4
                                                                                                      3




Subject to Amendment
                                                            Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 56 of 90 PageID #:
                                                                                                7328                                                                                                                                                                                              Measured Damages



Date Bell Aquaculture
     of Loss: July 22, 2015
     11550 E Gregory Rd, Albany IN
     Date of Loss: July 21, 2015

    Measured Costs as of May 17, 2018

                          A                        B                      C                D                E             F              G           H               I               J                K                L                M            N            O
                                                                                                                                                                                                                                                                  0           P          Q            R
                                                                                                                                                                         Preliminary Claim Allocation                                                   Payment Confirmation
    Item          Vendor Name                 Description             Category          Service          Invoice
                                                                                                         invoice        Invoice
                                                                                                                        invoice       Invoice
                                                                                                                                      invoice       Claim       Emergency        Building            Total          Insurer         Difference     Amount    Document        Date       Page       Comments
     No.                                                                                 Dates             Date           No.         Amount       Amount       Services &    Reconstruction                      Measurement         [K-14
                                                                                                                                                                                                                                      [K-L]                      No.                  Reference
                                                                                                                                                                  Debris
                                                                                                                                                                 Removal
     137   Village Pantry               Pressure washer fuel        Diesel              09/06/15         09/06/15        63015             51.90        51.90         51.90              -               51.90             -               51.90     N/A         N/A         N/A         123
     138   Village Pantry               Pressure washer fuel        Diesel              08/13/15         08/13/15        61008             15.02        15.02         15.02              -               15.02             -               15.02     N/A         N/A         N/A         123
     139   Village Pantry               Pressure washer fuel        Diesel              08/26/15         08/26/15        64028             26.05        26.05         26.05              -               26.05             -               26.05     N/A         N/A         N/A         124
     140   Village Pantry               Pressure washer fuel        Diesel              09/01/15         09/01/15        19003             69.31        69.31         69.31              -               69.31             -               69.31     N/A         N/A         N/A         124
     141   Village Pantry               Pressure washer fuel        Diesel              09/04/15         09/04/15        41030             24.11        24.11         24.11              -               24.11             -               24.11     N/A         N/A         N/A         124
     142   Village Pantry               Pressure washer fuel        Diesel              08/21/15         08/21/15        25019             46.51        46.51         46.51              -               46.51             -               46.51     N/A         N/A         N/A         125
     143   Best Way Disposal            Disposal                    Disposal       07/01/15 - 07/31/15   08/01/15        41414          5,760.00
                                                                                                                                        5.760.00     5,760.00
                                                                                                                                                     5.760.00      5,760.00
                                                                                                                                                                   5.760.00              -            5,760.00
                                                                                                                                                                                                      5.760.00             -            5,760.00
                                                                                                                                                                                                                                        5.760.00     N/A         N/A         N/A       126-127
     144   Best Way Disposal            Disposal                    Disposal       08/01/15 - 08/31/15   09/01/15        42416          1,334.30     1,334.30      1,334.30              -            1,334.30             -            1,334.30     N/A         N/A         N/A         128
     145   Indiana Michigan Power       Electricity service         Electric       07/17/15 - 08/06/15   08/14/15   048-832-147-0-4    51,921.20    11,874.65     11,874.65              -           11,874.65             -           11,874.65     N/A         N/A         N/A         129
     146   Indiana Michigan Power       Electricity service         Electric       07/17/15 - 08/17/15   08/17/15   042-345-611-0-0     5,916.46
                                                                                                                                        5.916.46     1,608.05
                                                                                                                                                     1.608.05      1,608.05
                                                                                                                                                                   1.608.05              -            1,608.05
                                                                                                                                                                                                      1.608.05             -            1,608.05
                                                                                                                                                                                                                                        1.608.05     N/A         N/A         N/A         130
     147   Indiana Michigan Power       Electricity service         Electric       07/17/15 - 08/17/15   08/17/15   044-667-244-0-0    17,053.79     3,437.00      3,437.00              -            3,437.00             -            3,437.00     N/A         N/A         N/A         131
     148   Indiana Michigan Power       Electricity service         Electric       07/17/15 - 08/17/15   08/17/15   048-833-392-3-8     9,557.89     3,275.97
                                                                                                                                                     3275.97       3,275.97
                                                                                                                                                                   3275.97               -            3,275.97             -            3,275.97
                                                                                                                                                                                                                                        3275.97      N/A         N/A         N/A         132
     149   Indiana Michigan Power       Electricity service         Electric       07/17/15 - 08/17/15   08/18/15   044-740-100-0-8    68,150.32     5242.41
                                                                                                                                                     5,242.41      5242.41
                                                                                                                                                                   5,242.41              -            5,242.41             -            5242.41
                                                                                                                                                                                                                                        5,242.41     N/A         N/A         N/A         133
     150   Indiana Michigan Power       Electricity service         Electric       07/17/15 - 08/17/15   08/21/15   044-648-054-0-9    11,835.57     3,666.34      3,666.34              -            3,666.34             -            3,666.34     N/A         N/A         N/A       134-135
     151   Aqua Blast                   Pressure washer rental      Equipment             N/A            09/25/15       117979          5,850.00     5,850.00      5,850.00              -            5,850.00        5,850.00               -       N/A         N/A         N/A         136

     152 Hudson Tool Rental             Pressure washer rental Equipment           09/10/15 - 10/08/15   09/10/15     622817A-1         1,059.30     1,059.30       1,059.30             -             1,059.30        1,059.30              -       N/A         N/A         N/A         137

     153 Anderson Rent All              Pressure washer rental Equipment           08/13/15 - 09/03/15   08/13/15      622804-3         1,059.30     1,059.30       1,059.30             -             1,059.30        1,059.30              -       N/A         N/A         N/A         138

     154 Hudson Tool Rental             Pressure washer rental Equipment           08/13/15 - 09/10/15   08/13/15      622817-1         1,059.30     1,059.30       1,059.30             -             1,059.30        1,059.30              -       N/A         N/A         N/A         139

     155 Vectren Energy Delivery        Natural gas service         Gas            07/22/15 - 08/21/15   08/26/15   02-620525992-      32,076.62    10,050.59     10,050.59              -           10,050.59                -        10,050.59     N/A         N/A         N/A         140
                                                                                                                      58790125
     156 Vectren Energy Delivery        Natural gas service         Gas            08/21/15 - 08/27/15   08/28/15   02-620525992-      34,059.08     1,982.46
                                                                                                                                                     1282.46        1,982.46
                                                                                                                                                                    1282.46              -             1,982.46
                                                                                                                                                                                                       1282.46                -         1,982.46
                                                                                                                                                                                                                                        1282.46      N/A         N/A         N/A         141
                                                                                                                      58790125
     157 J&J Electric of Indiana, Inc. Temporarily bypass           J&J Electric          N/A            07/28/15       10596           2,010.25     2,010.25      2,010.25              -             2,010.25
                                                                                                                                                                                                       2010.25        2,010.25               -       N/A         N/A         N/A         142
                                       transfer switch
     158 Rene
         Ridge NAPA
               NAPA                    Fuel filter and oil filter   Maintenance           N/A            09/14/15      275477            168.15       168.15             -           168.15             168.15             168.15            -       N/A         N/A         N/A         143
     159 Autozone                      Motor oil                    Maintenance           N/A              N/A          9782              17.08        17.08             -            17.08              17.08              17.08            -       N/A         N/A         N/A         144
     160 Lowe's Home Centers, LLC Respirators                       Maintenance         08/21/15         08/21/15     93181919           119.74       119.74             -           119.74             119.74             119.74            -       N/A         N/A         N/A         145
     161 Lowe's Home Centers, LLC Tape, reacher, tank               Maintenance         08/13/15         08/13/15     13479692           317.36       317.36             -           317.36             317.36             317.36            -       N/A         N/A         N/A         146
                                       sprayers, shop vacs
                                       and tools
     162 US Aggregates                 Lime                         Maintenance         07/30/15         07/31/15      1009892            350.23      350.23             -           350.23             350.23             350.23            -       N/A         N/A         N/A         147
     163 Select Equipment              80 AMP Trap form             Maintenance           N/A            07/22/15        34739            658.00      658.00             -           658.00             658.00             658.00            -       N/A         N/A         N/A         148
     164 HP Products                   Bleach, gloves and           Maintenance           N/A            08/18/15      I2398877
                                                                                                                       12398877         1,276.88
                                                                                                                                        1276.88       630.50             -           630.50             630.50             630.50            -       N/A         N/A         N/A       149-150
                                       aprons
     165 HP Products                   QC Sleeves, siphon           Maintenance           N/A            08/18/15      I2398876
                                                                                                                       12398876          940.02       940.02             -           940.02             940.02             940.02            -       N/A         N/A         N/A         151
                                       pumps and labels
     166 Wiese USA                     Removed old tire and         Maintenance           N/A            07/23/15     63088910           219.10       219.10             -           219.10             219.10             219.10            -       N/A         N/A         N/A         152
                                       pressed new tire
                                                      fire
     167 Linde LLC                     Bulk liquid
                                       Bulk  liquidoxygen
                                                     omen           Omen
                                                                    Oxygen                N/A            07/22/15      52455618         1,275.93     1,275.93
                                                                                                                                                     1275.93       1,275.93
                                                                                                                                                                   1275.93              -              1,275.93       1,275.93
                                                                                                                                                                                                                      1275.93                -        N/A         N/A        N/A         153
     168 Linde LLC                     Bulk liquid
                                       Bulk  liquidoxygen
                                                     omen           Omen
                                                                    Oxygen                N/A            07/24/15      52463105         1,656.10     1,656.10      1,656.10             -              1,656.10       1,656.10               -        N/A         N/A        N/A         154
     169 Linde LLC                     Bulk liquid
                                       Bulk  liquidoxygen
                                                     omen           Omen
                                                                    Oxygen                N/A            07/25/15      52479790         1,981.62     1,981.62      1,981.62             -              1,981.62       1,981.62               -        N/A         N/A        N/A         155
     170 Linde LLC                     Bulk liquid
                                       Bulk  liquidoxygen
                                                     omen           Omen
                                                                    Oxygen                N/A            07/27/15      52468317         1,729.10     1,729.10      1,729.10             -              1,729.10       1,729.10               -        N/A         N/A        N/A         156
     171 Linde LLC                     Bulk liquid
                                       Bulk  liquidoxygen
                                                     omen           Omen
                                                                    Oxygen                N/A            07/29/15      52479791         1,115.69     1,115.69      1,115.69             -              1,115.69       1,115.69               -        N/A         N/A        N/A         157
     172 Linde LLC                     Bulk liquid
                                       Bulk  liquidoxygen
                                                     omen           Omen
                                                                    Oxygen                N/A            08/01/15      52536582         2,008.71     2,008.71      2,008.71             -              2,008.71       2,008.71               -        N/A         N/A        N/A         158
     173 Linde LLC                     Bulk liquid
                                       Bulk  liquidoxygen
                                                     omen           Omen
                                                                    Oxygen                N/A            08/01/15      52527856           822.30       822.30        822.30             -                822.30         822.30               -        N/A         N/A        N/A         159
     174 Linde LLC                     Modular tunnel freezer       Omen
                                                                    Oxygen                N/A            08/01/15      52527341           623.81       623.81        623.81             -                623.81         623.81               -        N/A         N/A        N/A         160
     175 Linde LLC                     Bulk liquid
                                       Bulk  liquidoxygen
                                                     omen           Omen
                                                                    Oxygen                N/A            08/05/15      52560793         1,700.17     1,700.17      1,700.17             -              1,700.17       1,700.17               -        N/A         N/A        N/A         161
     176 National Oil & Gas, Inc.      Diesel                       Diesel                N/A            09/15/15     CK#103547
                                                                                                                      C10103547         2,576.66     2,576.66      2,576.66             -              2,576.66            -            2,576.66     2,576.66   103547     09/15/15      162
     177 National Oil & Gas, Inc.      Diesel                       Diesel                N/A            09/15/15     CK#103549
                                                                                                                      C10103549         1,537.68     1,537.68      1,537.68             -              1,537.68            -            1,537.68     1,537.68   103549     09/15/15      163
     178 National Oil & Gas, Inc.      Diesel                       Diesel                N/A            09/17/15     CK#103553
                                                                                                                      C10103553         1,806.83     1,806.83      1,806.83             -              1,806.83            -            1,806.83     1,806.83   103553     09/17/15      164
     179 Battery
         Battery Express
                  Ewe=                 Aquatic supplies             Maintenance           N/A            09/22/15     CK#103564
                                                                                                                      C10103564           821.76       821.76           -            821.76              821.76         821.76               -         821.76   103564     09/22/15      165
     180 ADS Services                  Other half of nitrate        Maintenance           N/A            10/01/15         N/A           1,090.56       545.28           -            545.28              545.28         545.28               -        N/A         N/A        N/A         166
                                       and ammonia from 8th
                                       month
     181 Hach Company                  Aquatic supply special       Maintenance           N/A            09/21/15       349726           747.57       747.57             -           747.57             747.57             747.57            -       N/A         N/A         N/A       167-168
                                       project
                                       orolect
     182 McAllister                    Filters                      Maintenance           N/A            10/13/15   R66155218401         223.18       223.18             -           223.18             223.18             223.18            -       N/A         N/A         N/A         169
     183 Cummins Crosspoint            Unit having intermitent      Maintenance           N/A            10/05/15    011-21132           768.19       768.19             -           768.19             768.19             768.19            -       N/A         N/A         N/A       170-171
                                       problems
     184 Huston Electric Inc.          Electrical work              N/A                   N/A            06/24/16     16LA60472       114,900.00    52,971.00            -         52,971.00         52,971.00                -        52,971.00   116,454.74    N/A       06/24/16    172-186
                                       including ATS
     185 Xylem                         Electrode kits               N/A                   N/A            05/20/16       645804            168.66       168.66            -            168.66             168.66               -           168.66     N/A         N/A         N/A       187-189
     186 Xylem                         Test thermistor, test        N/A                   N/A            07/20/16       653214          4,288.96     4,288.96            -          4,288.96           4,288.96               -         4,288.96     N/A         N/A         N/A       190-194
                                       ODO membrane cap
                                       and replace, probe
                                       assy / labor and sensor
                                       cap kit / labor
     187 Pranger Enterprises           Materials and                N/A                   N/A            03/31/16        2654          20,000.00    20,000.00            -         20,000.00         20,000.00                -        20,000.00     N/A         N/A         N/A         195
                                       workmanship for
                                       startup

   Prelim! ery
   Preliminary
   Subject to Amendment                                                                                                                                                                                                                                                                                    Pew
                                                                                                                                                                                                                                                                                                           Page33 of
                                                                                                                                                                                                                                                                                                                  of 4
                                                                                                                                                                                                                                                                                                                     4
                                                            Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 57 of 90 PageID #:
                                                                                                7329                                                                                                                                                                                                   Measured Damages



Date Bell Aquaculture
     of Loss: July 22, 2015
     11550 E Gregory Rd, Albany IN
     Date of Loss: July 21, 2015

    Measured Costs as of May 17, 2018

                          A                       B                        C            D                E                F             G              H              I               J                K                L                 M              N            O
                                                                                                                                                                                                                                                                      0           P           Q
                                                                                                                                                                                                                                                                                              0            R
                                                                                                                                                                          Preliminary Claim Allocation                                                      Payment Confirmation
    Item          Vendor Name                Description            Category        Service           Invoice
                                                                                                      invoice         Invoice
                                                                                                                      invoice       Invoice
                                                                                                                                    invoice          Claim       Emergency        Building            Total          Insurer          Difference       Amount    Document        Date        Page       Comments
     No.                                                                             Dates              Date            No.         Amount          Amount       Services &    Reconstruction                      Measurement          [K-14
                                                                                                                                                                                                                                        [K-L]                        No.                   Reference
                                                                                                                                                                   Debris
                                                                                                                                                                  Removal
     188 Pranger Enterprise             Emergency repair to       N/A                  N/A            05/11/16           2757          3,834.00       3,834.00            -          3,834.00           3,834.00             -            3,834.00      3,834.00      N/A       05/25/16    196-197
                                        drum filter back wash
                                        pit
                                        DR
     189 Pranger Enterprises            Repair drum filter weir   N/A                  N/A            04/29/16           2720          4,048.00       4,048.00            -          4,048.00           4,048.00             -            4,048.00      4,048.00      N/A       05/25/16    198-199
                                        walls
     190 Prancer
         Pranger Enterprises            Sand in biofilters        N/A                  N/A            04/29/16           2722         51,000.00      51,000.00            -         51,000.00         51,000.00              -           51,000.00     51,000.00      N/A       05/25/16    200-202
     191 Pranger Enterprises            Materials and             N/A                  N/A            07/29/16           3121         41,410.00      41,410.00            -         41,410.00         41,410.00              -           41,410.00     41,410.00      N/A       08/11/16    203-206
                                        workmanship for
                                        startup
     192 Pranger Enterprises            Repair chiller controls   N/A                  N/A            07/20/16           3074         19,868.00      19,868.00            -         19,868.00         19,868.00              -           19,868.00     19,868.00      N/A       08/11/16    207-210
                                        and network
     193 Pranger Enterprises            RAS vertical turbine      N/A                  N/A            07/29/16           3118          2,500.00
                                                                                                                                       2500.00        2,500.00
                                                                                                                                                      2500.00             -          2,500.00
                                                                                                                                                                                     2500.00            2,500.00             -            2,500.00
                                                                                                                                                                                                                                          2500.00       N/A           N/A         N/A         211
                                        pump
                                        PUMP
     194 Pranger Enterprises            Service repairs for       N/A                  N/A            08/12/16           3156          3,500.00       3,500.00            -          3,500.00           3,500.00             -            3,500.00      N/A           N/A         N/A         212
                                        AAON MUA units
     195 Pranger Enterprises            Service repairs for       N/A                  N/A            08/31/16           3277          7,300.00       7,300.00            -          7,300.00           7,300.00             -            7,300.00      N/A           N/A         N/A         213
                                        AAON MUA units
     196 Pranger Enterprises            Service repairs for       N/A                  N/A            09/30/16           3395         10,255.00      10,255.00            -         10,255.00         10,255.00              -           10,255.00      N/A           N/A         N/A         214
                                        AAON MUA units
     197 Primozone                      Self regulating power     N/A                  N/A            05/13/16           50035        24,047.00      24,047.00            -         24,047.00         24,047.00              -           24,047.00     24,047.00 WIRE2016516-20
                                                                                                                                                                                                                                                                 NIRE2016516-21 05/16/16    215-216
                                        TR
     198 Leslie's Swimming Pool         100 LB Powder             N/A                  N/A            04/22/16      56-309275           584.20          584.20            -           584.20             584.20              -                584.20     584.22 DC20160422-02   04/22/16    217-218
         Supplies                       granular clorine
                                        aranular
     199 Leslie's Swimming Pool         100 LB Powder             N/A                  N/A            04/22/16     171-425179           778.96          778.96            -           778.96             778.96              -                778.96     778.96 DC20160422-01   04/22/16    219-220
         Supplies                       granular clorine
                                        aranular
     200 YSI Incorporated               Cover enclosures          N/A                  N/A            07/13/16       BA0114           76,035.00      76,035.00            -        76,035.00          76,035.00              -           76,035.00     38,017.50      N/A       07/18/16    221-223
     201 YSI Incorporated               Equipment                 N/A                  N/A            07/13/16       BA113           138,111.20     138,111.20            -       138,111.20         138,111.20              -          138,111.20     69,055.60      N/A       07/15/16    224-226
                                        recommissioning
     202 L.H Controls                   Service call
                                                 car pump         N/A               08/05/16          08/04/16           11895          949.80          949.80            -           949.80             949.80              -                949.80     949.80      1013       11/08/16    227-228
                                        panels
                                        Panels
     203 L.H Controls                   Service call pump         N/A               08/11/16          08/18/16           11910         1,074.30       1,074.30            -          1,074.30           1,074.30             -            1,074.30      1,074.30     1013       11/08/16    229-230
                                        panels
                                        Panels
     204 Process Logic Corporation      Fingering
                                        Fingerlng system          N/A                  N/A            04/23/16           49422         1,039.31       1,039.31            -          1,039.31           1,039.31             -            1,039.31      1,039.31    106503      05/04/16    231-232
                                        operator
     205 A Rental Service Co.           Pressure washer rental    Equipment    Through 09/13/15         N/A               N/A          1,646.76       1,646.76       1,646.76             -             1,646.76        1,646.76                 -      N/A           N/A         N/A       233-235

     206 A Rental Service Co.           Pressure washer rental N/A                     N/A            01/04/16            N/A          6,599.78
                                                                                                                                       6599.78        6,599.78
                                                                                                                                                      6599.78        6,599.78
                                                                                                                                                                     6599.78              -             6,599.78             -            6,599.78
                                                                                                                                                                                                                                          6599.78       N/A           N/A         N/A       236-236

     207 Aqua Blast                     Pressure washer rental N/A             09/25/15 -- 12/24/15
                                                                               09/25./15   12/24/15   09/25/15        118561          26,089.50      26,089.50      26,089.50             -           26,089.50              -           26,089.50      N/A           N/A         N/A       237-239

     208 Lesie's Swimming Pool          Granular chlorine         Clean-up             N/A            09/24/15     669-106495         10,314.80      10,314.80      10,314.80             -           10,314.80        10,314.80                 -      N/A           N/A         N/A       240-244
         Supplies
     209 National Oil & Gas, Inc.       Diesel                    Diesel            09/12/15          09/12/15       546743            1,992.85       1,992.85       1,992.85             -             1,992.85             -            1,992.85      1,992.85    106313      09/14/15    245-246
     210 National Oil
                  01 & Gas, Inc.        Diesel                    Diesel            09/11/15          09/11/15       546739            2,655.82       2,655.82       2,655.82             -             2,655.82             -            2,655.82      2,655.82    106311      09/11/15    247-249
     211 National Oil & Gas, Inc.       Diesel                    Diesel            09/09/15          09/09/15       546729            3,860.07       3,860.07       3,860.07             -             3,860.07             -            3,860.07      3,860.07    106310      09/10/15    250-252
     212 National Oil & Gas, Inc.       Diesel                    Diesel            09/07/15          09/07/15       546718            1,907.05       1,907.05       1,907.05             -             1,907.05             -            1,907.05      1,907.05    103539      09/08/15    253-255
     213 National Oil
                  01 & Gas, Inc.        Diesel                    Diesel            09/05/15          09/05/15       546716            1,087.46       1,087.46       1,087.46             -             1,087.46             -            1,087.46      1,087.46    103538      09/07/15    256-258
     214 National Oil & Gas, Inc.       Diesel                    Diesel            09/03/15          09/03/15       546700              619.50         619.50         619.50             -               619.50             -              619.50        619.50    103537      09/05/15    259-260
     215 National Oil
                  01 & Gas, Inc.        Diesel                    Diesel            09/04/15          09/04/15       546714              835.58         835.58         835.58             -               835.58             -              835.58        835.58    103536      09/05/15    261-263
     216 National Oil
                  01 & Gas, Inc.        Diesel                    Diesel            09/03/15          09/03/15       546702            3,400.20       3,400.20       3,400.20             -             3,400.20             -            3,400.20      3,400.20    103535      09/04/15    264-266
     217 National Oil & Gas, Inc.       Diesel                    Diesel            09/02/15          09/02/15       546691            4,082.13       4,082.13       4,082.13             -             4,082.13             -            4,082.13      4,082.13    103534      09/03/15    267-269
     218 National Oil
                  01 & Gas, Inc.        Diesel                    Diesel            09/01/15          09/01/15       546689              948.28         948.28         948.28             -               948.28             -              948.28        948.28    103531      09/02/15    270-272

                                                                                                                 Total              1,103,377.90 $ $ 850,823.78
                                                                                                                                  $ 1.103.377.90     850,823.78 $$ 380,534.23
                                                                                                                                                                   380,534.23 $$ 470,289.55
                                                                                                                                                                                 470,289.55 $f       850,823.78 $f
                                                                                                                                                                                                     850,823.78        73,939.16 $f
                                                                                                                                                                                                                       71939.16         776,884.62



                               Notes:
                                   1-
                                   1-   From file "Bell Aquaculture LLC Insurance Claim - Expense Reconciliation Schedule.vlsz"
                                                                                                                 Schedule.xlsx"
                                   2-   From file "Stock Claim.xlsx"
                                                          Claim.vez"
                                   3-                                Feed Ingredient
                                        From file "Bell Aquaculture Feed   Ingredient Inventorv.vlsz"
                                                                                       Inventory.xlsx"
                                   4-   From file
                                             file "Bell
                                                  "Bell Aquaculture
                                                        Aquaculture 131 Claim.vez"
                                                                     BI Claim.xlsx"




   Preliminary
   Preliminary
   Subject to Amendment                                                                                                                                                                                                                                                                                         Pace
                                                                                                                                                                                                                                                                                                                Page 44 of
                                                                                                                                                                                                                                                                                                                        of 4
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                           Bell Aquaculture LLC
                              Balance Sheet
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                           Bell Aquaculture LLC
                              Balance Sheet
                       Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 60 of 90 PageID #:
                                                           7332
                                                                                                             Summary
Bell Aquacu
Bell Aquaculture
            ltu re
11550 E Gregory Rd, Albany IN
Date of Loss: July 22, 2015

Calculated Value of Damaged Stock as of May 17, 2018




                                                                 Calculated
                            Description                           Amount                          Comments

Calculated Lost Stock (in kilograms)                                         198,828  From Schedule
                                                                             198,828 From  Schedule 1

Estimated Actual Cash Value per Kilogram                     $                  7.53 From
                                                                                     From Schedule
                                                                                          Schedule 2

     Calculated Value of Damaged Stock                       $         1,496,755




Preliminary
Subject to Amendment                                        I QUANTUM                                        Page 1 of 3
                                                              GLOBAL AD,
                                                                       C.5
                                Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 61 of 90 PageID #:
                                                                    7333
                                                                                                                   Schedule 1

Bell Aquaculture
11550 E Gregory Rd, Albany IN
Date of Loss: July 22, 2015

Computation of Damaged Stock Quantity




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                                 Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 62 of 90 PageID #:
                                                                     7334
                                                                                                                    Schedule 2

Bell Aquaculture
11550 E Gregory Rd, Albany IN
Date of Loss: July 22, 2015

Stock Per KG Actual Cash Value Calculation




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                                                           7335
Bell Aquaculture                                                                                          Summary
11550 E Gregory Rd, Albany IN
Date of Loss: July 22, 2015

Summary of Feed Ingredient Inventory




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Subject to Amendment                                        I QUANTUM                                     Page 1 of 6
                                                              GLOBAL AD,
                                                                       C.5
                       Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 64 of 90 PageID #:
                                                           7336
Bell Aquaculture                                                                                                   1
11550 E Gregory Rd, Albany IN
Date of Loss: July 22, 2015

Summary of Amount Scapped/Disposed




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                                                              GLOBAL AD,
                                                                       C.5
                       Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 65 of 90 PageID #:
                                                           7337
Bell Aquaculture                                                                                                 1A
11550 E Gregory Rd, Albany IN
Date of Loss: July 22, 2015

Summary of Inventory Pounds




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Subject to Amendment                                        I all/gfrUM,,, ur                             Page 3 of 6
                       Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 66 of 90 PageID #:
                                                           7338
Bell Aquaculture                                                                                                 1B
11550 E Gregory Rd, Albany IN
Date of Loss: July 22, 2015

Summary of Feed Ingredients




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Subject to Amendment                                        I QUANTUM                                     Page 4 of 6
                                                              GLOBAL AD,
                                                                       C.5
                                Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 67 of 90 PageID #:
                                                                    7339
Bell Aquaculture                                                                                                            2
11550 E Gregory Rd, Albany IN
Date of Loss: July 22, 2015

Summary of Cost per Pound Calculation




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                                                                 7340
Bell Aquaculture                                                                                                                                                                  3
11550 E Gregory Rd, Albany IN
Date of Loss: July 22, 2015

Summary of Credit & Disposal Charges



 Item        Vendor Name                  Description                       Service                Invoice    Invoice       Invoice         Claim         Page      Comments
  No.                                                                        Dates                   Date       No.         Amount         Amount       Reference

   1
   1                                                                                                          TI                                           I
   2    Best Way Disposal     Disposal services                       04/01/16 - 04/30/16          05/01/16   50373           1,152.00       1,152.00      2-5
   3    Best Way Disposal     Disposal services                       05/01/16 - 05/31/16          06/01/16   51621           1,437.00       1,437.00      6-9

        Total                                                                                                           $     9,589.00
                                                                                                                              9,589.00 $    (4,411.00) To Summary

                        Note:
                           1- Source
                              Source file
                                     file "Bell
                                          "Bell Aquaculture_Credit and Disposal Support.pdf"




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Subject to Amendment                                                                    0 OwvpmI                                                                         Page 6 of 6
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                                                                               1
Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 70 of 90 PageID #:
                                    7342
             Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 71 of 90 PageID #:
                                                 7343
SITTAIFHT BILL OF LADING -SHORT FORM - ORIGINAL - NOT NEGOTIABLE
RECEIVED at Empire subject to the classifications and lawfully filed tariffs in effect an the date of issue of this Bill of Lading
                                                                                                                                                                 BOL#:          E   9725
                                                                                                                                                           BOLDee:              Nov 28, 2014
                                            •••••••••••11.11.1•41.1.1•1•1141•11.,                                                                                                         ••••••               •••••••••••••

The of operty 6SacliOed Oslow in. apparent goad ceder. except as naked ;contents and condition of mntervis of packages uriknewni, manned, consigned, and destined an indicated 'OelOw Ouch said corner One
ward carrier Cuing understood tbrocgl,cul thin contract an meaning any person dr corporation in polleSSIOn 01 the property under iris contract} nretS lo carry le itsusual place of delivery at sad
destination, if an its route Otherwise to deliver to another camer can the tante to Said destination kin mutually agrees as In each carrier of all Or any of said property over all or any portion of said route to
destination and as la each party at any time interested in all or any vein property, that fiery service 10 ba performed 4-est sunder snail be subject to all the gin of lading terms and Ihe terms and conditions of
the Uniform Domestic Straight sill of Lading set forth (1) in Uniform Freight Classificatians ins aged on Ifie date hereof, if this is a rail-water shipment, or 121 in the applicable motor carrier ciasstrication ar
Shipper hereby certifies that tie Is familiar With all the Bin of Lading terms and conditions in the governing classification pi Wart of this shipment, and the said terms and cpndirians are hereby
agreed to by the shipper and accepted for himself and his Assigns.

SHIPPER


Release#:                           0020495                                                                Arrival#:                         N/A
Contract#:                          1405474                                                                Lot #:                            E-14
Customer#:                          0001011                                                                GRASS #:                          32124
Buyer's #:                          BA111414                                                               Bin #:                            14
CONSIGNEE (SHIP TO)

BELL AQUACULTURE
ALBANY IN

Special Instructions:                   Not For Human Consumption




                                                                                                                                                                                            Shipper Signature
  certify that f have leaded the goods listed above in good condition


                                                                                                                                                                                           Truck Driver Signature
  certify that I have received the goods listed above                                                                 a,"
In Compliance with FDA Regulation 21 C.F.R. 5891009. Fier the Purpose of this form "Restricted Use Protein Products' means peon' tad mammalian protein products used as feed ingtedieras
within the meaning of 21       589.2000.

                  certify that this truck has been cleaned, and is therefore tree of Restricted Use Protein Products, or any product that contains Restricted Use Protein Product

                                  QR
                 I certify that this truck has not hauled Restricted Use Protein ProductS.

  certify that                                                                      product was hauled In this truck before "Current" product was loaded


 Truck Driver Signature                                                                                                      Date
                                                                                                                                      _4/
I certify that I have visually inspected this truck. Based on that visual inspection and information provided above by the truck driver about the prior load hauled in that truck I certify that this
truck appears to be free from Restricted Use Protein Products or any product containing Restricted Use Protein Products.


 Shipper signature                                                                                                          Date
                                                                                                                                                                                       AgeglAilhk
                                                                                                                                                                                      DAYBROOK
 Permanent Post Office address of Shipper: DAYBROOK FISHERIES, INC., P.O. Box 128, Empire, LA 70050
 SHIPPER: Phone (504) 857-8400 ext, 225 FAX (504) 564-0290
                                                                                                                                                                111111°
                                                                                                                                                                  , 5"-14r
                                                                                                                                                                        .e
           Daybrook Fisheries Inc,                                        Carrier:                                                                    MCDONALD TRUCKING
           136 Daybrook Lane
          Empire, LA 70050                                                 Truck: 552

                                                                                                                                      Trailer:        1419                                                    3
 Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 72 of 90 PageID #:
                                     7344
                                                taptive Bic-Resources, Lk
                                                 to-
Adaptive Bio-Resources LLC
                                                       high-value Jgrieulturg pnxikict,.
                                                                                                                         Invoice
26420 Lone Tree Road
Escalon. CA 95320                                                                                              Date        Invoice #

                                                                                                             9/30/2014      14.9.02




     Bill To                                                                           Ship To

   Bell Aquaculture                                                                Bell Aquaculture
   Attn: Steve Craig                                                               Attn: Steve Craig
   PO Box 85                                                                       11550 East Gregory Road
   Redkey, IN. 47373                                                               Albany, IN 47320




     P 0 Number           Terms           Ship                       Via                         F.O.B.


                       Due on receipt   I 0/W20 I 4             Intermodal                       Esealon
Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 73 of 90 PageID #:
                                    7345

                         MIIIS
                             v 6claPtive Bio-Resources, Lic
                                               high-value agricultural products


                                                26420 Lone Tree Road
      SHIPPING/WEIGH TICKET                       Escalon, CA 95320                            ABR Contact:
             SUMMARY                                     USA                            John Hamilton (970) 396-7258




    Consignee Name:                                Company Contact:                      Contact Phone:
    Bell Aquaculture                               Steve Craig                           (276) 451-8917

   Shipping Address:
    11550 East Gregory Road
                                                              REVISED WEIGH SUMMARY
    Albany, Indiana 47320         Ordered revised as per phone instructions from Steve Craig, Bell Aquaculture, 9/30/2014


    Freight Carrier/Ship Date:                     Date of Summary:                      Gross Weight:
    Fairgrounds Transportation                     September 26, 2014                     43,294 lbs.
    10/6/2014


                                     The weights shown below are separate weights.
              The GROSS WEIGHT is the CERTIFIED WEIGHT and was weighed on a Fairbanks platform scale.
        The described product[s] was weighed, counted or measured by a Deputy Weighmaster at ABR, Escalon, CA




     Driver Signature:




                                                                                                                            5
       Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19   Page 74 of 90 PageID #:
                                           7346
LOWE'S PELLETS & GRAIN                                            PAGE 1
2372 W SR 46                                    INVOICE           INVOICE NO. 00209238
GREENSBURG IN 47240                                               ORDER DATE 01/07/15
812-663-7863                                                      ACCOUNT NO. BELL
                                                                  BATCH 107 AL
                                       X© a7           a          ORDER NO.      00008521
                                        JAN
                                              2 RECD

            BELL AQUACULTURE, LLC
            PO BOX 85
            REDKEY IN 47373



     P.0.#       SHIP DATE     TERMS           SLS LOC
                  01/07/15 Net 30 DAYS         010 001
  ITEM NO           DESCRIPTION                   UNITS SOLD       UNIT PRICE EXTENDED




                                                           [




                                                                                        66
           Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 75 of 90 PageID #:
 ADM Alliance Nutrition, Inc.                  7347
                                            INVOICE

         For questions, comments or name/address changes, please contact our customer service representative at 800-775-3295.

  Customer Number        Invoice Date    Invoice Number    Order Number     Customer P.O./Ticket #            Customer Contract Numbers

      366511             09-SEP-14          7624722         3554846              BA090814

           Terms              Due Date         Ship Date        Sales Representative                Delivered From                Ship Via

NET 30                       09-OCT-14       09-SEP-14     UNASSIGNED - NATIONAL ACCOUN            81:EFFINGHAM, IL

   Product                                                          Quantity                Unit      Price Per      Price Per     Extended
   Number                     Product Description              Ordered    Shipped           Size         Unit         Pound         Price




                                                                      Postedito account

                         SEP 1. 5 RECD




                    PAYMENT INSTRUCTIONS                              SUBTOTAL         TAX         SHIP/HANDL                TOTAL DUE
Please ensure that your payment or 10 110.00 Is receive •
in our office by 10/09/14.



Past Due items are subject to a Finance Charge of 1.5% per month, which is an annual rate of 18%.                                        C8789J-10/0€
See reverse side for additional terms and conditions that apply to your account.




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      Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 76 of 90 PageID #:
                                          7348
LOWE'S PELLETS & GRAIN                                                        PAGE 1
2372 W SR 46                                          INVOICE                 INVOICE NO. 00206541
GREENSBURG IN 47240                                                           ORDER DATE 10/27/14
812-663-7863                                                                  ACCOUNT NO. BELL
                                                                              BATCH 130 RB
                                    E Tar
                                                                              ORDER NO.   00007936



         BELL AQUACULTURE, LLC
         PO BOX 85
         REDKEY IN 47373




    P.0.#      SHIP DATE       TERMS             SLS LOC

BA102714FM       10/30/14 SPECIAL                010 001

 ITEM NO           DESCRIPTION                         UNITS SOLD              UNIT PRICE EXTENDED




                                                                        SI


                                                       /- 7-- Yee
                                            [Posted           to account Ik




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          Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 77 of 90 PageID #:
                                              7349

                                                                                                             Page:             1
                                                              Invoice

Daybrook Fisheries, Inc.                                                                     INVOICE NUMBER: 0026760-IN
P.O. Box 1931                                                                                   INVOICE DATE: 1/19/2015
Morristown, NJ 07962                                                                                  B/L NO: 9898
(973) 538-6766                                                                                BUYER'S REF NO: 201500005
                                                                                                  ORDER DATE 1/9/2015
                                                                                                CONTRACT NO: 1405493
                                                                                             RELEASE NUMBER:0020666
    Customer Number:          XX-XXXXXXX                                                           SHIP DATE: 1/19/2015

Sold To:                                                                     Ship To:

BELL AQUACULTURE, LLC.                                                       BELL AQUACULTURE
PO BOX 85                                                                    11550 E.GREGORY RD
REDKEY, IN 47373                                                             ALBANY, IN 47320



                                                     COUNTRY OF ORIGIN OF GOODS
                                                           FOB: EMPIRE, LA
Routing                       Shipped To                     Ship VIA        Carrier No.     Terms
GLORYLAND TRANS               ALBANY, IN                         TRUCK             454        NET CASH ON RECEIPT OF INVOICE

Item Number            Unit                Ordered               Shipped      Back Ordered           Price           Amount




                                                                                                                          9
   VDSM                              Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page
                                                          Invoice                                     78 of 90 PageID #:
                                                                                               U.S. Employer identification No. XX-XXXXXXX
                                                                         7350                                                                                                                 Page 1   of    1
                                                                                                                                                D.U.N.S. NO.             16-014-.7252
 ACH/EFT Instructions                                        Remit To Address

 DSM Nutritional Products LLC                                DSM Nutritional Products LLC
 ABA# 071000039                                              3927 Collection Center Drive                                DOCUMENT NO.           DOCUMENT DATE            DISCOUNT DATE        DUE DATE
 Acct# 5800395773                                            Chicago, IL 60693
 Bank of America
 100 W 33rd Street                                                                                                       2931777655             06/29/2015                                    07/29/2015
 New York NY 10001

 BILL TO:                                                                SOLD TO:                                                               SHIP TO:
 BELL AQUACULTURE                                                        BELL AQUACULTURE LLC                                                   BELL AQUACULTURE
 PO Box 85                                                               9885 WEST STATE RD 67                                                  11550 E GREGORY RD
 REDKEY IN 47373                                                         REDKEY IN 47373                                                        ALBANY IN 47320



L
  PLEASE NOTIFY US IF THE ABOVE INFORMATION IS INCORRECT: DSM Nutritional Products ; 45 Watervlew Boulevard, Parsippany, NJ 07054-1298    Telephone (800) 526-0189 testFax (973) 257-8420

 PURCHASE ORDER NO.                                   REFERENCE DOC.                                         SHIPPED DATE                CUST.NO.                    CARRIER                 ORDER NO.
 20154000107                                          2922736857                                             06/29/2015                  VUS0918219                 Con-Way Ce               1114690790

 PRODUCT CODE                                      LOT QUANTITY                     PACKAGE SIZE                NO.OF               PRICING                        UNIT PRICE
 PRODUCT DESCRIPTION                                  & 11/W                           & LI/W                   PKGS.              QUANTITY                          & U/W                     AMOUNT




                                                                                                                                                                                            LA,L—




Issued By:
DSM Nutritional Products
616 Dayton Avenue
Ames
IA
50010-6532                                  SEE PROVISIONS ON REVERSE SIDE

                                                                                                                                                                                                            10
                           Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 79 of 90 PageID #:
                                                               7351
           DSM
                                                                           Invoice                                                               U.S. Employer Identification No. 27.4085144
                                                                                                                                                                                               Page 1 of    1
                                                                                                                                                 D.U.N.S. NO.              16-014-7252
 ACH/EFT Instructions                                        Remit To Address

 DSM Nutritional Products LLC                                DSM Nutritional Products LLC
 ABA# 071000039                                              3927 Collection Center Drive                                   DOCUMENT NO.         DOCUMENT DATE             DISCOUNT DATE        DUE DATE
 Acct# 5800395773                                            Chicago, IL 60693
 Bank of America
 100 W 33rd Street                                                                                                          2931768235           04/10/2015                                    05/10/2015
 New York NY 10001

 BILL TO:                                                               .. )LD TO:                                                               SHIP TO:
 BELL AQUACULTURE
 PO Box 85
                                                                      11 BELL   AQUACULTURE LLC
                                                                          9885 WEST STATE RD 67
                                                                                                                                                 BELL AQUACULTURE
                                                                                                                                                 11550 E GREGORY RD
 REDKEY IN 47373                                                          REDKEY IN 47373                                                        ALBANY IN 47320



L                                                                 _JL                                                                     _JL
  PLEASE NOTIFY US IF THE ABOVE INFORMATION IS INCORRECT: DSM Nutritional Products ; 45 VVaterview Boulevard, Parsippany, NJ 07054-1290    Telephone 1800) 526-0189 testFax (973) 257-8420

 PURCHASE ORDER NO.                                    REFERENCE DOC.                                          SHIPPED DATE               CUST.NO.                     CARRIER                 ORDER NO.
 20100076                                              2922728350                                              04/10/2015                 VUS0918219                  Estes Expr               1114682661

 PRODUCT CODE!                                      LOT QUANTITY                    PACKAGE SIZE                    NO.OF            PRICING                         UNIT PRICE
 PRODUCT DESCRIPTION                                   & U/W                           & U/W                        PKGS.           QUANTITY                           & U/W                    AMOUNT




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ssue sy:
DSM Nutritional Products
616 Dayton Avenue
Ames
IA
50010-6532                                  SEE PROVISIONS ON REVERSE SIDE
                                                                                                                                                                                                  11
        Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 80 of 90 PageID #:
 ADM Alliance Nutrition, Inc.
                                            7352
                                         INVOICE

      For questions, comments or name/address changes, please contact our customer service representative at 800-775-3295.

  Customer Number       Invoice Date    In'voice Number   Order Number     Customer P.O./Ticket #           Customer Contract Numbers

      366511                                               3607579              201500007

         Terms               Due Date         Ship Date       Sales Representative              Delivered From               Ship Via

                            11-FEB-15       12 -SAN -15                                        72:DES MOINES, IA

   Product                                                        Quantity              Unit        Price Per    Price Per    Extended
   Number                    Product Description             Ordered    Shipped         Size           Unit       Pound         Price




                    PAYMENT INSTRUCTIONS                             SUBTOTAL        TAX        SHIP/HANDL              TOTAL DUE
Please ensure that your payment for 12,608.00 is received
in our office by 02/11/15.



Past Due items are subject to a Finance Charge of 1.5% per month, which is an annual rate of 18%.                                   C8789.1-10106
See reverse side for additional terms and conditions that apply to your account.




                                                                                                                              12
   Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 81 of 90 PageID #:
                                       7353

                                                                 Tyson Foods, Inc.
                                                   Remit To:                                                      Include Invoice 4 Below on Remittance
                                               PO Box 533002
                                                                                                                   Invoice #: 10755226
                                          Charlotte NC 28290-3002
                                                                                                                   P/O #: BA1113142
                                                                                                                   Invoice Date: 11/17/2014
                                                                                                                   Terms: Net 14 Receipt of Product
       BILL TO: 1000017927
                                                                                                                   SHIP TO:

                                                                                                                   BELL AQUACULTURE
       BELL AQUACULTURE                                                                                            11550 E GREGORY ROAD
       PO BOX 85                                                                                                   ALBANY IN 47320
       REDKEY 1N 47373-0085


  Any claim against this invoice must by processed within one year,                                        SHIP DATE:11/17/2014                          ORDER DATE: 11 /1312014
   LOCIBL S                     CARRIER                    SALES ORDER ffi   SALESMAN 0          BROKERS          SELLING. GROUP          CUSTOMER SERVICE REPRESENTATIVE
 PHK/01663943         SOUTHLAND TRANSP                        9485223             481            999/999                138                602 / SHELLIE WALKER #1083
  PRODUCT     CASES         WEIGHT                          DESCRIPTION                      COOL     PRICE PER         UNIT OF        FREIGHT                        NET PRICE   TOTAL AMOUNT
    CODE                                                                                                UNIT            MEASURE        PER UNIT                        PER UNIT




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                                         PAGE NO, 1                        INVOICE AMOUNT:
THIS SALE MAY BE SUBJECT TO APPLICABLE DISCOUNTS, ALLOWANCES, OR REBATES WHICH ARE NOT REFLECTED UN THE PRICES SHOWN,
              SALES SUBJECT TO TYSON TERMS AND CONDITIONS OF SALE AT www,tysonfoods.cosrubusinos-tc-buiines5,Torms-and-referzncesrierms-and-conditions-af-sale.aspx,
                                                                                (800)643-3410

                                                                                                                                                                                        13
    Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 82 of 90 PageID #:
                                        7354

                                                                                                              ORIGINAL INVOICE


TCFI Bell                                                                                        Invoice Date: November 17, 2016
PO Box 85                                                                                          Invoice Number: 20161117-AFS
Redkey, IN 47373                                                                                        Terms: DUE UPON RECEIPT
                                                                                                            Invoice Total: $7,000.00


                                                                     SHIP TO:
Jason Hoffman c/o                                                    Jason Hoffman c/o
Alternative Fuel Solutions, LLC                                      Alternative Fuel Solutions, LLC
8380 North 200 West                                                  8380 North 200 West
Huntington, IN 46750                                                  Huntington, IN 46750
Cell: (260) 224.1965                                                 Cell: (260) 224.1965
Email: alternativefuelsolutions@hotmail.com                           Email: alternativefuelsolutions@hotmail.com


                                                                     PLEASE MAKE CHECK PAYABLE AND MAIL TO:
                                                                     TCFI Bell
                                                                     PO Box 85
                                                                      Red key, IN 47373
                                                                     To make a payment electronically, please send wire or ACH:
                                                                     BMO 50 S 6th St, Suite #200, Minneapolis, MN 55402
                                                                     Routing #: 071025661 Account #: 4318218669




                                                                  Page 1 of 1

THE TOTAL AMUONT DUE FROM THE CUSTOMER MAY INCLUDE VARIOUS ITEMIZED CHARGES, INCLUDING: CHARGES FOR HANDLING. DELIVERY, AND SHIPPING. NONE OF THE
      CHARGES REPRESENT A TAX OR FEE PAID TO OR IMPOSED BY ANY GOVERNMENTAL AUTHORITY, AND ALL OF THE CHARGES ARE RETAINED BY THE COMPANY

                                                 LATE PAYMENT MAY BE SUBJECT TO FINANCE CHARGE




                                                                                                                                            1
                                                                                                                                            1
               Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 83 of 90 PageID #:
                                                   7355

                                           7256 W. County Road, 600 S.                  - Return Check Fee: $25.00
                                           Modoc, IN 47358
                                                                                        - A 1.5% Service Charge, 18% Annually ($1.00 Minimum
                                           Phone: (765) 853-5714
                                           Toll Free: (800) 745-5714                            Will Be Charged Monthly On All Unpaid Balances.
                                           Fax: (765) 853-5145
Residential. Commercial • Industrial       vvww.bestway-disposal.com                                 Account Number              Total Due

                                                                                                          R-319399                        1,152.00


                                                                                                     Invoice Number              Due Date
                   11 BELL AQUA CULTURE
                        PO BOX 85
                                                                            R                             050373                 0 5 / 2 5/16
                        REDKEY IN 47373-0085
                                                                                                            Purchase Order Number



   Invoice Date     Service From:      Service To:      Current            30 Days              60 Days             90 Days                    Total
   05/01/16         04/01/16        04/30/16            1,152.00                .00                   .00                  .00              1,152.00
                  Date Of       Transaction
    Quantity      Service         Number                           Description Of Services                                                   Total
                                                     PREVIOUS BALANCE                                                                            .00
         001      04/26/16          186951           ENERGY/ENVIRONMENTAL                    SURCHARGE                                         14.00
         001      04/26/16          186621           11550 E GREGORY RD                      DEL TICKET #186621                                  .00
         001      04/26/16          186621           11550 E GREGORY RD                      SO 3000                                             .00
         001      04/26/16          186951           11550 E GREGORY RD                      TRIP CHARGE                                      323.00
         001      04/26/16          186951           11550 E GREGORY RD                      SO 3000                                             .00
         001      04/29/16          188017           ENERGY/ENVIRONMENTAL                    SURCHARGE                                         14.00
         001      04/29/16          188017           11550 E GREGORY RD                      SERVICE & REMOVE                                 323.00
         001      04/29/16          188017           11550 E GREGORY RD                      SO 3000                                             .00
         001      04/29/16          188219           ENERGY/ENVIRONMENTAL                    SURCHARGE                                         14.00
         001      04/29/16          188017           11550 E GREGORY RD                      DEL TICKET #188017                                  .00
         001      04/29/16          188017           11550 E GREGORY RD                      SO 3001                                             .00
         001      04/29/16          188219           11550 E GREGORY RD                      EXCHANGE                                         464.00
         001      04/29/16          188219           11550 E GREGORY RD                      SO 3001                                             .00


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                                                                                                                             ____2/2.5_
                                                                                                            -14.21-2T-2:17"6            to account #
                                                                    '%                  1C1'5                          ... ______-__L.7.2.
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                                                                                                                           Please
                                                                                                                           Pay This          1,152.00
                                                                                                                           Amount:




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             Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 84 of 90 PageID #:
                                    Account #: 319399/NEW                Order #:
                                                        7356                              186621
        44.4".7 27-                             PO #:
                                                                                                  Service Date:          04/26/16
                                              Contact: DAVID
                                               Phone: (765) 729-9849                                    Terms:      Bill to Account

 Order Date: 4/25/2016 3:37:01 PM              Order Taken by: Stef Cope
 - Billing                                                         Service
             Name: BELL AQUA CULTURE                                       Name: BELL AQUA CULTURE
        Address:                                                         Address: 11550 E GREGORY RD
 City, State Zip:     IN                                          City, State Zip: ALBANY , IN 47320
             E-MaiI                                                        Phone: (765) 729-9849

Qty Type                   Product                                      Rate Container Type              Trip Tonnage
  1 Delivery               20yd R/O                                 $323.00 Trash

OtherCharges:                                                                                       Order Total:        $323.00
                                                        PROPERTY DAMAGE: Best Way shall not
 FUEL                                         $14.00
                                                        be responsible for damage to              Other Charges:         $14.00
                                                        Customer's pavement or other surface
                                                                                                            Tax:          $0.00
                                                        resulting from the weight of Best Way's
                                                        vehicles servicing the equipment               Delivery:          $0.00
                                                        location desginated by Customer.
                                                                                                   Amount Due:          $337.00
Driver Notes:                                           X
  [PA) DATE: CALL DAVID FOR PLACEMENT 765-729-9849 / $3.00 AFTER 20 DAYS / $37 TON OVER 8 TONS



Amount paid                          Cash Li Check                           Driver                       Truck #




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        Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 85 of 90 PageID #:
                                            7357
Sell Aquaculture LLC
                                                                                            106504
                                                                  Check Date: May 5, 2016
     Best Way Disposal                                            Check Amount: $1,152.00

     Item to be Paid - Description                         Discount Taken        Amount Paid
   050373                                                                             1,152.00




.GRAPHICS




                                                                                               4
          Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 86 of 90 PageID #:
                                              7358
                                                                 Check Date: May 5, 2016
                                                                 Check Amount: $1,152.00
 Best Way Disposal
  Item to be Paid - Description                              Discount Taken          Amount Paid
050373                                                                                      1,152.00




                                                                              May 5, 2016

   One Thousand One Hundred Fifty-Two and 00/100 Dollars

          Best Way Disposal
          PO Box 421669                                                   1,152.00
          Indianapolis, IN 46242-1669




Memo:




                                                                    Check Date: May 5, 2016
 Best Way Disposal                                                  Check Amount: $1,152.00

 Item to be Paid - Description                               Discount Taken          Amount Paid
050 373                                                                                     1,152 00




                                                                                                       5
             Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 87 of 90 PageID #:
                              7256 W. County Road, 600 S.
                                                          7359
                                                                                            - Return Check Fee: $25.00
                                            Modoc, IN 47358
                                            Phone: (765) 853-5714                           - A 1.5% Service Charge, 18% Annually ($1.00 Minimum
                                            Toll Free: (800) 745-5714                           Will Be Charged Monthly On All Unpaid Balances.
                                            Fax: (765) 853-5145
Residential • Commercial • Industrial       www.bestway-disposal.com                                   Account Number         Total Due

                                                                                                          R-319399                 1,437.00

                          11.1-11111111191111.1111,111111,1111.1111011011
                                                                                                       Invoice Number         Due Date
                    11    BELL AQUA CULTURE
                          PO BOX 85
                                                                      R                                   051621              06/2 5 / 16

                          REDKEY IN 47373-0085
                                                                                                             Purchase Order Number



   Invoice Date      Service From:      Service To:      Current            30 Days              60 Days           90 Days               Total
   00/01/16          05/01/16           05/31/16         1,437.00                .0D                   .00               00          1,937.00

                   Date Of        Transaction
    Quantity       Service          Number                          Description Of Services                                           Total
                                                      PREVIOUS BALANCE                                                               1,152.00
         000      05/09/16                            CHECK NO. - 106504                      PAYMENT - THANK YOU                   -1,152_00
         001      05/03/16            188741          ENERGY/ENVIRONMENTAL                    SURCHARGE                                 15_00
         001      05/03/16            189120          ENERGY/ENVIRONMENTAL                    SURCHARGE                                 15.00
         001      05/03/16            188741          11550 E GREGORY RD                      EXCHANGE                                 464.00
         001      05/03/16            188741          11550 E GREGORY RD                      SO 3001                                     _00
         001      05/03/16            189120          11550 E GREGORY RD                      EXCHANGE                                 /64.00
         001      05/03/16            189120          11550 E GREGORY RD                      SO 3001                                     .00
         001      05/13/16            192436          ENERGY/ENVIRONMENTAL                    SURCHARGE                                 15.00
         001      05/13/16            192436          11550 E GREGORY RD                      SERVICE & REMOVE                         464.00
         001      05/13/16            192436          11550 E GREGORY RD                      SO 3001                                     .00



                                                                            Posted &AO (go to ec000rtei 76a DO -67
                                                                                       -    .-
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                                                                                                                        Please
                                                                                                                        Pay This      1,437.00
                                                                                                                        Amount:



                                                      Please Return This Portion With Payment
      Please Make Check Payable To:
           Best Way Disposal                                 Account Number                Total Due

      Please Check This Box To Pay With A Credit Card           R-319399                      1,437.00

       Mastercard - Visa - Discover
      You Must Complete The Authorization On Reverse Side    Invoice Number                Due Date
                                                                                                                        7256 W. County Road, 600 S.
       BELL AQUA CULTURE                                        051621                     06/25/16
                                                                                                                             Modoc, IN 47358
                                                                                                                              (765) 853-5714
                                                                                                                              (800) 745-5714
                                                                                                                         www.bestway-disposal.com
               Best Way Disposal
               PO BOX 421669
               Indianapolis, IN 46242-1669
                                                              R
                                                                              00013051621000DR319399000000143700

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   LI/ VV/ J.'Ll              t-AlLOWel kAimaineri   dustomer master **            UU101(
       Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 88 of 90 PageID #:
Cust4: 319399 BELL AQUA CULTURE            7360     Sort Name:
                                                BELL AQUA CULTURE
                 PO BOX 85
                 REDKEY          IN 47373-0000
Service Start: 11/19/2010 Billing Cycle: M Next Billing Month: 00
    Slsmn: MC PO#:                         Expiration Date:
                                        CHARGE CUSTOMER
    Phond: 765) 369-2718 ext. 0101 Contact: SHELLI BRUNSON
    Fax -                   RIO BiMth Bill: N FuelSurchg- Y Past Due Msg- N
    Price Cd:      Retain:    Inv.Sort: 0 StopOV:     Late Charge: N
    Credii t Amt:          00                         Auto Temp Stop: Y
Balances:      Total       Current        Over 30       Over 60      Over 90
 Current       1,437.00     1,437.00          .00            .00           .00
 Invoice       1,437.00     1,437.00          .00            .00           .00
  Last Payment: 5/09/2016 106504                  1,152.00
  Prev Payment: 12/24/2015 PT ACH                   100.00

 Comments                                                      FollowUp DatePaid
  5/11/16 CLN FOR NO RETURN                                     5/11/16 99/99/99
  Fnc: 1 -SrvMst 4-Invoices 5 -Maint 8 -PendSry 10-Add Cmts 13-Tickets I4-Comments
                                                                  21-Add Ser -FS9




                                                                                     7
Case 1:16-cv-02269-TWP-MJD        Document
                 Send To Receipt Printer             265-1
                                         ] Print ] Print 2 I PrintFiled   02/20/19
                                                                   plain text I Print plain Page
                                                                                            text 2 89 of 90 PageID #:
                                                    7361
                                   El Email


         Email Address


                                          BEST WAY DISPOSAL OF INDIANA

                                                5300 MILLER ROAD
                                               KALAMAZOO, MI 49048
                                                   269-468-3000

                                                6/14/2016 2:18;43 PM

                                  Reference Number      1083108
                                  Total:                $1,437.00
                                  Transaction Type:     Check
                                  Transaction Status    Pending Settlement
                                  Checking Account:     xxxx2683
                                  Routing Number.       )coco(1578
                                  Customer Name:        Bell Aqua Cul
                                  Invoice:              051621




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         Case 1:16-cv-02269-TWP-MJD Document 265-1 Filed 02/20/19 Page 90 of 90 PageID #:
                                             7362
                                                                  Check Date: Jun 16, 2016
                                                                  Check Amount: $1,437.00
Best Way Disposal
 Item to be Paid - Description                                Discount Taken          Amount Paid
051621                                                                                        1,437 00




                                                                               Jun 16, 2016

  One Thousand Four Hundred Thirty-Seven and 00/100 Dollars

         Best Way Disposal
         PO Box 421669                                                     1,437.00
         Indianapolis, IN 46242-1669




Memo:




                                                                     Check Date: Jun 16, 2016
 Best Way Disposal                                                   Check Amount: $1,437.00

 Item to be Paid - Description                                Discount Taken           Amount Paid
051621                                                                                        1,437 00




                                                                                                         9
